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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



TIMBER HILL LLC, on behalf of itself and all others   Civil Case No. ____________
similarly situated,

                            Plaintiff,                CLASS ACTION COMPLAINT
                                                      FOR VIOLATIONS OF THE
              v.                                      FEDERAL SECURITIES LAWS

VALEANT PHARMACEUTICALS                               DEMAND FOR JURY TRIAL
INTERNATIONAL, INC., J. MICHAEL PEARSON,
HOWARD B. SCHILLER, ROBERT L. ROSIELLO,
DEBORAH JORN, ARI S. KELLEN and TANYA
CARRO,
                        Defendants.
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       Plaintiff, by and through its undersigned counsel, brings this securities class action for

violations of Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”), codified

at 15 U.S.C. § 78(j), Rule 10b-5 promulgated thereunder, codified at 17 C.F.R. § 240.10b-5, and

Section 20(a) of the Exchange Act, codified at 15 U.S.C § 78(t)(a), as a related action to In re

Valeant Pharmaceuticals International, Inc. Securities Litigation, No. 3:15-cv-07658-MAS-LHG.

This action is brought on behalf of Plaintiff and other similarly situated persons and entities that

purchased call options on Valeant Pharmaceuticals International, Inc. (“Valeant” or the

“Company”) common stock and/or sold put options on Valeant common stock during the period

January 4, 2013 through August 11, 2016, inclusive (the “Class Period”), and were damaged

thereby (the “Class”), against Valeant, as well as former Valeant senior executives J. Michael

Pearson, Howard B. Schiller, Robert L. Rosiello, Deborah Jorn, Ari S. Kellen and Tanya Carro

(collectively, “Defendants”).1

       Plaintiff alleges the following based upon personal knowledge as to itself and its own acts

and upon information and belief as to all other matters. Plaintiff’s information and belief is based

upon, inter alia, the independent investigation of Plaintiff’s counsel which included the analysis

of: (1) regulatory filings made by Valeant with the United States Securities and Exchange

Commission (“SEC”); (2) research reports by securities and financial analysts; (3) transcripts of




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  In accordance with Local Rule 10.1, Plaintiff provides the following information regarding the
named parties: (i) Plaintiff Timber Hill maintains its headquarters at One Pickwick Plaza, Suite
210, Greenwich, CT 06830; (ii) Defendant Valeant Pharmaceuticals International, Inc. maintains
its United States headquarters at 400 Somerset Corporate Boulevard, Bridgewater, NJ 08807; (iii)
Defendant J. Michael Pearson’s address is 74 Village Road, New Vernon, NJ 07976; (iv)
Defendant Howard B. Schiller’s address is 40 Montview Avenue, Short Hills, NJ 07078; (v)
Defendant Robert L. Rosiello’s address is 55 Davis Hill Road, Weston, CT 06883; (vi) Defendant
Deborah Jorn’s address is 6 Firethorn Court, Warren, NJ 07059; (vii) Defendant Ari S. Kellen’s
address is 694 Downing Street, Teaneck, NJ 07666; and (viii) Defendant Tanya Carro’s address is
231 Ronan Way, Branchburg, NJ 08853.
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Valeant’s earnings and other investor conference calls; (4) publicly available presentations, press

releases, interviews and media reports by Valeant; (5) economic analyses of the movement and

pricing of Valeant publicly traded common stock and derivative securities; (6) consultations with

experts; and (7) documents made public through Congressional hearings concerning Valeant,

which reference internal Valeant documents, including e-mails.

I.     NATURE OF THE ACTION

       1.      This action arises from a massive fraudulent scheme perpetrated by Valeant, its

senior executives and those working in concert with them to artificially inflate Valeant’s revenues

and purported profits through, among other things, a clandestine pharmacy network, deceptive

drug pricing and reimbursement practices, and fictitious accounting. Throughout the Class Period,

Valeant engaged in a growth by acquisition strategy, repeatedly reporting extraordinary quarterly

and year-end revenue and earnings growth.            Defendants variously attributed Valeant’s

extraordinary performance to its “innovative” marketing, “outstanding” sales teams, “great

leadership” and alternative fulfillment channels that purportedly provided Valeant with a

“competitive advantage.”

       2.      Defendants consistently concealed from investors the fact that the business model

Defendants touted was in reality a sham – predicated upon artificial and unsustainable growth

propped up by deceptive and illegal conduct. The scope of Defendants’ fraud was so vast in its

planning and execution and so devastating to investors, patients, physicians and insurers that the

media has dubbed it the “Pharmaceutical Enron.”

       3.      The success of Valeant’s business model was contingent upon a multitude of

deceptive practices which were designed to induce the purchase of Valeant-branded drugs

notwithstanding dramatic price increases far beyond industry norms, including:

           routing prescriptions through Valeant’s captive network of pharmacies while
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            concealing that such pharmacies were not independent;

           physically altering physician prescriptions to require Valeant products;

           submitting false information to third party payors; and

           secretly waiving patient copays to reduce patient complaints about the price

            increases, while simultaneously concealing these practices from payors.

       4.      The above practices were designed to deceive payors into reimbursing Valeant for

drugs at higher prices than they would have paid if such practices had not been utilized. Valeant

also falsified its financial statements in violation of generally accepted accounting principles

(“GAAP”) by recording revenues for products shipped to pharmacies it controlled, in effect selling

to itself, and double counting revenues by recording revenues a second time when the products

were sold by its captive pharmacies.

       5.      Defendants made numerous materially false and misleading statements and

omissions of material facts to investors throughout the Class Period regarding: (1) Valeant’s

business strategy and financial results; (2) Valeant’s relationship with entities over which the

Company purported to have limited or no control; (3) the adequacy of the Company’s internal

controls; and (4) Valeant’s commitment to compliance with governing laws and regulations.

       6.      First, for years, Valeant actively concealed that its business strategy relied on a

series of deceptive practices, which drove the Company’s revenues from its key dermatology,

neurology and other products. Those practices included:

            a. Price Gouging:      Defendants concealed from investors the extent to which

               Valeant’s profitability and purported growth were contingent upon massive price

               increases of Valeant-branded drugs.        For example, Valeant claimed it was

               contractually limited to price increases of 10% or less, but often raised the price of


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           drugs by 100% to 3,000%. Such drastic price increases provided an illusory boost

           to profitability to meet short-term financial targets, but were ultimately

           unsustainable as they exposed Valeant to enormous attendant business and

           regulatory risks that ultimately materialized in the form of Congressional

           investigations, termination of business relationships with payors and consumer

           backlash.

        b. Secret Network of Captive Pharmacies: Independent pharmacies serve as a

           check on price gouging by encouraging the substitution of cheaper generic products

           when available.     A key component of Valeant’s strategy was to re-route

           prescriptions away from independent pharmacies and into Valeant’s secret network

           of controlled pharmacies, made up of entities named after chess moves. Philidor

           RX Services, LLC (“Philidor”) (described more fully below) was a specialty mail-

           order pharmacy in Valeant’s secret network and the brainchild of Defendants,

           formed with the assistance of Valeant employees who used aliases to conceal their

           involvement with Philidor. Valeant concealed its control over Philidor to create the

           false impression that Philidor and its entire network of pharmacies were

           independent, reducing the likelihood that payors or pharmacy benefit managers

           (“PBMs”) would subject the pharmacies to enhanced scrutiny through audits and,

           as a result, refuse to reimburse the higher-priced Valeant drugs or unnecessary

           refills. Concealing its relationship with Philidor was particularly important because

           Philidor engaged in additional deceptive practices to wrongfully obtain payment

           for Valeant’s drugs, such as altering physician prescriptions to require Valeant

           products and resubmitting rejected claims using false information.



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             c. Patient Assistance: Patient copays also function to reduce fraud by ensuring

                patients have an incentive to complain if they are prescribed high-priced

                medications. Thus, practices designed to waive or eliminate patient copays to

                increase sales and sale prices can violate criminal antikickback laws if government

                payors, such as Medicaid, are targeted. Valeant targeted private payors with such

                deceptive practices, even though those practices still carried massive business risks,

                including violating state laws and contracts and alienating physicians, payors and

                PBMs, and thereby reducing overall sales. To prolong its scheme to defraud,

                Valeant secretly waived copays, thereby diverting negative media attention and

                silencing patients from complaining to their physicians and insurers.

             d. Misrepresenting Volume Growth:            To conceal the size of Valeant’s price

                increases, and the extent to which its growth was dependent on such increases,

                Defendants misrepresented Valeant’s volume growth in its statements to investors.

                For example, even though price increases were responsible for 80% of Valeant’s

                growth in the first quarter of 2015 (“1Q15”), Defendant Pearson falsely claimed

                that Valeant had grown more due to volume increases than price increases.

        e.      Accounting Fraud: Valeant used Philidor to record fictitious sales and inflate its

                revenues in violation of GAAP. Although GAAP required Valeant to record

                revenues only on the ultimate sale to a patient, Valeant recognized revenue on

                shipments to Philidor, and then double-counted revenues by recognizing revenue a

                second time when Philidor shipped products to patients.

        7.      Second, Defendants’ business model relied on improper practices by Philidor, along

 with a host of shell companies owned through Philidor, which Valeant used to acquire interests in



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 additional retail pharmacies throughout the United States. Unbeknownst to investors and the

 public: (a) Philidor was formed to increase the sales prices of Valeant-branded drugs and avoid

 substitution of those drugs with less-expensive generic competitors; (b) Valeant employees worked

 at Philidor; (c) Valeant was Philidor’s only client and had the ability to close its business; (d)

 Valeant paid Philidor’s owners $100 million for the right to acquire Philidor for $0; (e) Valeant

 was consolidating Philidor’s financial results as its own; (f) Valeant had obtained explicit rights to

 direct Philidor’s activities; and (g) Valeant materially increased its sales volume through Philidor

 as Philidor expanded its network of pharmacies and began selling drugs in states where it did not

 obtain, or had been denied, a pharmacy license.

        8.      Philidor employees, as well as Valeant employees staffed at Philidor, were

 instructed to employ a host of deceptive practices—referred to in manuals distributed to employees

 as “back door approaches” to receiving payment from insurance companies—to prevent the

 substitution of generic equivalents for Valeant-branded drugs. Those “approaches” included

 changing prescription codes on claims to require that the prescriptions be filled with Valeant drugs;

 making claims for refills that were never requested by patients; misrepresenting the identity of

 dispensing pharmacies to bypass denials of claims for Valeant drugs; and submitting claims that

 inflated the prices charged by failing to account for Valeant’s waivers of patient copays.

        Third, Valeant lacked adequate internal controls, as well as compliance and training

 programs. Contrary to their representations to investors, Defendants were not committed to

 compliance with governing legal, regulatory or contractual obligations.

        Fourth, Defendants’ undisclosed practices significantly increased Valeant’s attendant

 exposure to, among other things, government investigations, regulatory sanctions, criminal

 charges, reputational harm and decreased sales. Valeant was not, as Defendants represented,



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 employing a “lower-risk, output-focused research and development model,” but rather subjecting

 the Company to enormous undisclosed risk.

        9.      The truth concerning Valeant’s fraudulent practices started emerge through a series

 of partial corrective disclosures beginning in September of 2015. The full disclosure of the facts

 and materialization of the risks associated with Defendants’ misstatements and omissions did not

 occur until August 10, 2016 at the earliest, when The Wall Street Journal reported that the U.S.

 Attorney’s Office for the Southern District of New York was considering bringing criminal

 charges against Defendants.

        10.     As the reality of Valeant’s undisclosed and wrongful conduct began to emerge in

 September 2015, Valeant and its management continued to mislead investors by minimizing and

 obfuscating the truth. For example, in late September 2015, when Congress and market analysts

 began to uncover the astronomical prices Valeant was charging for certain drugs, Valeant and its

 management continued to conceal the extent of Valeant’s reliance on price increases by telling

 investors that “Valeant is well-positioned for strong organic growth, even assuming little to no

 price increases. As we have stated many times, Valeant’s core operating principles include a focus

 on volume growth . . . .”

        11.     When Philidor’s existence was exposed in October of 2015, Defendants sought to

 persuade investors that Philidor and its business were not critical to Valeant, Valeant had always

 accounted for Philidor appropriately in accordance with GAAP and that Defendants “continue[d]

 to be very comfortable with [Valeant’s] 2016 EBITDA expectation of greater than 7.5 billion,”

 even without the improper advantages that Philidor had afforded to Valeant. Further obfuscating

 the impact that the dismantling of its specialty pharmacy scheme would have, Valeant announced

 a replacement deal with Walgreens in December 2015 which Pearson falsely claimed would “more



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 than replace [] Philidor,” despite Valeant’s internal understanding that the success of the

 Walgreens deal would depend upon the very same volume increases that Valeant already knew it

 could not achieve and had sought secretly to replace with its price-gouging model. This scheme

 was all in an effort to further conceal investors from the pervasiveness of the problems at Valeant

 and the unsustainability of its business model.

        12.     The partial revelations of wrongdoing at Valeant also led to the departure of

 numerous senior executives and directors. Indeed, Valeant subsequently attributed its fictitious

 accounting to the “improper conduct” of former Chief Financial Officer (“CFO”) Howard Schiller

 and former Corporate Controller Tanya Carro, as well as the unethical “tone at the top” set by

 senior management. Deborah Jorn, who led Valeant’s dermatology division responsible for a

 substantial portion of Philidor’s sales, was also forced out of the Company. Remarkably, Valeant

 replaced the majority of its Audit Committee, which had reviewed and approved the Company’s

 accounting with respect to Philidor.

        13.     Valeant also withdrew certain of its financial statements, restated its revenue for

 fiscal year 2014, significantly reduced its revenue and profitability guidance for 2015 and 2016,

 and admitted the Company’s disclosure controls and internal controls over financial reporting were

 inadequate. Moreover, Valeant is currently the focus of numerous government investigations,

 including those led by Congress, the SEC and the U.S. Department of Justice (“DOJ”).

        14.     Defendants’ misstatements and omissions of material facts caused the prices of

 Valeant common stock and call options to be artificially inflated during the Class Period and

 caused the prices of Valeant put options to be artificially deflated during the Class Period. These

 misstatements and omissions were ultimately revealed through the partial disclosures discussed

 above. Such disclosures ultimately informed investors that they had been misled to believe the



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 Company was an innovative industry leader when, in fact, its purported success was predicated on

 rampant misconduct.

        15.     In response to these disclosures, the price of Valeant’s common stock fell by more

 than 90%, from its Class Period high of over $262 per share on August 5, 2015 to less than $25 on

 August 11, 2016. These disclosures also removed the artificial inflation in the prices of Valeant

 call options and removed the artificial deflation in the prices of Valeant put options, causing

 billions of dollars in damages to Plaintiff and other similarly situated investors that purchased

 Valeant call options and/or sold Valeant put options during the Class Period.

 The Subject Derivatives

        16.     Call options and put options are financial derivative instruments whose value is a

 function of the price of the underlying security (in this case, Valeant common stock), and are

 subject to price fluctuation corresponding with the increase or decrease in the price of the

 underlying security. A call option is a contract between a seller (the option writer) and a purchaser

 (the option holder), under which the option purchaser has the right, but not the obligation, to

 exercise the option, and thereby purchase the underlying security at an agreed-upon price (the

 “strike” or “exercise” price) from the seller by a pre-set expiration date. The call option purchaser

 (Plaintiff and other members of the proposed Class in this matter) will benefit if the price of the

 underlying security appreciates so that the option can be either: (1) resold at a price higher than

 the price at purchase; or (2) exercised at a strike price lower than the market price of the underlying

 security.

        17.     A put option is a contract between a seller (the option writer) and a purchaser (the

 option holder), under which the put option purchaser has the right, but not the obligation, to

 exercise the option, and thereby sell the underlying security at an agreed-upon price. The put



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 option seller (Plaintiff and other members of the proposed Class in this matter) is obligated to

 purchase the underlying security at the agreed-upon price if the option is exercised on or before

 the expiration date. Put option sellers generally lose value on their positions when the market price

 of the underlying security declines.

         18.     As a result of Defendants’ fraudulent scheme, the price of the security underlying

 the call options purchased and put options sold by Plaintiff and other members of the proposed

 Class — Valeant common stock — was artificially inflated during the Class Period. Therefore,

 the prices of Valeant call options purchased by Plaintiff and other members of the proposed Class

 were artificially inflated during the Class Period, while the prices of Valeant put options sold by

 Plaintiff and other members of the proposed Class were artificially deflated during the Class

 Period. Consequently, Plaintiff and other members of the derivatives Class suffered billions of

 dollars in damages by trading in the subject derivatives at prices that did not reflect their true value.

 Through this action, Plaintiff asserts claims on behalf of itself and other similarly situated

 derivatives purchasers and sellers to recover damages caused by Defendants’ misconduct.


 II.     JURISDICTION AND VENUE

         19.     This Court has jurisdiction over this action in accordance with Section 27 of the

 Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331.

         20.     Personal jurisdiction exists over Defendants in accordance with Section 27 of the

 Exchange Act, as well as the Fifth Amendment of the United States Constitution.

         21.     Venue is proper in this District under Section 27 of the Exchange Act and 28 U.S.C.

 § 1391. Valeant’s United States headquarters are located in this District and the acts and events

 described in this Complaint, including the dissemination of false or misleading information,

 occurred in substantial part in this District.


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        22.    Defendants, directly or indirectly, used the means and instrumentalities of interstate

 commerce, including the United States mails, interstate telephone communications and the

 facilities of the New York Stock Exchange (“NYSE”).

 III.   PARTIES

        A.     Plaintiff

        23.    Plaintiff Timber Hill LLC (“Timber Hill”) is a Connecticut limited liability

 company with its principal place of business at One Pickwick Plaza, Greenwich, Connecticut

 06830. As set forth in its Certification (Exhibit 1, hereto), Plaintiff Timber Hill traded in

 derivatives instruments during the Class Period and suffered damages as a result of the conduct

 complained of herein.

        B.     The Corporate Defendant

        24.    Defendant Valeant Pharmaceuticals International, Inc. is a Canadian corporation

 with its international headquarters located at 2150 St. Elzéar Blvd. West, Laval, Quebec, Canada.

 Valeant’s U.S. headquarters and principal place of business is at 400 Somerset Corporate

 Boulevard, Bridgewater, New Jersey.

        25.    Valeant is a pharmaceutical and medical device company that sells medical devices

 and pharmaceuticals in over 100 countries around the world. Valeant is one of the largest

 pharmaceutical companies in the United States. Shares of Valeant stock trade on the New York

 Stock Exchange (the “NYSE”) and the Toronto Stock Exchange (the “TSX”) under the ticker

 symbol “VRX.”


        C.     The Management Defendants

        26.    Defendant J. Michael Pearson (“Pearson”) was Valeant’s Chief Executive Officer

 and a director of the Company (including its predecessor entity) from 2008 until May 3, 2016.


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 From March 2011 to January 2016, Pearson was also Valeant’s Chairman of the Board of

 Directors. Pearson took medical leave in January and February 2016, and in March 2016 the

 Company announced that Pearson would be replaced.

        27.     Defendant Howard B. Schiller (“Schiller”) was Valeant’s CFO and Executive Vice

 President from December 2011 until his resignation from the position on June 30, 2015. Schiller

 also served on Valeant’s Board of Directors from September 2012 until June 2016. While Pearson

 was on medical leave in January and February of 2016, Schiller served as the Company’s interim

 CEO. On March 21, 2016, Valeant announced that Schiller had engaged in “improper conduct”

 concerning the Company’s accounting restatement and requested Schiller’s resignation as a

 director of the Company. Schiller refused the request. He was not selected as a candidate for re-

 election to the Board of Directors.

        28.     Defendant Robert. L. Rosiello (“Rosiello”) served as Valeant’s CFO and an

 Executive Vice President of the Company from July 2015 to December 31, 2016. Rosiello also

 served as one of three members of the Company’s “Office of the CEO” when Pearson was on

 medical leave and before Schiller was appointed interim CEO.

        29.     Defendant Deborah Jorn (“Jorn”) was Vice President of Global Marketing at

 Bausch & Lomb from June 2010 until she joined Valeant in August 2013, when Valeant acquired

 Bausch & Lomb. Jorn was a Valeant Executive Vice President and Company Group Chairman

 from August 2013 through her departure on March 2, 2016. During that time period, Jorn also

 served as general manager of Valeant’s U.S. dermatology business.

        30.     Defendant Tanya Carro (“Carro”) was at all relevant times Valeant’s Corporate

 Controller. On March 21, 2016, Valeant announced that Carro had been placed on administrative

 leave for “improper conduct” that led to the “provision of incorrect information to the [ad hoc]



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 committee and the company’s auditors.” Carro was replaced as Controller on March 23, 2016.

        31.     Defendant Dr. Ari S. Kellen (“Kellen”) served as Valeant’s Executive Vice

 President and Company Group Chairman from January 1, 2014 to December 31, 2016. Kellen

 temporarily served as one of the three members of the Office of the CEO during the period in early

 2016 that Pearson was on medical leave and before Schiller was appointed interim CEO. After

 Jorn left the Company in March 2016, Kellen became the head of Valeant’s U.S. dermatology

 business.

        32.     Pearson, Schiller, Rosiello, Jorn, Carro and Kellen are collectively referred to as

 the “Management Defendants.”

        D.      Relevant Non-Parties

        33.     Philidor was incorporated in January 2013 with the substantial assistance of

 Valeant. Philidor was a specialty pharmacy registered as a Delaware limited liability company

 with its headquarters at 400 Horsham Road, Suite 109, Horsham, Pennsylvania, and served as the

 hub of Valeant’s clandestine network of captive specialty pharmacies used to hawk Valeant’s

 overpriced branded drugs and to protect those drugs from competition from low-cost generic

 alternatives. Philidor’s only client was Valeant, and Philidor’s sole purpose was to act as a

 mechanism through which Valeant could sell its massively overpriced branded drugs.             In

 December 2014, Valeant (through a subsidiary) formalized its control over Philidor, paying

 Philidor $100 million for a so-called option to purchase Philidor for $0 at any point in time over

 the ensuing decade (the “Philidor Purchase Option”). This so-called option was simply an

 acquisition of Philidor by Valeant; but it was structured as an “option” to justify Defendants’

 failure to disclose this acquisition to investors and others. Demonstrating the close coordination

 between Valeant and Philidor, the numerous related entities which formed Valeant’s secret

 network of specialty pharmacies were named for chess strategies, including:
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             Philidor: Philidor itself refers to 18th-century chess player François-André Danican

              Philidor’s eponymous opening move;

             KGA Fulfillment Services Inc.: KGA, an acronym for “King’s Gambit Accepted,”

              is an opening move in chess, and was a wholly-owned Valeant subsidiary that paid

              $100 million to obtain the option to acquire Philidor in December of 2014;

             Isolani, LLC: Isolani refers to an isolated queen’s pawn and is usually a weakness but

              there can be counter-plays. Isolani, LLC was incorporated to acquire a California-

              based pharmacy to circumvent the prior denial of Philidor’s license to operate in

              California; and

             Back Rank LLC: In chess, the term “back rank” involves a checkmate along the back

              rank (last row). Back Rank used one of Philidor’s Pennsylvania addresses and its

              president, James Fleming (“Fleming”) was the Controller at Philidor.

        34.      Andrew Davenport was the CEO of Philidor and worked with several Valeant

 employees to form Philidor in January 2013. Davenport held an approximate 40% ownership stake

 in Philidor. Following Philidor’s formation, Davenport worked with Valeant’s employees to

 facilitate the fraudulent sale and reimbursement of Valeant’s drugs through Philidor. Based on his

 involvement in the Philidor Purchase Option transaction, Davenport personally received $40

 million.

        35.      In December 2016, Davenport was arrested and charged by the U.S. Attorney’s

 Office for the Southern District of New York with four counts of fraud and conspiracy for his

 involvement with Philidor.

        36.      On May 22, 2018, Davenport was found guilty on all charges, including wire fraud

 and conspiracy to commit money laundering.


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 IV.    FACTUAL BACKGROUND

        A.      Valeant’s Acquisition-Centric Business Model

        37.     Prior to and during the Class Period, Valeant’s business model was focused on

 achieving revenue growth by acquiring drugs and drug companies and then raising prices of the

 acquired drugs. Since 2010, Valeant has acquired companies with a total value of at least $36

 billion. Valeant is the sixth-largest acquirer, globally, by deal size. Since 2008, when Pearson

 became CEO of Valeant, Valeant has acquired at least 100 companies.

        38.     While traditional pharmaceutical companies place a heavy emphasis on R&D

 spending as a percentage of revenue, Pearson claimed that such spending was wasteful, R&D had

 a low rate of success and a better business strategy would be to grow through acquisitions. To this

 end, Pearson focused on acquiring companies with already-established products, cutting costs and

 dramatically raising prices while using deceptive tactics to exploit gaps Valeant’s employees had

 identified in the healthcare system. In particular, Pearson and the Company targeted areas of the

 pharmaceutical market lacking competition from large companies, such as dermatological

 products.

        39.     Through Valeant’s acquisition focus, the Company was able to acquire a diverse

 portfolio of drugs. In September 2010, Valeant completed a $3.3 billion merger with Biovail

 Corporation, which resulted in a combined company having access to dermatological drugs, an

 anti-depressant drug known as Wellbutrin and drugs used to treat central nervous system disorders.

 Valeant’s revenue and stock price increased following the merger.          In 2012, Valeant paid

 approximately $2.6 billion for Medicis Pharmaceutical Corporation (“Medicis”) and its portfolio

 of acne medications and other aesthetic skin care products. Valeant expanded into developing

 markets in Eastern Europe, as exemplified by the acquisition of the Russian-based Natur Produkt

 International and its portfolio of cough and cold treatments for $180 million. Valeant also targeted

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 markets outside the traditional pharmaceutical industry, acquiring Bausch & Lomb, an eye-care

 giant known for its specialized ophthalmology and contact lens products, in 2013. In April 2015,

 Valeant acquired Salix Pharmaceuticals and its portfolio of drugs for the treatment of

 gastrointestinal disorders for $11 billion.

        40.     Until 2015, Valeant’s acquisition model appeared successful, capable of cutting

 costs in the pharmaceutical companies that Valeant acquired while maintaining or increasing sales

 volumes. Indeed, the Company reported growth quarter after quarter:          $3.48 billion for 2012,

 $5.76 billion for 2013, $8.25 billion for 2014 and $7.71 billion for the first three quarters of 2015.

 By July of 2015, when Valeant’s common stock price reached an all-time high, the market valued

 Valeant at $90 billion, the largest pharmaceutical company based in the United States.

        41.     During the Class Period, Valeant credited its success to its supposedly innovative

 business model as implemented by its CEO and other members of senior management, aggressive

 cost-cutting strategies, “outstanding sales teams, implementation of innovative marketing

 approaches, great leadership, [and] a portfolio of great products.”

        42.     Similarly, in a February 22, 2015 Valeant press release, Pearson attributed

 Valeant’s explosive growth to the Company’s “output-focused research and development model,”

 which involved “focusing on innovation through our internal research and development,

 acquisitions, and in-licensing” and “focusing on productivity through measures such as leveraging

 industry overcapacity and outsourcing commodity services.” These representations concealed

 from Plaintiff and members of the Class – as well as regulators – the true drivers of the Company’s

 growth.

        43.     In reality, Valeant’s growth was driven by its fraudulent use of a secret network of

 captive pharmacies and a host of other deceptive business practices. Valeant’s use of a clandestine



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 pharmacy network enabled the Company to exponentially increase the prices of its branded drugs,

 despite the fact that cheaper, generic substitutes existed for many of them. In an effort to conceal

 its scheme, Valeant consistently downplayed the extent to which pricing increases contributed to

 the Company’s growth. For example, on an April 29, 2015 conference call with investors, Pearson

 was asked how much price contributed to growth in the quarter. Pearson falsely responded that

 “[i]n terms of price volume, actually, volume was greater than price in terms of our growth.” On

 February 3, 2016, after Valeant’s extraordinary price increases became the subject of widespread

 public attention and reproach, including probes by federal authorities, regulators and lawmakers,

 Valeant issued a press release admitting that Pearson’s statement on the April 2015 conference

 call was false and that, in truth, Valeant’s growth was a result of its increasing the prices of its

 drugs. This admission was detailed by, inter alia, The Wall Street Journal, in a February 2, 2016,

 article titled, “Valeant’s Sales Growth: Driven by Price Increases or Volume Growth?” In a

 further effort to obscure Valeant’s reliance on the price increases facilitated by its captive network

 of pharmacies and other deceptive business practices, Valeant made critical changes to its

 disclosures to investors in 2013, making it difficult, if not impossible, to determine whether

 Valeant’s growth was attributable to its acquisition strategy or organic growth. Valeant refused

 to breakout the revenue numbers for major acquisitions, making it impossible for investors to track

 whether acquired drugs were experiencing any organic growth. In addition, Valeant reduced the

 number of operating segments from four to only two in 2013. Because various segments were

 driven by just a few main products, investors could previously track how those products were

 performing. But with only two operating segments, it became impossible for investors to obtain

 that same information.

        B.      Valeant’s Extraordinary Price Hikes

        44.     Valeant’s business strategy was predicated on inflating the Company’s stock price
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 by reporting short term gains in order to create an illusory picture of Valeant’s business

 performance and prospects. These short terms gains undermined the long-term health of the

 Company because price gouging (facilitated by deceptive marketing and distribution practices) is

 an unsustainable business practice that carries increased business, reputational, compliance and

 regulatory risks. It also increases overall costs in the healthcare system and leads to push back

 from patients, physicians, pharmacies and PBMs, as well as risks of nonpayment by payors.

        45.     Unbeknownst to Plaintiff and other derivatives purchasers and sellers, by late 2012,

 Valeant and its management recognized that growth through Valeant’s “acquisitions” model could

 not be sustained by relying on cost-cutting and volume. Thus, Valeant and its management secretly

 reoriented the Company’s business model to engage in undisclosed price gouging.

        46.     A 2016 report published by the United States Senate revealed that, in late 2012,

 Valeant was facing declining revenue in its “Neurological and Other” division. To fight this

 decline, Valeant’s management, including Pearson, developed, approved and implemented a plan

 called the “Orphan Drug Pricing Strategy.” The Orphan Drug strategy aimed to combat declining

 revenue by adopting repeated price increases. The precise price increases were determined by

 Pearson and other high-level Valeant executives.

        47.     One early example of this strategy occurred after Valeant’s acquisition of

 Cuprimine, a drug used since 1965 to treat Wilson’s disease, a rare condition that prevents the

 body from processing copper. As part of the Company’s undisclosed “Orphan Drug Strategy,”

 Valeant executives, including Pearson, raised the price of Cuprimine by nearly 5,800%. Valeant

 similarly approved drastic price increases on Syprine, raising its price by 3,200%.

        48.     Valeant’s acquisition of Isuprel and Nitropress from Marathon Pharmaceuticals




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 (“Marathon”) is another example of Valeant’s strategy of acquiring products and sharply

 increasing their price to exorbitant levels. In late 2014, Valeant began exploring the acquisition

 of Isuprel and Nitropress, which are heart medications used in emergency situations. The drugs

 were owned by Hospira and moderately priced for years.             Marathon acquired them and

 implemented significant price increases, but Valeant’s senior executives saw money left on the

 table.

          49.    On December 3, 2014, Andrew Davis (“Davis”), Valeant’s Senior VP for Business

 Development, emailed Laizer Kornwasser (“Kornwasser”), Valeant’s EVP/Company Group

 Chairman, that another “opportunity company is [M]arathon, value is largely derived from 2

 hospital products they bought from Hospira which have no IP [intellectual property protections].”

 Steve Sembler, the general manager of Neurology responded that those two drugs “make up the

 VAST majority of revenue” at Marathon and “[t]his would also have to be a price play (if we

 determine there is upside to take price) . . .”

          50.    Defendants worked in conjunction with consultants from Marketing Medical

 Economics (“MME”) to study the pricing of Nitropress and Isuprel. In a presentation, MME noted

 that Hospira had priced Nitropress at $47 in 2013. Marathon acquired the drug and increased the

 price to $214. Similarly, MME noted that Hospira had priced Isuprel at $48 in 2013. Marathon

 raised the price to over $200. MME claimed there was still “upward potential for pricing” on

 these drugs, adding that for Nitropress “most patients treated are in critical condition.”

          51.    Defendants also worked alongside consultants from Pearson’s former employer,

 McKinsey & Company (“McKinsey”), as they considered the potential for dramatically increasing

 the prices of Isuprel and Nitropress. On December 29, 2014, Aamir Malik, the co-leader of

 McKinsey’s global Pharmaceuticals & Medical Products Practice, wrote an email to Pearson and



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 Davis regarding those and other drugs, stating that they “have material pricing potential.”

 McKinsey also noted that “Smaller/older products (e.g., Isuprel and Nitropress) are not reviewed

 on formulary. . . . Products have been in the system for so long that reviews are practically rubber

 stamped.”

        52.     Valeant’s analyses showed that generic competition would likely not arrive until

 mid-2017 with volume decreases each year following generic entry. As soon as the drugs were

 acquired, Pearson, Schiller, Davis and others held a meeting to discuss price. Davis recommended

 a steep increase in price, but Pearson decided to raise prices even higher than recommended.

        53.     Isuprel and Nitropress provide examples of how dramatic price increases provided

 a short-term surge in profitability. The two drugs had total revenues of approximately $150 million

 in 2014. However, Valeant forecasted an increase to approximately $525 million for 2015 based

 on “Aggressive Pricing through consultant recommendation.” The increased revenue had nearly

 the same impact on bottom line profitability because, as Valeant’s Senior Director of Finance said

 in an email to Davis on March 24, 2015, the price assumptions “are leading to high gross margins

 (more than 99%).” By the end of 2015, Valeant recorded gross revenues from the sale of Isuprel

 and Nitropress of approximately $540 million against a cost of approximately $2 million.

        54.     These practices were widespread. According to a Deutsche Bank Securities Inc.

 (“Deutsche Bank”) analysis, in 2015 alone, Valeant raised prices on its brand-name drugs an

 average of 66%, approximately five times more than its closest industry peers. As another example

 of Valeant’s price gouging, 100 capsules of Syprine and 100 capsules of Cuprimine were priced

 at approximately $650 and $450, respectively, in May 2010. By July 2015, Valeant had raised the

 prices of Syprine to over $21,000 for 100 capsules (a more than 32-fold increase) and Cuprimine

 to over $26,000 for 100 capsules (a more than 58-fold increase), even though Valeant had spent



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 little or no money on additional R&D relating to those medications. These products also had

 incredibly high margins as, for example, Valeant sold Cuprimine for approximately $240 in Brazil

 and $350 in Canada, roughly 1% of its price in the United States.

        55.     Additional examples where Valeant dramatically increased the prices of the drugs

 it acquired included: (i) Glumetza, a diabetes drug which was increased from approximately $900

 per 90 tablets to over $10,000 (a more than 11-fold increase); (ii) Targetin, a T-cell lymphoma

 drug which was increased from approximately $1,800 per tube to over $30,000 (a more than 16.7-

 fold increase); (iii) Carac cream, a drug for precancerous legions which was increased from

 approximately $230 to over $2,800 per tube (a more than 12-fold increase); (iv) Wellbutrin XL,

 an anti-depressant, had eleven price increases during the Class Period as a one-month supply of

 Wellbutrin XL costs approximately $1,400 while its generic counterpart costs just $30; (v) Addyi,

 a recently U.S. Food and Drug Administration (“FDA”) approved “Female Viagra” drug, was

 increased by 100% immediately following Valeant’s acquisition of the drug from Sprout; and (vi)

 Mephyton, a drug that helps blood clot, has seen eight price increases since July 2014, costing

 $58.76 a tablet, up from $9.37.

        C.      Valeant’s Use of a Secret Pharmacy Network

        56.     Because Valeant relied on undisclosed price gouging rather than volume increases

 to sustain its growth, it needed to ensure it could sustain those price increases despite a competitive

 pharmaceutical industry. To isolate its brand name drugs from generic competition and boost

 sales, Valeant relied upon a secret network of controlled specialty pharmacies to increase sales of

 its branded drugs despite the availability of cheaper alternatives. Specifically, Valeant’s secret

 controlled network of pharmacies protected Valeant drugs from competition by ignoring legal and

 contractual mandates that require the substitution of generic equivalents for Valeant-branded

 drugs. Additionally, Valeant’s controlled pharmacies submitted false claims information to
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 insurers and other third-party payors. The scheme allowed Valeant to increase the price of drugs

 without decreasing the volume of drugs sold no matter the price—and thereby continue to mislead

 investors about the sustainability of the Company’s business model. Insurers and other third-party

 payors therefore were deceived into paying for Valeant’s exorbitantly priced branded drugs and

 were prevented from substituting cheaper generics when working through Valeant’s captive

 specialty pharmacies.

                1.       Philidor

        57.     Philidor was the most prominent of the Company’s captive pharmacies, licensed in

 45 states and the District of Columbia while operating as a purportedly independent “specialty”

 mail-order pharmacy. True specialty pharmacies primarily sell self-administered specialty drugs

 covered under a patient’s pharmacy insurance benefit. These specialty drugs are usually highly

 differentiated brand-name drugs for patients undergoing medical treatments for complex illnesses

 such as HIV and cancer. These drugs often are self-administered through injections and may

 require constant refrigeration. None of this was true for drugs supplied by Philidor.

        58.     To the contrary, Philidor dispensed only Valeant’s undifferentiated traditional

 brand-name drugs—primarily Valeant’s dermatological products—many of which had generic

 low-cost substitute drugs. And far from being independent, as Valeant attempted to persuade

 investors when Philidor first came to light, Philidor has since acknowledged that Valeant was

 Philidor’s “only client.”

        59.     From Philidor’s incorporation on January 2, 2013, Valeant was closely linked to

 Philidor’s operations and development. Valeant’s employees worked closely with Philidor’s

 founders in establishing Philidor as a means to funnel Valeant’s high-priced brand-name drugs to

 patients. In December 2012, Valeant hired manager Gary Tanner to serve as the Company’s

 special “liaison” with Philidor and to help develop the pharmacy’s operations. On January 2, 2013,
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 the same day that Philidor was incorporated, Valeant hired Laizer Kornwasser, a former senior

 executive at Medco, to serve as Valeant’s EVP/Company Group Chairman to oversee Valeant’s

 relationship with Philidor. Throughout their time at Valeant, Kornwasser and Tanner oversaw

 Philidor’s operations and were compensated handsomely by Valeant for their work with Philidor.

         60.     From Philidor’s incorporation in January 2013 until October 2015 (when Valeant

 finally revealed its relationship with Philidor), Valeant installed a number of its employees

 (including Kornwasser and Tanner) at Philidor to ensure that Valeant’s fraudulent business

 objectives would be met. For example, Valeant placed a team of thirty employees within Philidor

 so that those employees could educate doctors on how to direct patients to Valeant’s products.

 Throughout Philidor’s existence, Valeant employees supervised critical aspects of Philidor’s

 business operations, including interviewing potential new hires for Philidor and helping to manage

 Philidor’s billing practices.

         61.     Valeant went to great lengths to conceal Valeant’s connection to Philidor. For

 example, Valeant employees used fictitious names when sending emails from Philidor accounts to

 hide the fact that the employees were working for both Philidor and Valeant. One Valeant

 employee who also worked for Philidor, Bijal Patel, was instructed to use “Peter Parker” as an

 alias (from the comic book Spiderman) when sending emails from his Philidor account to obscure

 the fact that he was employed by both Valeant and Philidor. For the same reason, other Valeant

 employees used email aliases such as “Jack Reacher” (the protagonist of a series of books written

 by Lee Child) and “Brian Wilson” (the lead singer and songwriter of the Beach Boys).

         62.     Valeant’s close relationship with Philidor went far beyond overlapping personnel.

 On December 15, 2014, Valeant paid $100 million for the option to purchase Philidor for $0 any

 time within the next ten years and agreed to certain milestone payments based on Philidor’s sales.



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 The first milestone payment for $33 million was paid on January 15, 2015, and further milestone

 payments were contingent upon achieving certain sale thresholds.

        63.     Consistent with its efforts to conceal the use of overlapping employees, Valeant

 improperly structured the transaction with Philidor to avoid public disclosure.           Valeant’s

 subsidiary KGA, rather than Valeant, was used to obtain the Philidor Purchase Option. And, rather

 than call the transaction what it was—a purchase—Valeant acquired Philidor through a

 convoluted put option structure, whereby Valeant paid $100 million to Philidor’s owners,

 including some Valeant employees, for the option to acquire Philidor for nothing within the

 following ten years.

        64.     The Philidor Purchase Option agreement was an acquisition in all but name. Not

 only did Valeant, through KGA, pay the entirety of Philidor’s valuation up front, but Valeant also

 had the right to form a joint steering committee that would “assess and discuss” matters relating

 to Philidor’s “internal policies, manuals and processes.” The transaction document also gave

 Valeant the right to “make the final determination” with regard to “the Strategic Plan of Philidor”

 and “the compliance of [Philidor] with applicable Legal Requirements, Contractual obligations

 (including agreements with Third-party payors) and the Company’s internal policies and manuals”

 in the event of any failure to reach an agreement among the joint steering committee members.

 The joint steering committee also was given the “the right to review, prior to their submission, all

 applications of the Company for licenses and permits (including state pharmacy licenses).” In

 effect, Valeant obtained the right to control Philidor, consistent with the fact that Valeant had

 already been controlling critical aspects of Philidor’s business since inception by placing Valeant

 employees in supervisory roles at Philidor.

        65.     Further, Valeant and Philidor entered into an exclusive distribution and services



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 agreement on December 15, 2014. The agreement superseded the previous services agreement

 that Philidor had signed in January 2013 with Medicis (one of the pharmaceutical companies that

 Valeant acquired in 2012). In the agreement, Philidor represented it would “operate in full

 compliance with all licenses and permits required by Laws and all contracts with participating

 insurance companies and Third Party Payors.” The agreement gave Valeant the right to inspect

 Philidor’s policies and procedures and do site visits to verify such compliance. Kellen signed on

 behalf of Valeant with Andrew Davenport (“Davenport”), Philidor’s CEO, signing for Philidor.

 Products covered by the agreement included, among others, Elidel, Jublia and Solodyn.

               2.      Valeant’s Other Secret Pharmacies

        66.    After forming Philidor, Valeant and its management created a number of shell

 companies affiliated with Philidor through which Valeant surreptitiously acquired interests in

 smaller retail pharmacies across the country to extend the captive pharmacy network. Through

 this process, Valeant and its management developed a network of at least 76 captive specialty

 pharmacies through which Valeant could file pharmacy applications with state regulators. In order

 to keep their captive pharmaceutical network a secret, Defendants caused the shell companies to

 make false and misleading statements in pharmacy applications filed with state regulators that

 failed to disclose the companies’ relationship with Valeant and Philidor. For example, Philidor

 submitted an application with the California State Board of Pharmacy on or about August 15, 2013

 that contained numerous false and misleading statements designed to hide Valeant’s control over

 Philidor. In that application, the California State Board of Pharmacy found that Philidor and its

 CEO Davenport, while under penalty of perjury, falsely represented that:

              Alan Gubernick was Philidor’s accountant and bookkeeper, when in reality it was
               Gregory W. Blaszczynski, who, unbeknownst to state regulators, was an employee
               of BQ6 Media, an instrumentality of Valeant and Philidor;



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               there were no individuals or entities with a beneficial interest in Philidor;

               there were no owners or shareholders of Philidor, when in fact there were sixteen;

               there were no persons with a beneficial interest in Philidor, when in fact there were
                sixteen;

               there were no entities with 10% or more ownership interest in Philidor; and

               Davenport himself was not an owner of Philidor, when in fact he owned a 27%
                stake in the company.

        67.     On May 16, 2014, the California State Board of Pharmacy denied Philidor’s license

 application, finding that Philidor and Davenport knowingly made false statements concerning

 these topics, and that they made these statements “with the intent to substantially benefit [Philidor

 and Davenport],” and that Philidor and Davenport, by virtue of their false statements, were “guilty

 of unprofessional conduct.” The California State Board of Pharmacy affirmed its denial of

 Philidor’s pharmacy license in February 2016.

        68.     According to published reports, less than 1% of applications for this particular

 license are denied.

        69.     Undeterred by the California State Board of Pharmacy’s findings and determined

 to gain access to the California market, the largest insurance marketplace in the United States,

 Defendants caused a Valeant/Philidor-controlled shell company, Lucena Holdings (“Lucena”), to

 acquire a stake in a California pharmacy called “West Wilshire Pharmacy” in an effort to

 circumvent the Board of Pharmacy’s licensing denial. In a “Change of Permit Request” filed with

 the California State Board of Pharmacy on September 24, 2014, Defendants caused Lucena to

 falsely represent that Lucena did not have a parent company; that the only entity or individual with

 an interest in Lucena was Gregory W. Blaszczynski, who, unbeknownst to state regulators, was an

 employee of BQ6 Media, an instrumentality of Valeant and Philidor; and that Lucena’s CEO and


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 pharmacist-in-charge, Sherri Leon, was not, and had never been, “associated in business with any

 person, partnership, corporation, or other entity whose pharmacy permit . . . was denied.” In fact,

 Leon was Philidor’s Director of Pharmacy Operations, and California had denied Philidor’s

 pharmacy application earlier that same year.

        70.     The California scheme was not limited to Lucena. On December 1, 2014, Philidor

 caused another shell company, Isolani, LLC, to acquire a California-based mail-order pharmacy,

 R&O Pharmacy (“R&O”). Once Philidor acquired R&O through Isolani, R&O’s business grew

 significantly by dispensing thousands of prescriptions for Valeant-manufactured drugs—primarily

 expensive prescriptions for acne or eczema-related dermatological conditions. Isolani concealed

 from California regulators its relationship with Philidor and Valeant, and R&O only uncovered the

 relationship between Philidor and Valeant when R&O conducted its own investigation into

 Philidor.

        71.     Defendants and Philidor conducted a similar scheme in Texas, through a Philidor-

 controlled shell company called Back Rank, LLC (“Back Rank”). Back Rank, whose managing

 member was James R. Fleming, Philidor’s Controller, took control of Houston-based Orbit

 Pharmacy, Inc. (“Orbit Pharmacy”). In an application filed with the Texas State Board of

 Pharmacy in September 2015, Orbit Pharmacy—at the direction of Defendants and Philidor—

 falsely represented that no state had ever denied a pharmacy application filed by any of “the

 pharmacy’s owner[s] or partner[s].” This statement was false because California had denied

 Philidor’s pharmacy application in the prior year.

        72.     While elements of Valeant’s secret captive pharmacy network have become public,

 Valeant and Philidor still have not disclosed the full scope of the network or shell companies and

 affiliated subsidiaries that Valeant and Philidor used to hide the fraud.



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        73.     Notably, Valeant never disclosed Philidor in any of its SEC filings prior to October

 19, 2015, and it structured the transaction acquiring Philidor in an improper attempt to avoid public

 disclosure. Philidor also never publicly disclosed its arrangement with Valeant prior to October

 19, 2015.

                3.      Valeant Used its Secret Pharmacy Network to Insulate its Branded
                        Drugs from Generic Competition, Inflate Prices and Book Fictitious
                        Sales

        74.     Because Valeant could not support its purportedly “low-risk” model on volume

 growth and cost cutting, Valeant and its management sought to implement significant price

 increases across Valeant’s portfolio of acquired drugs. Valeant’s use of its captive secret pharmacy

 network was vital to the Company’s true (and undisclosed) business model by avoiding

 competition from generic substitutes, inflating prices and increasing fraudulent sales. Valeant’s

 pricing would have been unsustainable in a competitive market: customers generally would not

 pay the exorbitant prices for Valeant’s brand-name drugs, and doctors would not commonly

 prescribe Valeant’s exorbitantly priced brand-name drugs, had the existing generic alternatives

 been made available by the captive specialty pharmacies. Valeant’s secret network of captive

 pharmacies, however, insulated Valeant’s branded drugs from generic competition, as Valeant

 could be certain that the pharmacies would dispense Valeant’s branded drugs rather than generic

 equivalents.

        75.     Philidor’s fraudulent dispensing of Valeant-branded drugs violated the laws of

 fourteen states—including the state in which Philidor is headquartered, Pennsylvania—that require

 pharmacists to substitute generic equivalents for branded drugs. In the states where cost-cutting

 laws do not exist, contracts between pharmacies and insurers or their PBM agents generally

 mandate that the pharmacy dispense generic substitutes in place of branded equivalents whenever

 possible. Philidor and Valeant’s fraudulent conduct violated these statutory and contractual
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 requirements.

        76.      Through Valeant’s secret network of pharmacies, Defendants were able to channel

 prescriptions for Valeant’s branded drugs, including those ostensibly dispensed by smaller retail

 pharmacies in their captive network, through Philidor, where Valeant and Philidor employees used

 various fraudulent means to ensure Valeant’s branded drugs – and not generics – were dispensed.

 Fourteen states, including Pennsylvania, require pharmacists to substitute generic equivalents for

 branded drugs. Moreover, contracts between pharmacies and TPPs or their PBM agents typically

 require the pharmacy to dispense a generic substitute for a branded drug where available.

 Defendants’ refusal to substitute generic alternatives for expensive Valeant-branded drugs, despite

 their widespread availability, violated these statutory and contractual mandates.

        77.      Through its illegal and fraudulent practice, Valeant shielded its branded products

 from generic competitors. This scheme allowed Valeant to maintain or increase high prices not

 only for pharmaceutical drugs no longer protected by patent and subject to competition from direct

 generic equivalents, but also for branded drugs still protected by patents for which a near-perfect

 substitute existed.

        78.      Accordingly, Valeant appeared immune to the limitations on growth encountered

 by seemingly every other pharmaceutical company. Other drug companies see their drug-specific

 revenue decline when a generic version of that drug becomes available, a generic version of a near-

 perfect substitute becomes available or a cheaper branded drug reaches the market. Valeant,

 however, seemed capable of maintaining growth indefinitely. This was a façade.

        79.      As but one example, Valeant’s fraudulent arrangement with Philidor allowed the

 Company to double revenue generated by Wellbutrin XL, an off-patent anti-depressant sold

 through Philidor and the captive pharmacy network. Valeant was able to double the drug’s revenue



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 by almost tripling prices from less than $6,000 to $17,000 for a year’s supply of the drug, despite

 the existence of a generic equivalent for only $360 a year. These results required the undisclosed

 illicit scheme.

         80.       The fraudulent captive pharmacy arrangement similarly enabled Valeant to

 increase the price of and revenue derived from its dermatology drugs, even when those drugs faced

 competition from far cheaper generic equivalents. From 2013 to 2015, during which time Valeant

 launched and exploited its secret captive pharmacy scheme and experienced significant stock price

 appreciation, Valeant dramatically increased the price of more than 50 drugs. The price increases

 significantly outpaced those of competitors in the pharmaceutical industry.         Although the

 Company characterized its price increases as price “optimization,” in reality, the Company was

 engaged in massive and unprecedented price gouging. Over a nearly two-and-a-half-year period,

 Valeant instituted the following pricing increases, among others:




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      Valeant Drug             From            Through               Years        Percent Increase
  Carac Cream               Q1-13          Q3-15              2.50               557%
  Wellbutrin XL 300         Q1-13          Q3-15              2.50               381%
  MG Tablet
  Tretinoin 0.1% CRM        Q2-14          Q3-15              1.25               328%
  Vanos 0.1% CRM            Q1-13          Q3-15              2.50               279%
  Targretin 60g 1 %         Q1-13          Q3-15              2.50               250%
  Gel
  Aldara 5% CRM             Q1-13          Q3-15              2.50               223%
  Xerese 5%-1%              Q1-13          Q3-15              2.50               216%
  Cream
  Noritate 1% Cream         Q1-14          Q3-15              1.50               212%
  Migranal Nasal            Q1-13          Q3-15              2.50               159%
  Spray
  Loprox 1% Shampoo         Q1-13          Q3-15              2.50               145%
  Atralin 0.05% Gel         Q1-13          Q3-15              2.50               135%
  Dihydroergotamine         Q1-14          Q3-15              2.50               90%
  Mesylate 4 MG/ML
  Nasal Spray
  Jublia (Efinaconazole Q2-14              Q3-15              1.25               20%
  topical solution 10%)


        81.     These price increases would not have been possible but for Valeant’s undisclosed

 fraudulent arrangement with Philidor and the captive pharmacy network. As described above,

 Valeant went to great lengths to conceal its scheme. Valeant prevented Philidor and the other

 captive pharmacies from disclosing their relationship with Valeant to the insurance companies, to

 regulators, to other third-party payors or to PBMs.

        82.     Valeant and Philidor expressly misrepresented their relationship—and the

 involvement of additional captive pharmacies—to insurers and other third-party payors, their PBM

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 agents and their members to increase the reimbursements paid by the payors and to maximize

 Valeant’s drug sales. Valeant’s fraudulent scheme is documented in manuals provided to Philidor

 employees charged with handling claims submitted to third-party payors. The manuals explained

 that “[w]e have a couple of different ‘back door’ approaches to receive payment from the insurance

 companies.” The “back door approaches” involved rewriting prescription information, filing

 claims for refills that patients never requested and falsely representing the identity of the

 pharmacies that dispensed the drugs to reduce denials of claims for Valeant drugs. Valeant’s

 internal emails and correspondence between Valeant and Philidor, including a July 19, 2015 email

 from Philidor’s CEO Davenport, demonstrate that both parties in the fraudulent arrangement—

 Valeant and Philidor—were fully aware of these “back door approaches.”

        83.     To rewrite prescription information, Valeant and Philidor instructed employees at

 Philidor and other captive pharmacies to deliberately modify the doctor’s prescriptions so as to

 require the prescription be filled with expensive Valeant-branded drugs, rather than the cheaper

 generic substitutes that the pharmacies would be required to provide by law or contract. Generally,

 pharmacists who receive a prescription for a branded drug instead dispense a generic substitute

 when available. Because some alternatives may not be perfect substitutes, physicians are able to

 prescribe particular branded drugs by specifying “dispense as written” on the prescription.

 Bloomberg reported on October 29, 2015 that Philidor employees confirmed that Valeant’s captive

 pharmacies regularly falsified prescriptions by adding the words “dispense as written” whenever

 the prescription included Valeant products and cheaper generic substitutes were available. The

 employees interviewed in the Bloomberg investigation specified that Valeant and Philidor

 employed this fraudulent method for increasing sales volume at the inflated prices especially for

 Valeant’s dermatologic products for which third-party payors would otherwise refuse to fund,



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 including Retin-A Micro and Vanos.

        84.     Valeant directed two forms of fraud perpetrated by Philidor employees. First,

 Valeant directed Philidor employees to avoid third-party payors’ denials of claims for expensive

 Valeant-branded drugs by modifying prescription codes so that the prescriptions appeared to order

 only Valeant-branded drugs, thereby precluding the use of low-cost generic alternatives. Second,

 when third-party payors denied initial claims for Valeant drugs because the prescription allowed

 for generic substitutes, Philidor employees falsely resubmitted modified prescriptions allowing

 only for the dispensing of Valeant drugs as new prescriptions.

        85.     Valeant used false pharmacy identifications to misrepresent to insurance companies

 and other third-party payors which pharmacies were dispersing the Valeant-branded drugs.

 Valeant and Philidor’s manual for handling claims directed Philidor employees to submit claims

 to third-party payors or their PBM agents first using Philidor’s National Provider Identification

 Number (“NPI”). If the claim was rejected, the manual directed employees to resubmit that claim

 on the NPI of another captive-Valeant/Philidor controlled pharmacy. Valeant thus directed

 Philidor employees to claim that a pharmacy dispensed a prescription that the pharmacy had not

 actually dispensed and may not have even stocked.

        86.     Former Philidor/Valeant employees told Bloomberg that they received maps and

 specific instructions detailing the false NPI information that they should fraudulently submit if a

 third-party payor denied a claim from a particular dispensing pharmacy. Valeant/Philidor issued

 a manual instructing employees on how to handle claims which stated that if an employee received

 a denial for a particular third-party payor, it should “submit the NPI for our partner in California,

 West Wilshire Pharmacy” because “[t]here is a good chance they are contracted.” In the event

 that the third-party payor denied West Wilshire Pharmacy’s NPI, Valeant/Philidor instructed



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 employees to replace the denied pharmacy with “Cambria Central Fill insurance and run that as

 the primary.” Cambria Central Fill, based out of Philadelphia, Pennsylvania, was another of

 Philidor’s secret retail pharmacies.

           87.   Valeant and Philidor also directed pharmacies in the Valeant network, such as

 Isolani, to use the NPI belonging to the California-based R&O Pharmacy, which was another

 Valeant/Philidor controlled entity. In many instances, Philidor employees submitted claims for

 prescriptions that R&O had never filled and for drugs that R&O did not even stock. By directing

 employees to submit fraudulent NPI information for claims, Valeant and Philidor sought to secure

 payment for properly denied claims. In an interview with the Southern Investigative Reporting

 Foundation, a former Philidor claims adjudicator, Taylor Geohagen, explained this fraudulent

 practice as follows: “Pretty much everything we did in the [Philidor] Adjudication department

 was to use the [NPI] codes from the pharmacies we bought out to get something [approved] in a

 pinch.”

           88.   Additionally, Philidor and Valeant submitted falsified payer audits to third-party

 payors or their PBMs. Generally, the retail pharmacies themselves submit payer audits for the

 prescriptions they fill. By contrast, in Valeant’s captive pharmacy network, Valeant’s agents

 would submit the payer audits on behalf of all the captive pharmacies, so as to inaccurately state

 that a particular pharmacy had filled a particular prescription, when those prescriptions had

 actually been filled by Philidor or one of Valeant’s other captive pharmacies. To perpetrate this

 fraud on the third-party payors, Defendants’ agents falsely claimed authority to approve the audit

 statements on behalf of the retail pharmacies, or even forged the signatures of management at those

 pharmacies.

           89.   For example, a July 14, 2015 email between Russell Reitz of R&O Pharmacy and



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 Eric Rice, Senior Director at Philidor, demonstrates that Defendants’ agents’ audit statements

 submitted on behalf of R&O Pharmacy falsely claimed that R&O had dispensed Valeant

 prescriptions when, in fact, Philidor had actually filled those prescriptions. In that email, Reitz

 wrote to Rice that Philidor fraudulently billed R&O for prescriptions “filled by some other

 pharmacy” or “filled and billed before the execution of the R&O purchase and sale agreement,”

 using Reitz’s National Council for Prescription Drug Programs number without Reitz’s knowledge

 or consent. In some cases, the prescriptions that Philidor claimed R&O dispensed in R&O’s

 fraudulent audit statements were for drugs that R&O not only had not dispensed, but also did not

 stock.

          90.   Valeant and Philidor also fraudulently submitted numerous prescription renewals

 for reimbursement when patients had not requested renewals of their prescriptions. As Philidor

 customers explained in an investigative article published by New York magazine on January 13,

 2016, Valeant and Philidor directed its captive pharmacies to automatically refill patients’

 prescriptions for Jublia and other Philidor-dispensed Valeant drugs regardless of whether the

 patients had actually requested refills. Even when patients actively refused refills, Philidor made

 it nearly impossible for those patients to decline or cancel the refills. Accordingly, Valeant and

 Philidor fraudulently represented to third party-payors and PBM agents that patients had requested

 prescription renewals for Valeant-branded drugs even when patients actively declined a

 prescription renewal.

          91.   Valeant also sought prescription renewals for non-chronic conditions that are

 generally resolved by a limited course of treatment. Thus, for certain dermatological conditions

 treated by Valeant-branded drugs that required only one course of treatment, Valeant fraudulently

 stated that patients had requested prescription renewals from third-party payors even though the



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 conditions were resolved through a single treatment. Because Valeant directed Philidor to waive

 patient copays through the deceptive PAPs program, discussed above, this scheme frequently went

 undetected, since there existed no incentive for patients to complain about the unnecessary refills

 for which the patients were not charged.

        92.     One Philidor employee explained in an online forum that Philidor frequently “auto

 ship[ped] [Valeant-branded drugs] without proper approval” even when “most people do not need

 these refills” because “it is free for the patient but Philidor gets anywhere from $550-$1220 from

 the insurance companies.” Another Philidor employee further explained:

                They took the list of customers who had been approved by [insurance] and
                had refills available. Instead of waiting for the customer to call they would
                dial and leave a msg saying your refill will be shipped unless you call within
                24 hrs. They would do this on the 30th day of the rx. Previously they had a
                Co pay so would have to wait to get approval to charge the 35.00 Co pay,
                making the Co pay 0 allowed them to ship refills whether u wanted them or
                not. Not a bad money making idea except most people did not really need
                refills of Solodyn so soon . . . Of course these refills were out the door ASAP
                sometimes within an hour of the call and the [insurance] money would come
                in.

                What patients don’t get is your [insurance] company is paying 500 plus
                bucks for an old medication reformulated and refills not needed. I would bet
                a lot of Solodyn and Jublia bottles are just lying around still in the shipping
                package.

                If you ever saw Wolves of Wallstreet well that was sorta what some of us
                saw at Philidor. Let’s say on average a person does not need a refill of
                Solodyn for 45 or 60 days from the 1st fill and you force them to take it at
                30 days every month $$$$$$$$$$$$$$ and a ton of it! Think about it.

        93.     Valeant and Philidor also misrepresented to insurance companies and other third-

 party payors the dispensing pharmacies “actual charges” for Valeant-branded drugs by failing to

 disclose that Valeant instructed Philidor to waive patient copays on those drugs. Insurance

 companies institute copays to: (i) deter insured patients from wastefully consuming medically

 unnecessary pharmacy products; (ii) incentivize insured patients to choose generic substitutes


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 when available; and (iii) discourage unnecessary refills of prescription medications. By waiving

 copays at Valeant’s direction, Philidor removed all three incentives for controlling unnecessary

 costs. In turn, this practice meant that third-party payors would incur the increased costs associated

 with the unnecessary and exorbitantly priced Valeant-branded drugs, and those increased costs

 would ultimately be passed through to patients and the insured public. To discourage pharmacies

 like Philidor from waiving copays, PBMs contract with pharmacies to mandate that pharmacies

 attempt to collect the copayment, and submit their claims reflecting “actual charges,” which take

 into account discounts or waivers applied. While Philidor would waive copays at Valeant’s

 direction, Philidor frequently submitted claims for the prescriptions that falsely represented to the

 insurers and other third-party payors that the patient had been charged the full price of the drug

 and contributed the copay.

        94.     Valeant and Philidor also issued patient-facing misrepresentations to increase the

 volume of Valeant’s drug sales. Valeant and Philidor falsely represented to doctors and patients

 that Valeant drugs were available at no cost if the patients and physicians submitted their

 prescriptions directly to Valeant’s captive secret pharmacy network. Channeling patients and

 physicians through Philidor allowed Valeant to guarantee that prescriptions would be filled with

 Valeant-branded drugs, rather than cheaper generics as would occur by law or contract if filled by

 a pharmacy outside of Valeant’s captive and undisclosed network. In furtherance of this scheme,

 Valeant and Philidor issued coupons that fraudulently told patients that third-party payors would

 not be billed if the prescriptions for Valeant-branded pharmaceuticals were submitted directly to

 Philidor. One patient submitted a consumer complaint to the Better Business Bureau (“BBB”) on

 March 2, 2015, which the BBB documented as follows:

                Complaint: Received a call from the [Philidor] representative stating that
                they wanted to refill a Rx for ******. They stated that they had a coupon

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                that would pay for the medication completely, and even said “at no cost to
                you”. Unfortunately, I said OK. In reviewing my healthcare plan claims, I
                noticed that they bill my Plan for $449.55. Since I have a $1500 deductible,
                I may be liable for this charge. This is not what I agreed to and not what the
                representative said would occur. I would like this claim removed from my
                healthcare plan immediately. I will return the ****** unopened in order to
                have this taken off my Claims.

        95.     In reality, the third-party payors were billed for the Valeant-branded drugs, despite

 Valeant and Philidor’s representations to the contrary. Valeant and Philidor’s billing of the

 insurers was then passed onto the patients, whom Valeant and Philidor had promised not to bill.

 Indeed, one patient reported:

                [M]y dermatologist provided me with a “Trial Coupon” for JUBLIA; a
                topical solution used to treat toenails. The trial coupon offers a “$0 copay
                for 12 months” of this medicine . . . . Philidor RX Services continues to
                INCORRECTLY bill my health insurance which, in turn, is impacting my
                HSA / MRA Funds - each time, removing $100 from MY Medical
                Reimbursement Account.

        96.     Another customer reported similar conduct to the BBB:

                Hello. My child had an appointment with a local dermatologist. While we
                were there we were referred to Philidor RX Services for filling two acne
                prescriptions. The dermatologist assured me that I would be charged only
                $25 and nothing more from our health insurance company. She also gave
                us a coupon to use for one of the prescriptions that would make it free. I
                called Philidor and gave them all of the information that was provided to
                me by the dermatologist. Philidor charged me $220 from my FSA account
                ($110 for each prescription). I contacted Philidor and spoke with a man who
                said his name was Mickey. Mickey told me that I needed to submit a
                statement from my insurance company showing that $220 was withdrawn
                from my FSA account. I did as requested and have sent the information via
                email to Philidor, Attn: Mickey, twice. I have received no response and no
                refund.

        97.     Anticipating these complaints, Valeant and Philidor sought to insulate their captive

 pharmacies from consumer retaliation. Valeant and Philidor attempted to make it as difficult as

 possible for patients to complain to Philidor that their insurers had been billed for Valeant-branded

 drugs despite coupons or sales literature indicating that insurers would not be billed. Philidor


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 customers and patients frequently reported being directed to sales staff (who rebuffed the

 complaints) when they tried to report the fraudulent marketing schemes to Philidor.

        98.     Valeant was aware of—and indeed was directing—Philidor’s improper practices

 even before the $100 million payment to Philidor was made. As explained above, Valeant’s

 management was involved in Philidor’s formation and decision-making.            Valeant’s senior

 management, and even members of Valeant’s Board of Directors, went on site visits to Philidor

 before the $100 million acquisition. After the payment for the convoluted Philidor Purchase

 Option, Valeant concealed the transaction and Valeant’s control over Philidor from investors and

 all healthcare sector stakeholders—including physicians, patients, private payors and PBMs.

        99.     Until the fraudulent arrangement was exposed in October of 2015, Valeant utilized

 this hidden relationship to artificially inflate revenues. Because Valeant and its management knew

 that Valeant could not record revenue from shipping products to Philidor after Valeant’s

 acquisition of Philidor, Valeant shipped millions of dollars of products to Philidor to inflate

 revenue directly before the purchase of the put option. Despite the fact that this manipulative

 practice clearly violated GAAP, Schiller, Carro and Ingram the Valeant Audit Committee, the

 Finance and Transactions Committee and the entire Valeant Board of Directors approved the

 deceptive accounting practices involving Philidor.      During an October 26, 2015 investor

 conference call, Robert A. Ingram, a member of Valeant’s Board of Directors since September

 2010, admitted that the Audit Committee of the Board and the full Board of Directors approved

 Valeant’s (misleading) accounting concerning Philidor. Slides that corresponded to the investor

 call stated that the “Finance and Transactions Committee, Audit and Risk Committee and Full

 Board reviewed the transaction” and “[t]he appropriate accounting treatment was determined

 by management and reviewed with the Audit and Risk Committee.”



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               4.      Valeant Exploits “Patient Assistance Programs” To Raise Prices

        100.   In addition to relying on its secret network of pharmacies to support its price-

 gouging model, Valeant also deceptively employed “patient assistance programs” (“PAPs”) to

 support growth while raising prices. PAPs are typically offered by drug companies to provide

 financial assistance to patients so that they can have access to medically critical drugs. But

 Valeant’s PAPS had an entirely different purpose. Specifically, Valeant’s PAPs waived patient

 copay requirements for Valeant’s drugs—not to provide access to medically critical drugs, but

 instead to ensure that patients would not complain about being prescribed Valeant’s branded and

 overpriced drugs rather than medically equivalent and far cheaper generics. By eliminating

 copays, Valeant muted the incentive for patients to seek out lower-priced substitute drugs. Thus,

 Valeant could sell medically unnecessary branded drugs—despite the availability of low-cost

 generic substitutes—at an artificially inflated price. Had Valeant declined to waive the patient

 copays, patients would have chosen lower-cost generic drugs to avoid the unnecessary and costly

 prescriptions and thus would have lowered costs for the insurance companies. Valeant also

 concealed the Company’s practice of waiving patient copays, keeping private insurance companies

 in the dark so that they would continue to pay for the Valeant-branded drugs even when

 unnecessary. Thus, Valeant manipulated the PAP system to conceal the extent of its price

 increases from the paying public.

        101.   Valeant specifically targeted private insurers because of federal anti-kickback laws

 that prohibit such practices when government payors are involved. Testifying before the House

 Oversight Committee and the Committee on Aging of the U.S. Senate (“Committee on Aging”)

 on April 27, 2016, Pearson acknowledged that Valeant was “not allowed to” use the co-pay

 reduction programs for those on federal insurance programs. Senator Elizabeth Warren explained

 why: “These [co-pay reduction] programs are illegal [with regard to federal payors] because
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 Medicare and Medicaid understand that the programs are scams to hide the true cost of the products

 from the consumer and drive up the cost of all the taxpayers.” At the same hearing, Mark Merritt,

 President and CEO of the Pharmaceutical Care Management Association (“PCMA”), which

 represents PBMs, testified that Valeant caused third-party payors “to pay hundreds of thousands

 more for the most expensive brands” through copay coupons that allowed patients to bypass

 cheaper generic drugs.

        102.    From 2012 to 2015, Valeant’s PAPs expenditures grew 11-fold, rising from $53

 million in 2012 to over $600 million in 2015, with the expectation that PAPs expenditures would

 rise to over $1 billion in 2016. These rates grew even while the Company’s revenues were

 increasing at a significantly slower rate (roughly 3-fold), from $3.5 billion in 2012 to $10.4 billion

 in 2015.

        103.    Throughout this period, Valeant misrepresented the true purpose of its PAPs

 program. A draft Q&A directed Valeant employees to respond to the question of “Isn’t Valeant

 just trying to make insurers and managed care providers pay as much as possible for these drugs?”

 with the following answer: “No. These rate increases are essential to ensure that Valeant is able

 to continue to offer these important pharmaceuticals to our patients who are afflicted with Wilson’s

 disease while also remaining commercially viable.” Valeant’s production costs for these drugs

 had not increased in reality. Valeant was instead using these price increases to chase additional

 revenue growth. Despite the fact that Valeant’s business model had eliminated nearly all spending

 on R&D, Valeant’s customer service department lied to patients, claiming “there are many

 challenges associated with developing treatments for rare conditions such as Wilson’s disease, the

 investments we make to develop and distribute novel medicines are only viable if there is a

 reasonable return on the company’s investment and if our business is sustainable.”



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        104.    When certain elements of Valeant’s business model were revealed to the public in

 October 2015 (namely, the existence of the previously undisclosed Philidor relationship), Valeant

 spun further deceptions. In a letter to Senator Claire McCaskill dated October 30, 2015, Pearson

 stated that Valeant was “beginning to reach out to hospitals to determine an appropriate pricing

 strategy” for those “institutions where the impact was significantly greater.” Despite these

 representations, and a 30% discount program that Valeant announced shortly after the letter to

 Senator McCaskill, investigators could not find a single hospital that received the discounts.

        105.    A number of individuals, many of whom were affiliated with hospitals, testified

 before the Senate Aging Committee in or around April 2016 that they had not received any of the

 promised discounts. This was because Valeant had, in reality, maintained its price gouging well

 beyond October 2015 in a desperate attempt to generate further revenue growth. By way of

 example, the Cleveland Clinic explained that it had called a then-vice president of Valeant, Brian

 Stolz, to inquire about the announced discounts. Stolz stated that he would get back to the Clinic

 about the discounts, but Cleveland Clinic never received the promised follow-up. Likewise, the

 University of Utah Health Care wrote to the Senate Aging Committee explaining that “Valeant

 refused to talk [] about better contracted prices.” This was true, despite Pearson’s October 2015

 letter to Senator McCaskill indicating that Valeant would contact “hospitals that were impacted by

 the new pricing” to arrange pricing discounts.

        106.    Subsequently, Valeant effectively admitted that Pearson’s representation was

 inaccurate. In an April 23, 2016, written response to the Senate Aging Committee, Stolz stated

 that, “[a]s of this date, Valeant has not entered into contracts with individual hospitals to provide

 volume-based discounts for Nitropress and Isuprel” and had executed contracts with only three

 hospital groups. Thus, as of April 23, 2016, nearly half a year after Pearson’s letter to Senator



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 McCaskill, Valeant had done almost nothing to address the price increases.


                5.      The R&O Lawsuit and the Initial Disclosure of Valeant and Philidor’s
                        Fraudulent Arrangement

        107.    Valeant’s desire to grow its captive pharmacy network ultimately led to its undoing.

 The Company’s acquisition of R&O Pharmacy would result in an investigation and lawsuit against

 Philidor that exposed the specialty pharmacy’s relationship with Valeant and the related captive

 network of secret specialty pharmacies.

        108.    As mentioned above, on December 1, 2014, Philidor acquired a specialized

 dispensary for gastroenterology patients, R&O Pharmacy, from Russell Reitz. It became apparent

 to Reitz during the sale that Philidor was not licensed by the California State Board of Pharmacy.

 Immediately following the sale, R&O began to receive a massive increase in prescriptions from

 physicians using Philidor’s mail-order service.      The number of prescriptions sent to R&O

 significantly exceeded the size of R&O’s business prior to Philidor’s acquisition of the pharmacy.

        109.    The orders, as discussed above, were consistently for expensive Valeant-branded

 pharmaceuticals, often ordered in bulk, which would be dispensed by Reitz through mail directly

 to patients. R&O would then receive payments from private health insurers, which frequently sent

 R&O single checks for more than $1 million covering hundreds of patients.

        110.    R&O Pharmacy’s newfound business was unusual in at least three respects: (i) the

 volume of prescriptions that R&O filled through Philidor-directed patients was unusually large;

 (ii) the prices of the prescriptions were extremely high, even for a specialized pharmacy like R&O

 that frequently dealt in costly specialty drugs; and (iii) whereas most specialty pharmacies deal in

 treatments for chronic and serious medical conditions, the overpriced prescriptions that R&O was

 receiving from Philidor were for Valeant-branded drugs that treated common dermatological

 conditions such as Solodyn for acne, Elidel for eczema and Jublia for toenail fungus, all of which

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 could have been appropriately treated by any number of generic substitutes.

        111.    The significant change in R&O’s business following the acquisition resulted in an

 audit from one of R&O’s PBMs. The audit revealed that Philidor was using R&O to fill thousands

 of prescriptions for individuals all around the country, including patients with whom Reitz had

 never been in contact but whose prescriptions had been filled with his name and R&O’s NPI. Even

 more confounding was the fact that many of the prescriptions that R&O had been credited with

 fulfilling were for medications that R&O did not carry, and some of those prescriptions had been

 backdated to before Reitz sold R&O to the Philidor-controlled entity. These fraudulent practices

 continued throughout the summer of 2015.

        112.    Because of the serious concerns raised by the PBM’s audit, in the summer of 2015,

 R&O began its own investigation into Philidor. R&O’s investigation uncovered Philidor’s

 unsuccessful application for a pharmacy license with the California State Board of Pharmacy in

 2013, which had been denied in 2014 by the California Board because Philidor’s application

 contained “false statements of fact.” R&O’s discovery of the previous unsuccessful application

 alerted Reitz to the fact that Philidor had purchased R&O exclusively to use R&O as a mechanism

 for Philidor to conduct business in California despite the California Board’s denial of Philidor’s

 pharmacy license application.

        113.    In a July 14, 2015 email to Eric Rice, the Isolani executive who signed the

 acquisition agreement with R&O (and who was also Senior Director at Philidor), Reitz raised “the

 issue of Philidor’s improper, and perhaps illegal, use of [R&O Pharmacy’s] number without

 [Reitz’s] knowledge or consent to bill for prescriptions that” other pharmacies had filled and, in

 some cases, had even been billed before Isolani acquired R&O. In the email, Reitz instructed

 Philidor to end the fraudulent practice immediately, and he noted that the acquisition agreement



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 mandated that Philidor and Isolani (the Philidor-controlled entity through which Philidor acquired

 R&O) apply for a permit to operate in California—a “process [that] does not take 7 months.”

 Accordingly, Reitz requested all documents concerning Isolani’s or Philidor’s application for a

 pharmacy license before the California State Board of Pharmacy.

        114.    Five days later, on July 19, 2015, Philidor’s CEO Davenport responded by email to

 Reitz. In that email, Davenport stated that Philidor would cease using R&O’s NPI number to fill

 prescriptions, and that Philidor had “halted activity pending coming to some alignment with you.”

 In response, Reitz inquired why “Philidor is responding to my concerns instead of Eric Rice,” who

 had signed the acquisition agreement by which Isolani acquired R&O Pharmacy. Reitz also noted

 that he had recently learned Rice signed off on an audit that Reitz had refused to sign, despite the

 fact that “Rice is not the [pharmacist-in-charge] (I am) and has never stepped through R&O’s

 doors. I am not sure how he could verify the accuracy of anything pertaining to that audit.”

        115.    In response, and indicative of the severity of Reitz’s concerns, on July 21, 2015,

 Philidor dispatched Rice and additional Philidor executives including CEO Davenport, Controller

 Fleming, and General Counsel Gretchen Wisehart to California to meet in person with Reitz at

 R&O. Reitz’s concerns on behalf of R&O were not resolved at the meeting, and R&O retained

 counsel who sent a letter to Rice on July 22, 2015, noting that Rice “appear[ed] to be engaging in

 widespread fraud.”

        116.    Several weeks later, on August 18, 2015, Philidor’s Controller Fleming emailed

 Reitz to suggest responses to a pending audit. One of the most prominent red flags identified in

 the audit was the fact that a large number of prescriptions R&O was filling were then shipped to

 patients in Pennsylvania, where Philidor was based.

        117.    In light of the apparent widespread fraud, on August 31, 2015, R&O’s counsel sent



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 a notice of termination to Isolani’s law firm, writing: “It is now crystal clear that Isolani/Philidor

 fraudulently induced Mr. Reitz to sign the [transaction] agreements in order to allow

 Isolani/Philidor to engage in a massive fraud. . . . Isolani is simply a shell created by Philidor to

 perpetrate a massive fraud against not only against Mr. Reitz and R&O, but also the California

 State Board of Pharmacy, [and] various payer networks.” In the letter, R&O’s counsel stated that

 Philidor was clearly using R&O for improper purposes because Philidor had been denied a

 California license. Specifically, R&O’s counsel stated that Philidor:

                targeted Mr. Reitz and R&O back in the fall of 2014 because it needed
                access to R&O’s valuable multi-state pharmacy licenses and payer contracts
                . . . . Philidor then created Isolani as the instrumentality to improperly use
                R&O’s NCPDP and NPI numbers to distribute pharmaceuticals in
                jurisdictions that Philidor would not have access to but for R&O. . . . Mr.
                Reitz’s worst fears have been realized, as he has obtained irrefutable proof
                that despite Mr. Davenport’s written assurance, Isolani/Philidor continue to
                use R&O’s . . . NPI numbers to bill payors for prescriptions dispensed by
                Philidor . . . Mr. Reitz now has concrete evidence that representatives of
                Isolani/Philidor have signed false and misleading payer audits and falsely
                represented themselves as officers or employees of R&O . . . to certain
                payors.

        118.    Valeant, evidently realizing that Reitz’s investigation of Philidor was endangering

 the Company’s undisclosed business model, then intervened. In response to the August 31, 2015

 letter, Valeant’s General Counsel sent letters to Reitz demanding $69 million in payments from

 R&O. The letters demonstrate that Valeant was not only a drug manufacturer supplying Philidor,

 but in fact was at the center of a fraudulent scheme perpetuated in coordination with Philidor.

 Following Valeant’s intervention, Isolani’s counsel sent an email on September 6, 2015, notifying

 R&O’s counsel that Isolani was seeking a protective order against Reitz and an accounting. R&O’s

 counsel responded to Isolani by stating that Isolani must have known for “at least six weeks that

 Mr. Reitz was in receipt of checks paid to his company to protect himself and his company from

 the massive potential/actual civil, regulatory and even potential criminal liability that your clients


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 have exposed him to due to their malfeasance,” also noting that R&O’s counsel had outlined the

 illicit conduct in prior correspondence “to which your clients have provided no denials.”

         119.    R&O, through its counsel, then stated that it had not received any invoice from

 Valeant for any amount at any point in time, indicating that either Valeant and R&O are “victims

 of a massive fraud perpetuated by third parties,” or that “Valeant is conspiring with other persons

 or entities to perpetuate a massive fraud against R&O and others.”

         120.    Reitz and R&O eventually filed suit against Valeant in October 2015. The resulting

 disclosures, including the facts set forth above, precipitated a series of events that ultimately

 revealed the true nature of Defendants’ and Philidor’s fraudulent arrangements and the network of

 secret and captive specialty pharmacies.


 V.      DEFENDANTS MISLED INVESTORS REGARDING VALEANT’S BUSINESS
         MODEL AND MANIPULATED THE COMPANY’S FINANCIAL RESULTS

         A.      Defendants Made Numerous False or Misleading Statements Regarding
                 Valeant’s Business Model and Financial Results

         121.    Throughout the Class Period, Defendants repeatedly misled investors regarding

 Valeant’s business model and financial results, which (together with Defendants’ other

 misstatements and omissions) caused the prices of Valeant common stock and call options to be

 artificially inflated; and caused the prices of Valeant put options to be artificially deflated.

         122.    On January 4, 2013, the first day of the Class Period, CEO Michael Pearson, and

 CFO Howard Schiller hosted a conference call with investors and analysts to discuss Valeant’s

 2013 financial guidance. Pearson and Schiller made several statements concerning Valeant’s

 business model, financial prospects and the benefits of its new Alternative Fulfillment (“AF”)

 initiative. The AF strategy had been employed at Medicis Pharmaceutical Corporation, which

 Valeant acquired in or around December 2012. Through the AF initiative, Valeant attempted to


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 have patients take their prescriptions to specialty pharmacies that would assist patients and doctors

 in obtaining insurance coverage for Valeant drugs rather than generic substitutes, or would provide

 incentives for patients to purchase Valeant drugs instead of generics. Pearson stated during the

 January 4 call: “2012 was another very strong year for Valeant. From a top line perspective we

 added over $1 billion in revenue in 2012 . . . . On the bottom line, we delivered cash EPS growth

 of greater than 50% as compared to 2011, demonstrating once again the sustainability of our

 business model.”

        123.    When asked about pricing for Solodyn, a dermatological product acquired in the

 Medicis transaction, Pearson responded: “In terms of Solodyn, we’re not assuming we’re making

 any kind of major price increases in terms of the end consumer. Through the AF programs, it will

 allow us our sort of average price internally to go up, because of the way that system works.”

 Pearson also touted the expansion of Valeant’s AF initiative:

        Yes, the more we understand about it the more excited we get about it, quite frankly
        because it’s not just a singular sort of initiative that there’s a whole evolution being
        planned in terms of the Stage I, Stage II, Stage III. And there’s some exciting
        opportunities there that we’re not going to give specifics of. And also as we had
        hoped, we think it will apply to more than just Solodyn. Ziana [used to treat acne]
        is actually also being—already Medicis has Ziana being used in the AF program,
        and we see application for a number of our dermatology products and potentially
        neurology products in the US.

        124.    When asked what percentage of Solodyn revenue would go through the AF

 initiative, Pearson replied:

        [I]t’s much - it will be much closer to 50% than 10%, that’s for sure. And yes, what
        we - the AF, if it all works out, will both help eliminate or get rid of non-revenue
        producing or non-profitable scripts, but hopefully can be used to start generating
        truly profitable scripts through a different channel. That’s the intent, and we’re
        seeing evidence that that will work.

        125.    On February 28, 2013, Valeant issued a press release and hosted a conference call

 regarding its 2012 financial results. In response to a question about the AF strategy, Pearson


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 represented: “The program is working actually quite well. We are going to be rolling out a couple

 new generations of the program but we’re not going to talk about it on this call.” When pressed

 for details on the “Medicis alternate fulfillment channel” and “how that sort of contributes to the

 growth,” Pearson stated:

        We have never given details. Medicis never gave details. And that was probably a
        smart practice. We are not going to give details in terms of what’s flowing through
        full alternate fulfillment and what’s not. What we can reiterate is that all of our key
        brands in dermatology since our sales force meeting are now growing.

        126.    Defendants continued to tout Valeant’s purportedly sound and profitable business

 model throughout the Class Period, including through the following representations:

 (a)            During a June 11, 2013 presentation at the Goldman Sachs Healthcare Conference,

                Schiller stated “it’s all trying to focus on profitable scripts, and stay away from

                those scripts that are unprofitable, and more judicious use of copay cards and the

                rest, and making sure when a customer, a patient is covered, you get reimbursed for

                it.”

 (b)            During an August 7, 2013 conference call to discuss Valeant’s 2Q13 financial

                results, Pearson stated: “[W]e’re not going to go - therapeutic areas are largely

                driven by R&D in terms of why people organize that way, and we don’t plan to

                spend - increase our R&D spend as a percent of sales to what other companies are

                doing. And we’ll continue to focus on both specialty segments and attractive

                geographic markets.”

 (c)            In an October 31, 2013 press release reporting its 3Q13 financial results, Valeant

                represented its “Developed Markets revenue was $1.14 billion, up 77% as

                compared to the third quarter of 2012” and “[t]he growth in the Developed Markets

                was driven by continued improvement in many of our Dermatology prescription

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            brands, our aesthetics and oral health portfolios, our orphan drug products and

            CeraVe [a line of skincare products].”

 (d)        During a January 7, 2014 conference call, Pearson attributed Valeant’s “continuing

            track record of consistent strong performance in terms of growth in revenues,

            earnings, and most important, returns to all of you, our shareholders” to “strong

            organic growth in a fiscally responsible manner for the products that we already

            own, coupled with a consistent track record of buying durable assets in a very

            disciplined manner and over-achieving in terms of improving growth rates and

            extracting cost synergies.”

 (e)        Defendants made similar representations regarding the Company’s AF initiative,

            “growth” (or “organic growth”), or increasing revenues in: (i) Pearson’s statements

            during the Goldman Sachs Healthcare CEOs Unscripted: A View from the Top

            Conference on January 7, 2014; (ii) Valeant’s February 27, 2014 press release

            discussing its 2013 financial results, as well as its earnings call the same day; (iii)

            Valeant’s May 8, 2014 1Q14 earnings call; (iv) Valeant’s July 31, 2014 press

            release announcing 2Q14 financial results, as well as its earnings call the same day;

            (v) Valeant’s October 20, 2014 press release announcing 3Q14 results, as well as

            its earnings call the same day; (vi) Valeant’s January 8, 2015 earnings guidance

            call; (vii) Valeant’s February 22, 2015 press release announcing 4Q14 and FY14

            financial results, as well as the Company’s February 23, 2015 earnings call; (viii)

            Valeant’s 2014 Form 10-K filed on February 25, 2015; (ix) Valeant’s April 29,

            2015 press release announcing 1Q15 financial results, as well as its earnings call

            the same day; (x) Valeant’s April 30, 2015 1Q15 Form 10-Q; (xi) Pearson’s



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            statements during Valeant’s annual shareholders meeting on May 19, 2015; (xii)

            Valeant’s July 23, 2015 press release announcing 2Q15 financial results, as well as

            its earnings call the same day; (xiii) Valeant’s July 28, 2015 2Q15 10-Q; and (xiv)

            Valeant’s October 26, 2015 3Q15 10-Q.

 (f)        In its 2013 10-K issued on February 28, 2014, Valeant stated “[g]eneric versions

            are generally significantly less expensive than branded versions, and, where

            available, may be required in preference to the branded version under third party

            reimbursement programs, or substituted by pharmacies,” and “[t]o successfully

            compete for business with managed care and pharmacy benefits management

            organizations, we must often demonstrate that our products offer not only medical

            benefits but also cost advantages as compared with other forms of care.” Valeant

            made similar statements in its 2014 10-K.

 (g)        The 2013 10-K also touted Valeant’s “lower risk research and development model,”

            which “allow[ed] [the Company] to advance certain development programs to drive

            future commercial growth, while minimizing our research and development

            expense.” Valeant made similar statements regarding its “lower risk research and

            development model” in its (i) May 9, 2014 1Q14 10-Q; (ii) August 1, 2014 2Q14

            10-Q; (iii) October 24, 2014 3Q14 10-Q; (iv) 2014 Form 10-K; (v) Registration

            Statement and Prospectus issued in connection with the Company’s March 2015

            $1.45 billion public offering of 7.3 million shares of common stock (“March 2015

            Stock Offering”); (vi) April 30, 2015 1Q15 10-Q; and (vii) July 28, 2015 2Q15 10-

            Q.




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 (h)        During a February 23, 2015 earnings call, Schiller stated, “The outstanding work

            of our sales teams, implementation of innovative marketing approaches, great

            leadership, a portfolio of great products, and our four new launch products have

            contributed to the turnaround and the outstanding results in our dermatology

            business in Q4 and 2014.”

 (i)        During an April 22, 2015 earnings call, in response to an analyst’s question as to

            “how much was price versus volume that contributed to growth in 1Q . . . [a]nd

            what do you factor in your full-year guidance price versus volume,” Pearson

            responded: “In terms of price volume, actually volume was greater than price in

            terms of our growth. Outside the United States it’s all volume . . . . And in the US

            it’s shifting more to volume than price, and we expect that to continue with our

            launch brands. A lot of our prices for most of our products are negotiated with

            managed care. And there’s only a limited amount of price that we can take.”

 (j)        During Valeant’s 2015 annual shareholder meeting on May 19, 2015, Pearson

            stated “we have a differentiated R&D model that has and will continue to deliver

            more innovative products to our customers at a lower cost than our competitors.”

 (k)        On May 21, 2015, Pearson attended an RBC Capital Markets, LLC Investor

            Meeting on Valeant’s behalf and made numerous statements about the Company’s

            pricing, source of growth, and accounting practices, including:


                 (i)   when asked to discuss pricing in the United States, Pearson said that due
                       to managed care contracts, Valeant was “contractually not allowed to
                       raise prices beyond” an average of “5%,” including in its Dermatology
                       business segment;

                (ii)   while discussing pricing, Pearson said of the Neurology and Other
                       business segment, “that’s where we have the most ability to raise
                       price[s] and play with price” and raising prices “is I believe not, at least

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                            from your [an investor’s] standpoint a bad thing.” Pearson further
                            stated orphan products provided him with the opportunity to be flexible
                            with pricing. He also said Valeant’s base plan was around 5% price
                            increases adding that Valeant had raised prices more in certain areas but
                            that “we don’t plan for them, but again if we can take advantage of—
                            during times we’ve had significant price increases in acquisitions.”
                            Rather than disclosing the deceptive tactics to implement the price
                            increases, Pearson claimed Valeant was able to raise prices by buying
                            products from companies “that did not price their product the right
                            way;”

                    (iii)   Pearson said they raised the prices of blood-pressure medications
                            Isuprel and Nitropress because Marathon Pharmaceuticals, from which
                            Valeant had purchased those drugs, left money “on the table”; he further
                            claimed the drugs were priced much lower than competitive products,
                            stating they raised prices “because the drugs were mispriced vs.
                            comparative products,” adding “that can create lot of value[] for
                            shareholders;’’

                  (iv) Pearson further stated “we’ve been accused of our growth being price and
                       not volume” but claimed “organic growth is more volume than price and
                       will continue to be;”2 and

                   (v) Pearson reassured investors “our accounting practices are fine” and added
                       “[w]e get audited all the time, by the SEC . . . and we have absolutely no
                       issue from a government standpoint,” and “we never had a financial
                       irregularity.

 (l)            During Valeant’s July 23, 2015 earnings call, Pearson was asked about a price

                increase on the diabetes drug Glumetza and the “extent to which you envision more

                pricing power . . . broadly speaking, in the U.S.?” He responded:

                I think most pharma companies that I’m aware of, as the product gets into
                the last stages of their life, like Glumetza—we’re going to lose Glumetza
                within six months—often price increases are taken at the end. So that was
                just consistent with what most companies do.

                Our view on pricing—across most of our portfolio, we do not take prices.
                Outside the US, there’s like zero price. I think, . . . as we get more and more

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   In a May 21, 2015 email to Pearson with the subject “price/volume,” Schiller stated: “Last night,
 one of the investors asked about price versus volume for Q1. Excluding [M]arathon, price
 represented about 60% of our growth. If you include [M]arathon, price represents about 80%.”
 Additionally, on May 26, 2015, an RBC analyst reported that one of the key takeaways from the
 meetings with Valeant management and Pearson was “volume not price is fueling organic growth.”
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                into segments like contact lenses and consumer products and other devices,
                we’re not able to take price. So we’re opportunistic when it comes to price.
                But our base strategy is, how do we grow organically through volume,
                which is—I think this quarter, we once again exhibited our ability to do
                so.

        B.      Defendants’ Statements Were False or Misleading When Made Because
                Valeant Was Engaged in a Fraudulent Scheme to Charge Exorbitant Prices
                for Its Drugs

                1.     Valeant’s Business Model Relied on Massively Increasing the Prices for
                       Drugs it Acquired

        127.    As discussed in Section IV above, contrary to Valeant’s representations regarding

 its growth model and the significance of increasing sales volumes to the Company’s financial

 success, Valeant’s business strategy was predicated on massive drug price increases.

        128.    Specifically, Valeant saw orphan drugs as affording a prime opportunity to boost

 revenue by increasing prices. While the higher prices could attract generic competitors, generic

 drugs face a 42-month backlog at the FDA for approval. Valeant took advantage of that time lag

 to engage in price gouging to meet financial targets.

        129.    Internal Valeant documents released in connection with Congress’s investigation

 of the Company illustrate Defendants’ strategy of acquiring drugs and then massively increasing

 their prices. A February 2, 2016 memorandum from Democratic staff members to Democratic

 members of the House Committee on Oversight and Government Reform (“House Oversight

 Committee”), for example, recounts the process by which Valeant purchased Isuprel and

 Nitropress from Marathon for $350 million “and increased their prices by 525% and 212%

 overnight.”

        130.    The House Oversight Committee memo states that e-mails to and from Valeant

 executives (including Pearson), internal and external Company projections and analyses on

 revenues and profits, and “public relations strategy documents” indicate Pearson “purchased


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 Isuprel and Nitropress in order to dramatically increase their prices and drive up his company’s

 revenues and profits.” The memo makes several other key observations based on the documents,

 as recounted below.

        131.    First, the documents demonstrate “Valeant identified goals for revenues first, and

 then set drug prices to reach those goals.” Valeant “employed this strategy for both Isuprel and

 Nitropress, generating gross revenues of more than $547 million and profits of approximately $351

 million in 2015 alone,” whereas Valeant’s R&D expenses for Isuprel and Nitrporess were

 “nominal.”

        132.    Second, the documents show “Valeant employed a public relations strategy used by

 other drug companies to distract public attention away from its price increases to focus instead on

 patient assistance programs, particularly with respect to several Valeant drugs that treat small

 patient populations.” Indeed, the documents indicate “Valeant used its patient assistance programs

 to justify raising prices and to generate increased revenues by driving patients into closed

 distribution systems.”

        133.    Third, while Valeant officials anticipated both Isuprel and Nitropress would

 eventually face competition from generics, the documents show that those executives “sought to

 exploit this temporary monopoly by increasing prices dramatically to extremely high levels very

 quickly.”

        134.    Fourth, information obtained by the House Oversight Committee “shows that Mr.

 Pearson utilized this strategy with many more drugs than Isuprel and Nitropress.” Specifically,

 “[f]rom 2014 to 2015, Valeant increased the prices of more than 20 additional ‘U.S. Prescription

 Products’ by more than 200%”; the Company “raised the prices of several of these products

 multiple times from 2014 to 2015, in some cases by as much as 800%.”



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                2.      Defendants Further Concealed From Investors That Valeant Created
                        a Secret Network of Captive Pharmacies to Insulate its Branded Drugs
                        From Generic Competition, Inflate Prices and Book Fictitious Sales

        135.    Also, as discussed in Section IV above, Valeant devised a scheme to funnel sales

 through a nationwide network of captive pharmacies to protect its price gouging practices from

 generic competition. Through this secret network, Valeant was able to insulate its products from

 generic competition by: (i) violating statutory or contractual mandates requiring substitution of

 generic equivalents for Valeant-branded drugs; and (ii) submitting false claims information to

 TPPs and PBMs. These fraudulent practices caused TPPs and PBMs to overpay for Valeant’s

 expensive branded drugs, enabling Valeant to artificially boost sales and reap enormous profits

 from the price-gouging practices discussed above.

        136.    After Philidor was formed, Defendants created a host of shell companies tied to it,

 which they used to acquire interests in smaller retail pharmacies throughout the United States and

 secretly extend their captive pharmacy network. As discussed above, Defendants created a

 network of at least 76 “phantom” pharmacies by causing Philidor or its affiliates to file with state

 regulators pharmacy applications on behalf of various shell companies that Valeant and Philidor

 used to implement their scheme.

        137.    Defendants used Valeant’s network of pharmacies to channel prescriptions for

 Valeant’s drugs through Philidor, where Valeant and Philidor employees used various fraudulent

 means to ensure that Valeant’s branded drugs, rather than generics, were dispensed. Defendants’

 misconduct violated the laws of at least 14 states, which require pharmacists to substitute generic

 equivalents for branded drugs, as well as contracts between the pharmacies and TPPs or their PBM

 agents, which typically require the pharmacy to dispense a generic substitute for a branded drug

 where available. Further, by minimizing generic substitution, and thus substantially shielding

 Valeant drugs from generic competition, Defendants inflated the prices of Valeant’s drugs far
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 beyond the prices at which they had previously been marketed and sold.

        138.    And by concealing Valeant’s relationship with Philidor, Valeant’s relationships

 with its network of pharmacies, and the pharmacies’ relationships with each other, Defendants

 were able to spread claims across ostensibly unrelated pharmacies.            That practice caused

 Defendants’ misconduct to go undetected by: (i) creating the false impression that pharmacies had

 independently determined to dispense Valeant’s high-priced drugs for legitimate reasons and (ii)

 burying fraudulent claims among the large volume of the pharmacy network’s claims.

        139.    Valeant also did not disclose Philidor in any of its SEC filings during the Class

 Period before October 19, 2015. Likewise, Philidor never publicly discussed the nature of its

 relationship to Valeant before October 19, 2015.

        140.    Additionally, Defendants made false or misleading statements directly to TPPs,

 their PBM agents, and their members/beneficiaries to improperly maximize the reimbursements

 paid by TPPs and to boost Valeant’s drug sales. Many aspects of Defendants’ fraudulent schemes

 were catalogued in manuals distributed to Philidor employees to guide their handling of claims

 submitted to TPPs.

        141.    First, Defendants instructed Philidor employees to change codes on prescriptions

 to require that they be filled with Valeant’s drugs as opposed to less-expensive generic alternatives,

 i.e., to be “dispensed as written.” As Bloomberg reported on October 29, 2015, former Philidor

 employees explained that practice was frequently implemented with respect to certain key Valeant

 dermatological products that encountered repeated denials from TPPs, such as Retin-A Micro

 (used to treat acne) and Vanos (used to treat skin conditions such as eczema).

        142.    Second, Defendants used false pharmacy identification information to bill TPPs for

 prescriptions to bypass the TPPs’ denials of claims for reimbursement. Defendants’ claims-



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 handling manual instructed Philidor employees to submit claims to TPPs or their PBM agents

 using Philidor’s National Provider Identification Number, or “NPI.” If a claim was rejected,

 employees were instructed to resubmit that claim using an NPI belonging to a different pharmacy

 in Defendants’ captive network—that is, to claim a pharmacy had dispensed a prescription it did

 not in fact dispense, and in some cases did not even stock.

        143.      As reported by Bloomberg, Defendants’ claims-handling manual instructed

 employees who received certain denials from TPPs to “submit the NPI for our partner in California,

 West Wilshire Pharmacy,” noting “[t]here is a good chance they are contracted.” If a claim using

 West Wilshire’s NPI was denied, the next step was to “add the Cambria Central Fill insurance and

 run that as the primary”—one of Philidor’s secret retail pharmacies based out of Philadelphia,

 Pennsylvania. The manual stated, “They should then get a paid claim and then Cambria . . . will

 reimburse us.”

        144.      Likewise, Defendants routinely caused pharmacies in the Valeant network,

 including Isolani, to use the NPI belonging to California-based R&O Pharmacy, one of the

 constituents of Defendants’ captive network, to bill for prescriptions R&O had never filled, and in

 some cases did not even stock. In a July 19, 2015 email to R&O, Philidor CEO Andrew Davenport

 acknowledged he was aware of that practice. And in an interview with the Southern Investigative

 Reporting Foundation, Taylor Geohagen, a former Philidor claims adjudicator during the Class

 Period, confirmed that practice was routinely implemented: “Everything we did in the [Philidor]

 Adjudication department was use the [NPI] codes from the pharmacies we bought out to get

 something [approved] in a pinch.”

        145.      To conceal Defendants’ use of false pharmacy identification numbers, Philidor and

 Valeant also submitted false or misleading payer audits to TPPs (or to their PBMs) on behalf of



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 the retail pharmacies with which Valeant was secretly associated, falsely representing that the

 pharmacy had filled certain prescriptions when in fact those prescriptions had been filled by

 Philidor or one of its other captive pharmacies. Defendants and their agents also misrepresented

 their authority to approve the audit statements on behalf of the retail pharmacies, and in some cases

 forged the signatures of principals at those pharmacies. As Russell Reitz of R&O noted in a July

 14, 2015 email to Philidor Senior Director Eric Rice, Philidor had billed R&O for prescriptions

 that were either “filled by some other pharmacy” or “were filled and billed before the execution of

 the R&O purchase and sale agreement” and thus fraudulently billed using Reitz’s National Council

 for Prescription Drug Programs (“NCPDP”) number without his knowledge or consent.

          146.   Third, in submitting numerous prescription renewals for reimbursement, Valeant

 and Philidor falsely represented to TPPs and their PBM agents that patients had requested renewals

 of their prescriptions when in fact no such request had been made. As New York magazine reported

 on January 13, 2016, Defendants caused Philidor and its captive pharmacies to automatically refill

 patients’ prescriptions for Jublia, among other Philidor-dispensed Valeant drugs, notwithstanding

 that the patients had not requested any refills, and made it virtually impossible for patients to

 decline or cancel those automatic refills. As discussed above, Philidor’s practice of waiving patient

 copays in connection with Defendants’ fraudulent scheme allowed it to go undetected, as patients

 were not incentivized to complain about unnecessary refills for which they were not charged a

 copay.

          147.   Fourth, when submitting claims to TPPs, Defendants misrepresented to TPPs the

 dispensing pharmacy’s “actual charges” for Valeant drugs by failing to account for Defendants’

 practice of routinely waiving patient copays. The collection of copays from insureds incentivizes

 them to select generics when available and only refill medications when needed, whereas waiving



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 copays discourages patients from actively avoiding low-value or medically unnecessary

 medicines. PBM contracts with pharmacies therefore mandate that pharmacies make every

 attempt to collect the copayment and submit claims reflecting their “actual charges,” taking into

 account any discounts or waivers applied. Defendants routinely waived copays for patients

 prescribed Valeant drugs, but when submitting claims for such prescriptions Defendants falsely

 represented to TPPs that the patient had been charged the full price of the drug.

        148.    Fifth, Defendants made misrepresentations directly to patients to boost Valeant’s

 drug sales. Specifically, Defendants disseminated false statements (including in brochures and

 coupons) to doctors and patients that falsely promised patients Valeant drugs at no cost only if

 they submitted their prescriptions directly to Philidor. By encouraging patients to submit claims

 directly to Philidor, Defendants ensured that prescriptions for Valeant drugs would not wind up

 being filled by a non-captive pharmacy that would substitute cheaper generics for the branded

 drugs, but would instead end up at Philidor, where Valeant’s branded drugs would be dispensed.

 To induce those patients to take advantage of the discounts, the coupons falsely assured them that

 their TPPs would not be billed.

        149.    To further aid their fraud, Defendants made it difficult for patients to contact

 Philidor to complain, for example, that their insurers had been billed in contravention of promises

 made in coupons and sales literature or that they had received unrequested refills. For example,

 Philidor invested very little in creating a call center to handle customer complaints and problems;

 customers and patients routinely reported that they were directed to sales staff when they tried to

 report those problems.

        150.    Notably, before Valeant’s $100 million payment to Philidor, Valeant’s senior

 management and members of the Board, including the entire Audit Committee, went on site visits



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 to Philidor during which Valeant was provided further access and exposure to Philidor’s business

 practices and operations.     After the payment, Valeant intentionally avoided disclosing its

 relationship with Philidor in its financial statements. Defendants concealed from investors (as well

 as physicians, patients, private payors, and PBMs) the $100 million payment, Valeant’s controlling

 relationship, and that Philidor’s financials were being consolidated into Valeant’s.

        151.    Further, Valeant used that hidden relationship to inflate its revenues. Defendants

 knew that after the formal consolidation of Philidor was completed, Valeant was prohibited from

 recording revenue for shipping products to Philidor, because that was tantamount to shipping

 products to itself. Instead, to enable it to properly recognize revenue, Valeant would have to wait

 until Philidor shipped the products to patients. Accordingly, before the agreement was signed in

 December 2014, Valeant shipped millions of dollars of products to Philidor to inflate Valeant’s

 revenue. That manipulative practice clearly violated GAAP. Nevertheless, Schiller, Carro, and the

 entire Valeant Board approved the accounting with respect to Philidor.

                3.      Defendants Also Concealed from Investors that Valeant Deceptively
                        used “Patient Assistance Programs” to Facilitate its Fraudulent pricing
                        scheme

        152.    As noted in Section IV above, Valeant further facilitated its fraudulent pricing

 scheme by systematically causing patient copays for drugs to be waived when submitting claims

 to insurance companies and other TPPs. The undisclosed copay waivers led patients to obtain

 higher-priced Valeant drugs rather than lower-priced generic substitutes and to obtain unnecessary

 refills, whose costs were reimbursed by insurance companies and other TPPs. Had the copays not

 been waived, patients would have had the incentive to choose lower-cost generics and avoid

 unnecessary prescriptions. Further, had Defendants properly disclosed their routine waiver of

 patient copays, PBMs and TPPs would not have paid the prices they did for the relevant Valeant-

 branded drugs, or paid for them at all.
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        153.    Valeant thus used its PAPs as another deceptive tactic to conceal its price gouging

 from private payors, and in turn to reduce patient complaints, minimize patients’ refusal to accept

 unnecessary refills or enrollment in automatic refill programs and avoid negative publicity.

        154.    Valeant also directed patients into its secret network of pharmacies and offered

 discounts as a means to quell any pushback on price increases for its drugs. Valeant developed a

 PR strategy to divert attention from any negative media regarding patient complaints over massive

 price increases by highlighting their purported increased PAPs.

        155.    An internal Valeant analysis outlining the Company’s “Orphan Drug Model” for

 Syprine, Cuprimine, and Demser (used to treat pheochromocytoma, a tumor that forms in the

 adrenal glands) reflected that strategy. The analysis stated “[t]ake initial 25% price increase to

 drive patients into the restricted distribution model,” and noted “[h]igh deductible copay requires

 increased foundation support.” The analysis “assume[d] target price increases of 100% for Demser

 and Cuprimine” and “price target increases of 500% for Syprine.”

        156.    Another internal Valeant presentation detailed the proposed launch of a new PAP

 called “Valeant Coverage Plus Program.” The presentation stated “[t]he program will be funded

 through planned price increases [i.e. funded by higher prices to payors rather than by Valeant].”

 The analysis directed claim adjudicators to “[u]tilize all of patient resources prior to co-pay

 mitigation or foundation assistance” when adjudicating claims and to use a “[p]atient assistance

 program or free goods as last resort.” The presentation noted Valeant had an opportunity to expand

 utilization “for niche brands” that “[i]nvolves a combination of alternative/restricted distribution

 model, advocacy support and patient assistance programs” along with “planned pricing actions

 expected to maximize overall returns.”




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        157.    The presentation also identified the risks of such tactics (which were concealed

 from investors), including that “[s]ubstantial price actions could attract undue negative publicity

 from patients, HCP’s [healthcare providers], payors, and/or government agencies” and “Managed

 Care plan actions against products could limit/ restrict re-imbursement.” To address the risks, the

 presentation included a “PR Mitigation” plan to “[p]rivately address concerns from patients,

 insurance companies or managed care providers to prevent public displays of negative sentiment”

 and “[m]inimize media coverage of the pricing increase.”

        158.    As part of the PAP and PR strategy, the presentation also encouraged false or

 misleading responses to inquiries about price increases. A draft Q&A directed that the response

 to the question “Isn’t Valeant just trying to make insurers and managed care providers pay as much

 as possible for these drugs?” was: “No. These rate increases are essential to ensure that Valeant

 is able to continue to offer these important pharmaceuticals to our patients who are afflicted with

 Wilson’s disease while also remaining commercially viable.” Valeant’s costs of producing those

 drugs in fact had not increased and the price increases (which resulted in gross margins exceeding

 90%) were not required to keep Valeant commercially viable.

        159.    Valeant also targeted its deceptive assistance programs at hospitals and other

 healthcare providers, which came to light in the Senate Aging Committee hearings. In a letter to

 Senator Claire McCaskill dated October, 30, 2015, Pearson stated “for those institutions where the

 impact [of price gouging] was significantly greater, we are beginning to reach out to hospitals to

 determine an appropriate pricing strategy.” Valeant soon announced a 30% discount program. As

 stated above, at the April 2016 hearing, Senator McCaskill noted she had not found a single

 hospital that had received the discounts. Hospital-affiliated witnesses at the hearing also denied




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 receiving the discounts, and several more sent letters to the Senate Aging Committee stating they

 had not received any such discounts.

                4.     The R&O Pharmacy Lawsuit

        160.    As discussed above, aspects of Valeant’s scheme were illustrated through an

 inquiry by R&O, which its owner Russell Reitz sold to Philidor on December 1, 2014.

        161.    Following the sale, R&O was inundated with thousands of prescriptions from

 doctors using Philidor’s mail-order service—dwarfing the customary size of R&O’s business.

 Philidor sent R&O bulk orders of Valeant drugs and Reitz dispensed them to patients directly or

 by mail. Payment later arrived in the form of paper checks from health insurers, with each check

 covering hundreds of patients and typically made out for over a million dollars.

        162.    Not only was the volume of Philidor-channeled patients unusually large, the

 prescriptions Philidor was filling were extraordinarily expensive, even compared to the specialized

 prescriptions R&O usually dispensed. Yet most of the overpriced prescriptions R&O was filling

 were Valeant drugs indicated for simple dermatological conditions, such as Solodyn for acne,

 Elidel for eczema, and Jublia for toenail fungus.

        163.    In March 2015, Reitz received an audit from one of his PBMs, which showed R&O

 was being used by Philidor to fill thousands of prescriptions across the country. Those

 prescriptions had been filled with Reitz’s name and R&O’s NPI, but they were dispensed to

 patients Reitz had never heard of and many were for medications R&O did not carry. Some

 prescriptions were even backdated to dates from before Reitz had sold R&O to Philidor. Those

 practices continued throughout the summer of 2015, when R&O began investigating Philidor.

 R&O’s investigation uncovered that (as discussed above) Philidor filed an application with the

 California Pharmacy Board in 2013 that was denied because it contained “false statements of fact.”



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 Reitz then realized Philidor had purchased R&O to use it as a channel through which to conduct

 business in California and circumvent the California Pharmacy Board’s denial.

        164.    On July 14, 2015, Reitz wrote an email to Philidor Senior Director Eric Rice to

 address “the issue of Philidor’s improper, and perhaps illegal, use of my [pharmacy] number

 without my knowledge or consent to bill for prescriptions that were” either filled by other

 pharmacies or billed before the execution of the agreement to purchase R&O. Reitz demandedthey

 cease the practices immediately, adding that the agreement required Philidor/Isolani to apply for a

 permit and asking for all documents relating to the application.

        165.    On July 19, 2015, Philidor CEO Andrew Davenport emailed Reitz stating Philidor

 stopped using R&O’s NPI number and “halted activity pending coming to some alignment with

 you.” On July 21, 2015, Rice and several Philidor executives, including Davenport, Philidor’s

 Controller James R. Fleming, and its General Counsel Gretchen Wisehart, flew to California to

 meet Reitz at R&O. The meeting did not satisfy R&O’s concerns, and the next day counsel for

 R&O sent a letter to Rice noting they “appear[ed] to be engaging in a widespread fraud.”

        166.    On August 18, 2015, Fleming emailed Reitz suggesting responses to an audit. One

 of the issues identified in the audit was the large number of prescriptions being filled by R&O that

 were shipped to patients from Pennsylvania, where Philidor was based.

        167.    On August 31, 2015, counsel for R&O sent a notice of termination to Isolani’s law

 firm, stating “[i]t is now crystal clear that Isolani/Philidor fraudulently induced Mr. Reitz to sign

 the [Sale, Management Services, and related] Agreements in order to allow Isolani/Philidor to

 engage in a massive fraud.” R&O’s counsel added “Isolani is simply a shell created by Philidor to

 perpetrate a massive fraud against not only Mr. Reitz and R&O, but also the California State Board

 of Pharmacy, [and] various payer networks.” R&O’s counsel noted Philidor had been denied a



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 California license and “targeted Mr. Reitz and R&O back in the fall of 2014 because it needed

 access to R&O’s valuable multi-state pharmacy licenses and payer contracts,” and “Philidor then

 created Isolani as the instrumentality to improperly use R&O’s NCPDP and NPI numbers to

 distribute pharmaceuticals in jurisdictions that Philidor would not have had access to but for

 R&O.” Counsel added “Mr. Reitz’s worst fears have been realized, as he has obtained irrefutable

 proof that despite Mr. Davenport’s written assurance, Isolani/Philidor continue to use R&O’s . . .

 NPI numbers to bill payors for prescriptions dispensed by Philidor,” and asserted “Mr. Reitz now

 has concrete evidence that representatives of Isolani/Philidor have signed false and misleading

 payer audits and falsely represented themselves as officers or employees of R&O . . . to certain

 payors.”

        168.    In response to Reitz’s investigation of Philidor, he received letters from Valeant’s

 General Counsel demanding $69 million in payments from R&O. Those letters made clear that

 Valeant was acting in concert with Philidor to perpetrate the conduct of which Reitz complained.

        169.    On September 6, 2015, Isolani’s counsel sent an email informing R&O’s counsel

 that they were seeking a protective order against Reitz and for an accounting. R&O’s counsel

 responded that Isolani had known for “at least six weeks that Mr. Reitz was in receipt of checks

 paid to his company to protect himself and his company from the massive potential / actual civil,

 regulatory and even potential criminal liability that your clients have exposed him to due to their

 malfeasance,” adding that the conduct was outlined in prior correspondence “to which your clients

 have provided no denials.”

        170.    R&O claimed that it never received a previous invoice from Valeant for any amount

 and that either Valeant and R&O were “victims of a massive fraud perpetuated by third parties” or




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 “Valeant is conspiring with other persons or entities to perpetuate a massive fraud against R&O

 and others.” Reitz ultimately filed suit against Valeant.

 VI.    DEFENDANTS MISLED INVESTORS REGARDING VALEANT’S
        RELATIONSHIP WITH PHILIDOR AND OTHER PURPORTEDLY
        INDEPENDENT ENTITIES

        A.      Defendants Made False or Misleading Statements Regarding Valeant’s
                Control over Third-Party Distributors and Its Association with Variable
                Interest Entities.

        171.    Defendants stated repeatedly during the Class Period that “pricing and sales volume

 of certain of our products . . . are distributed by third parties, over which we have no or limited

 control.” Defendants made that representation in Valeant’s (1) 1Q13 10-Q; (2) 2Q13 10-Q; (3)

 3Q13 10-Q; (4) 2013 10-K; (5) 1Q14 10-Q; (6) 2Q14 10-Q; (7) 3Q14 10-Q; (8) 2014 10-K; (9)

 1Q15 10-Q; and (10) 2Q15 10-Q.

        172.    Defendants also repeatedly represented that Valeant had no material association

 with or exposure to variable interest entities (“VIEs”), defined by GAAP as legal entities subject

 to consolidation. In its 2013 10-K, for example, Valeant stated “[t]here were no material

 arrangements determined to be variable interest entities.”

        173.    Similarly, in the “Business Combinations” section of its 2014 10-K, Valeant stated

 that during 2014 it “completed other smaller acquisitions, including the consolidation of variable

 interest entities, which are not material individually or in the aggregate,” and that those

 acquisitions were “included in the aggregated amounts presented” in the 10-K. Valeant repeated

 that representation in its 1Q14 10-Q.

        174.    Valeant further stated in its 2014 10-K that “[t]he consolidated financial statements

 include the accounts of the Company and those of its subsidiaries and any variable interest entities

 (‘VIEs’) for which the Company is the primary beneficiary.”



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        175.       The offering materials issued in connection with the March 2015 Stock Offering

 also discussed the Company’s “Other Recent Acquisitions,” but failed to mention Valeant paid

 $100 million for the option to acquire Philidor just three months prior to the March 2015 Stock

 Offering, and claimed the Company was “not currently a party to any significant transactions”

 other than its acquisition of Salix Pharmaceuticals, which was being funded by the proceeds of the

 stock offering.

        176.       The March 2015 Stock Offering materials also stated Valeant’s “inventory is held

 at retail pharmacies and other non-wholesale locations over whose buying patterns we will have

 limited influence” and the “pricing and sales volume of certain of our products (or Salix’s

 products) . . . are distributed or marketed by third parties, over which we have no or limited

 control.”

        177.       During the Company’s July 23, 2015 conference call, a Jefferies LLC analyst

 questioned whether the number of prescriptions for Jublia going through specialty pharmacy

 channels had improved. Valeant’s Company Group Chairman Ari Kellen responded:

                   Yes, the adoption through multiple specialty pharmacies continues. I think
                   last time we said Jublia was around 50%. That trend continues. For
                   derm[atology] overall, it varies by product, but it’s around 40%.

        B.         Defendants’ Representations were False or Misleading When Made, in Light
                   of Valeant’s Relationship with Philidor

        178.       The above statements were false or misleading when made because: (1) Philidor

 was formed with the assistance and for the benefit of Valeant to increase the sales prices of

 Valeant-branded pharmaceutical products and to avoid substitution of Valeant drugs with

 competing generic products; Valeant employees worked at Philidor; Valeant was Philidor’s only

 client and had the ability to shutter its business; Valeant paid Philidor’s owners $100 million for

 the right to acquire Philidor for $0; Valeant was consolidating Philidor’s results as its own, and


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 had obtained explicit rights to direct Philidor’s activities; and those facts were being concealed by

 Valeant from private payors, patients, physicians, PBMs, and investors; (2) as detailed above,

 Valeant materially increased its sales volume through Philidor as Philidor expanded its network of

 pharmacies and began selling in states where it did not have, or had been denied, a license; and (3)

 as noted above and detailed below, Valeant improperly recognized Philidor revenue, in violation

 of GAAP, causing Valeant’s revenues, net income, and EPS to be materially misstated.


 VII.   AS A RESULT OF DEFENDANTS’ MISCONDUCT, VALEANT’S FINANCIAL
        STATEMENTS WERE MATERIALLY MISSTATED AND IN VIOLATION OF
        GAAP

        179.    Throughout the Class Period Valeant’s periodic financial statements filed with the

 SEC represented that Valeant’s financial results were prepared in accordance with GAAP.

 Financial statements filed with the SEC are presumed to be misleading and inaccurate if they have

 not been prepared in conformity with GAAP. See Regulation S-X, 17 C.F.R. § 210.4-01(a)(1).

 That presumption also applies to interim financial statements filed with the SEC. See 17 C.F.R. §

 210.10-01.

        180.    Valeant has admitted that its reported revenues for the financial periods below were

 overstated by the following amounts during the Class Period:

                                                 Amount By Which Reported Revenue
                  Financial Period                       Was Overstated
          3 months ended Sept. 30, 2014                    $12.9 million
          3 months ended Dec. 31, 2014                     $44.6 million
          12 months ended Dec. 31, 2014                    $57.5 million
          3 months ended Mar. 31, 2015                     $20.8 million
          6 months ended June 30, 2015                     $20.8 million
          9 months ended Sept. 30, 2015                    $20.8 million


        181.    Valeant’s financial statements during the Class Period were materially misstated

 and violated GAAP (and certain of the Company’s critical accounting policies) in numerous ways,


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 including:    (1) by improperly recognizing Philidor revenue, in violation of GAAP; (2) by

 concealing Philidor as a VIE, in violation of GAAP as well as Financial Accounting Standards

 Board (“FASB”) Accounting Standards Codification Topic 810, Consolidation; (3) by concealing

 information regarding the impact of Philidor and price increases on its reported revenue and

 earnings, in violation of SEC disclosure rules; and (4) because Defendants’ false or misleading

 statements were quantitatively and qualitatively material, including as contemplated by SEC

 Codification of Staff Accounting Bulletins Topic 1-M, Materiality. Additionally, as detailed

 below, Defendants falsely certified that Valeant’s internal controls over financial reporting and its

 disclosure controls were effective, in violation of SOX and SEC rules, as well as the Committee

 of Sponsoring Organizations, Internal Control – Integrated Framework (“COSO Framework”).

        A.       Valeant Improperly Recognized Philidor Revenue

        182.     On March 21, 2016, Valeant confirmed that it had materially overstated Philidor

 revenue in violation of GAAP and would be restating its financial statements for fiscal year 2014

 and the first nine months of fiscal year 2015, and that, as a result, the Company’s 2014 10-K and

 its 1Q15, 2Q15, and 3Q15 10-Qs could no longer be relied on. Valeant concluded that before its

 purchase option agreement with Philidor in 4Q14, certain sales transactions involving Philidor

 were not executed in the normal course of business and collectability was not reasonably assured

 at the time the revenue was recognized. See FASB Accounting Standards Codification Topic 605,

 Revenue Recognition; SEC Staff Accounting Bulletin No. 104 (“SAB 104”).

        183.     As discussed earlier, Valeant entered into a purchase option agreement with

 Philidor on December 15, 2014. Valeant previously had recognized revenue on sales to Philidor

 when Valeant delivered products to Philidor, i.e., on a sell-in basis. After entering into the option

 agreement, however, Valeant was required to recognize revenue when Philidor distributed the

 products to the end customers (patients), i.e., on a sell-through basis.
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        184.    In 4Q14, leading up to the option agreement’s execution, Valeant improperly

 recognized revenue on sales transactions with Philidor that were not executed in Valeant’s normal

 course of business, but rather to inflate revenues. As Valeant admitted in its 2015 10-K, those

 purported sales transactions included “fulfillment of unusually large orders with extended payment

 terms and increased pricing, an emphasis on delivering product prior to the execution of the

 purchase option agreement and seeking and filling a substitute order of equivalent value for an

 unavailable product.” Valeant recorded revenue from those improper sales transactions. Further,

 after recording revenue on those fictitious sales, and after executing the option agreement, Valeant

 recognized revenue a second time as Philidor sold the same products to end customers.

        185.    With respect to the 4Q14 Philidor transactions, collectability was not reasonably

 assured at the time the revenue was originally recognized, and thus should not have been

 recognized. Valeant accordingly acknowledged in its March 21, 2016 press release that the

 Company’s financial statements for the year ended December 31, 2014 were materially misleading

 and required restatement.

        186.    The Philidor-related misstatements and disclosure violations were each

 quantitatively and qualitatively material to Valeant’s financial statements during the Class Period.

 For example, Valeant emphasized its U.S. organic sales growth and dermatology sales growth

 throughout the Class Period, of which sales to Philidor constituted a material portion. Further, the

 improperly recognized revenue from Philidor transactions enabled Valeant to meet its “Cash EPS”

 of $2.58 for 4Q14 and exceed its 4Q14 Cash EPS guidance of $2.55. Had such revenues been

 properly recognized, Valeant would have missed its guidance and reported Cash EPS of $2.51.




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        B.      Defendants Concealed the Impact of Philidor Transactions, as Well as the
                Massive Price Increases for Valeant Drugs, on the Company’s Revenues

        187.    Valeant also failed to disclose the Philidor relationship and its impact on the

 Company’s revenues, as well as Valeant’s dependency on price increases, in the Management’s

 Discussion and Analysis (“MD&A”) section of each of quarterly and annual report Valeant filed

 during the Class Period.

        188.     During the Class Period, Valeant repeatedly emphasized U.S. organic sales growth

 and sales growth in its dermatology segment, as well as the role of volume increases, as opposed

 to price increases, on its revenue growth. Further, as detailed above, the Valeant pharmacy

 network and price increases were major drivers of the Company’s purported revenue and

 profitability growth trends during the Class Period, including U.S. organic sales growth,

 dermatology, and neurology sales growth, and overall prescription volume growth. Valeant

 accordingly was required to disclose Philidor’s impact on Valeant’s revenue growth. But Valeant

 failed to disclose those facts in the MD&A sections of its SEC filings until 3Q15.

        189.    Valeant was also required to disclose the trend of increasing sales through Philidor

 because Philidor was a separate sales channel with different characteristics than Valeant’s

 traditional sales channels. SEC staff provides specific examples of required MD&A disclosures

 regarding sales channels, including “[c]hanging trends in shipments into, and sales from, a sales

 channel or separate class of customer that could be expected to have a significant effect on future

 sales or sales returns.” SAB 104, Topic 13.B. During the Class Period, Valeant disclosed

 “[p]rovisions to reduce gross product sales to net product sales” in its financial statements. The

 sales provisions as a percentage of gross sales increased significantly throughout the Class Period,

 including increases of 47%, 7%, and 28% in 2013, 2014, and 3Q15, respectively. But Defendants

 failed to disclose that those significant increases in provisions were tied to deceptive practices,


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 such as routing patients into Valeant’s secret pharmacy network and improperly using PAPs.

 Valeant failed to disclose Philidor as a distinct sales channel and, as a result, Valeant’s reported

 growth was not indicative of future performance.

        190.    As described above, Philidor also employed practices to deceive TPPs. As a result,

 Valeant’s sales, through its concealed relationship with Philidor, were unsustainable. When

 private insurers and PBMs became more aware of Philidor and its practices in late 2015, they

 immediately stopped reimbursing Philidor. As a result, Valeant closed Philidor. The significant

 financial impact that Philidor’s closing ultimately had on Valeant’s future financial results,

 including its revenues and earnings, is the type of information Valeant was required to disclose

 under the SEC’s MD&A rules, i.e., that Valeant’s results were not indicative of future results due

 to the significant negative impact Valeant would suffer were Philidor to close.

        191.    Finally, Valeant was required to disclose its price gouging, which constituted a

 major driver of the Company’s revenue and profitability growth trends, in its annual and quarterly

 reports. Indeed, at the April 27, 2016 hearing of the Senate Aging Committee, Pearson testified

 that Valeant’s 1Q13 to 3Q15 revenue growth and profitability were driven primarily by price, not

 volume. When asked if he could name a single drug that Valeant acquired where it did not raise

 the price, Pearson responded “[n]ot in the United States.” In light of those facts, Valeant was

 required to disclose its dependency on, and the impact of, price increases on its reported revenues

 and earnings, as Item 303 of SEC Regulation S-K (“Item 303”), 17 C.F.R. § 229.303, explicitly

 requires reporting issuers to report details in MD&A disclosures describing changes in volume or

 price that impact reported revenues. Moreover, in SAB 104, SEC staff makes it clear that an

 analysis of volume and price changes affecting changes in revenue are required MD&A




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 disclosures. As detailed above, Valeant’s dependency on price increases and their impact on

 Valeant’s reported revenues were concealed from investors during the Class Period.

        192.    The SEC MD&A rules require disclosure of material events that would cause

 reported financial information to not necessarily be indicative of future operating performance.

 Because of the unsustainable nature of Valeant’s deceptive practices, Valeant was required to

 disclose the practices and associated risks and that its financial performance was not indicative of

 future results. As discussed below, in October 2015 Valeant provided certain disclosures regarding

 price and volume as part of its 3Q15 earnings presentation, which were not provided earlier in the

 Class Period. Valeant’s October 19, 2015 investor presentation, for example, showed that through

 the first nine months of 2015, volume for the Company’s neurology business had declined 7%

 while net realized price had increased 30%—thus demonstrating that without price increases,

 revenues for neurology would have declined.

        193.    Valeant’s 10-Ks and 10-Qs were also materially false or misleading because they

 failed to disclose known trends, demands, commitments, events, and uncertainties that were

 reasonably likely to have a material adverse effect on the Company’s liquidity, net sales, revenues,

 and income from continuing operations, as required by Item 303.

        C.      Valeant Failed to Report Philidor as a VIE

        194.    Valeant also failed to disclose Philidor as a VIE. Under FASB Accounting

 Standards Codification Topic 810, Consolidation (“ASC 810”), a company must disclose in its

 financial statements both unconsolidated and consolidated VIEs. In its October 26, 2015 investor

 presentation, Valeant admitted it had considered Philidor a VIE before entering into the purchase

 agreement. Accordingly, pursuant to ASC 810, Valeant was required to determine if Philidor

 needed to be consolidated in its financial statements. The relevant test for determining if a VIE



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 should be consolidated is determining whether or not the company is the “primary beneficiary” of

 the VIE.

        195.    In its October 26, 2015 presentation, Valeant claimed it was not the primary

 beneficiary of Philidor until after the purchase option agreement was executed in December 2014.

 But ASC 810’s guidance nonetheless required disclosure of material unconsolidated VIEs.

 Accordingly, before the December 15, 2014 option agreement, Valeant was required to disclose

 its unconsolidated VIE relationship with Philidor because it was material. In particular, Valeant

 was required to disclose in its pre-December 2014 financial statements: (1) quantitative and

 qualitative information about its involvement with Philidor, including Philidor’s nature, size,

 purpose, activities and how it was financed; and (2) the methodology for Valeant’s purported

 conclusion that it was not the primary beneficiary of Philidor, including disclosure of key factors,

 assumptions and significant judgments used in making that determination. See ASC 810-10-50-

 5A. Instead, in violation of GAAP, Valeant stated in its 2013 10-K that “[t]here were no material

 arrangements determined to be variable interest entities.”

        196.    Further, following the execution of the purchase option agreement (when Valeant

 purportedly concluded it was the primary beneficiary of Philidor and consolidated Philidor’s

 financial results), Valeant was required under ASC 810 to disclose, in addition to the information

 discussed immediately above, which factors resulted in a change of the reporting with respect to

 the VIE (Philidor), including the impact of the change on Valeant’s consolidated financial

 statements. See ASC 810-10-50-5A. Valeant failed to disclose that information in its 2014 10-K.

        197.    Valeant also failed to make additional VIE-related disclosures necessary to comply

 with ASC 810’s principal disclosure objective of providing users of the Company’s financial

 statements with information concerning: (1) significant judgments and assumptions made in



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 determining whether Valeant needed to consolidate Philidor or disclose information about its

 involvement with Philidor; (2) the nature of, and changes in the risks associated with, Valeant’s

 involvement with Philidor; and (3) how Valeant’s involvement with Philidor affected the

 Company’s financial position, financial performance and cash flows. See ASC 810-10-50-8. But

 Valeant did not make any required disclosures related to its VIE relationship with Philidor until

 the Company’s 3Q15 10-Q.


 VIII. DEFENDANTS MISLED INVESTORS REGARDING VALEANT’S INTERNAL
       CONTROLS, LEGAL COMPLIANCE, AND THE INTEGRITY OF ITS
       REPORTED FINANCIAL RESULTS

        198.   Defendants represented throughout the Class Period that:            (1) Valeant’s

 management evaluated the effectiveness of the Company’s disclosure controls and procedures and

 concluded they were effective; (2) compliance was “very, very important” to the Company; and

 (3) as mandated by SOX, Valeant’s reported financial results were not impacted by fraud. Those

 representations were false or misleading when made, however, in light of the rampant misconduct

 at Valeant.


        A.     Defendants Made False or Misleading Statements Regarding Valeant’s
               Internal Controls.

        199.   In its 1Q13 10-Q, Valeant stated:

               Our management, with the participation of our CEO and Chief Financial
               Officer (‘CFO’), has evaluated the effectiveness of our disclosure controls
               and procedures as of March 31, 2013. Based on this evaluation, our CEO
               and CFO concluded that our disclosure controls and procedures were
               effective as of March 31, 2013.

 That assurance to investors was likewise included in Valeant’s: (1) 2Q13 10-Q; (2) 3Q13 10-Q;

 (3) 2013 10-K; (4) 1Q14 10-Q; (5) 2Q14 10-Q; (6) 3Q14 10-Q; (7) 2014 10-K; (8) 1Q15 10-Q;

 (9) 2Q15 10-Q; and (10) 3Q15 10-Q.


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        200.   Additionally, Valeant’s 2013 10-K included Management’s Conclusion, signed by

 Pearson and Schiller, “that our internal control over financial reporting was effective as of

 December 31, 2013.”

        201.   And Valeant’s 2014 10-K, signed by Pearson and Schiller, included “Reports of

 Management on Financial Statements and Internal Control over Financial Reporting,” stating:

               Financial Statements

               The Company’s management is responsible for preparing the
               accompanying consolidated financial statements in conformity with United
               States generally accepted accounting principles (“U.S. GAAP”). In
               preparing these consolidated financial statements, management selects
               appropriate accounting policies and uses its judgment and best estimates to
               report events and transactions as they occur. Management has determined
               such amounts on a reasonable basis in order to ensure that the
               consolidated financial statements are presented fairly, in all material
               respects. Financial information included throughout this Annual Report
               is prepared on a basis consistent with that of the accompanying
               consolidated financial statements.

               Internal Control Over Financial Reporting

               Under the supervision and with the participation of management, including
               the Company’s Chief Executive Officer and Chief Financial Officer, the
               Company conducted an evaluation of the effectiveness of its internal control
               over financial reporting based on the framework described in Internal
               Control — Integrated Framework (2013) issued by the Committee of
               Sponsoring Organizations of the Treadway Commission. Based on its
               evaluation under this framework, management concluded that the
               Company’s internal control over financial reporting was effective as of
               December 31, 2014.

        B.     Defendants Touted Valeant’s Commitment to Compliance

        202.   On July 29, 2013, in connection with Valeant’s acquisition of Bausch & Lomb,

 Valeant filed a Form 8-K attaching a memorandum to employees of the merging companies and a

 copy of the anticipated organizational chart of the combined entity. In the memorandum Valeant

 described its “Organizational Design and Philosophy”:

               In the end, our primary mission is to serve the patients and consumers who

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                   use our products, the physicians who prescribe / recommend them and the
                   customers who provide retail outlets for these products. Healthcare
                   companies are held by society to the highest possible ethical standard—and
                   they should be. Adhering to this extremely high ethical bar supersedes any
                   financial or other objective.

                                                   ***

                   Consistent with our decentralized operating philosophy, our corporate
                   center will be small, lean and focused on . . .

                                                   ***

                   Ensuring adequate controls to protect our shareholders and to ensure we are
                   in compliance with all regulatory requirements.

            203.   Similarly, on Valeant’s August 7, 2013 earnings call, Pearson assured investors

 there were no increased compliance risks accompanying Valeant’s non-traditional business model,

 stating:

                   In terms of compliance, compliance is obviously very, very important for
                   us. When people come back and they rate our Company on our most
                   positive attributes and our most negative attributes, and at the very top of
                   the list of the positive is ethical. So our employees really do appreciate it.
                   That’s our most important thing that—that comes before everything.

            C.     Pearson, Schiller and Rosiello Signed SOX Certifications Attesting to the
                   Truthfulness and Accuracy of Valeant’s Reported Financial Results

            204.   Beginning in Valeant’s 1Q13 10-Q and continuing in all of the Company’s other

 10Qs and 10Ks during the Class Period, Pearson (as to all of those filings), Schiller (as to filings

 before 2Q15), and Rosiello (as to the 2Q15 and 3Q15 10-Qs) each signed certifications pursuant

 to Sections 302 and 906 of SOX attesting that, among other things:

            (a)    the report did not “contain any untrue statement of a material fact or omit to state a

                   material fact necessary to make the statements made, in light of the circumstances

                   under which such statements were made, not misleading with respect to the period

                   covered by th[e] report”;



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      (b)   “[b]ased on [his] knowledge, the financial statements, and other financial

            information included in this report, fairly present in all material respects the

            financial condition, results of operations and cash flows of the Company as of and

            for, the periods presented in th[e] report”;

      (c)   Pearson, Schiller, and/or Rosiello (a) “[d]esigned . . . disclosure controls and

            procedures, or caused . . . disclosure controls and procedures to be designed under

            [their] supervision, to ensure that material information relating to the Company,

            including its consolidated subsidiaries, is made known to [them] by others within

            those entities, particularly during the period in which this report is being prepared”;

            (b) “[d]esigned such internal control over financial reporting, or caused such

            internal control over financial reporting to be designed under [their] supervision, to

            provide reasonable assurance regarding the reliability of financial reporting and the

            preparation of financial statements tor external purposes in accordance with

            [GAAP]”; (c) “[e]valuated the effectiveness of the Company’s disclosure controls

            and procedures and presented in th[e] report [their] conclusions about the

            effectiveness of the disclosure controls and procedures, as of the end of the period

            covered by th[e] report based on such evaluation”; and (d) “[d]isclosed in th[e]

            report any change in the Company’s internal control over financial reporting that

            occurred during the Company’s most recent fiscal quarter that ha[d] materially

            affected, or [wa]s reasonably likely to materially affect, the Company’s internal

            control over financial reporting”; and

      (d)   Pearson, Schiller, and/or Rosiello “[d]isclosed, based on [their] most recent

            evaluation of internal control over financial reporting, to the Company’s auditors



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               and the audit committee of the Company’s board of directors (or persons

               performing the equivalent functions):


                    (i)   All significant deficiencies and material weaknesses in the design or
                          operation of internal control over financial reporting which [we]re
                          reasonably likely to adversely affect the Company’s ability to record,
                          process, summarize and report financial information, and

                   (ii)   Any fraud, whether or not material, that involve[d] management or other
                          employees who ha[d] a significant role in the Company’s internal
                          control over financial reporting.”

        205.   Those representations were also included in Valeant’s (1) 2Q13 10-Q; (2) 3Q13 10-

 Q; (3) 2013 10-K; (4) 1Q14 10-Q; (5) 2Q14 10-Q; (6) 3Q14 10-Q; (7) 2014 10-K; (8) 1Q15 10-

 Q; (9) 2Q15 10-Q; and (10) 3Q15 10-Q.


        D.     Defendants’ Statements Were False or Misleading When Made, in Light of
               the Rampant Misconduct at Valeant

        206.   The statements recounted in above were false or misleading when made, in light of

 the rampant misconduct at Valeant. In sum:

        (a)    Valeant’s business strategy relied on a series of deceptive practices, which drove

               the Company’s growth in revenues and sales of its key dermatology, neurology,

               and other products. Those practices included massive price increases for Valeant

               drugs, which allowed the Company to meet financial targets; routing patients into

               Valeant’s secret network of captive pharmacies that were falsely made to appear

               independent; using patient assistance and public relations strategies (such as

               waiving patient copays) to minimize patient complaints; and concealing those

               practices from payors, physicians and others to obtain reimbursement for Valeant’s

               high-priced drugs.



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      (b)   Defendants’ business model relied on improper practices by Philidor, which

            Valeant used to acquire interests in additional retail pharmacies throughout the

            United States. Unbeknownst to investors: (1) Philidor was formed to increase the

            sales prices of Valeant drugs and to avoid substitution of those drugs with

            competing generic products; (2) Valeant employees worked at Philidor; (3) Valeant

            was Philidor’s only client and had the ability to shutter its business; (4) Valeant

            paid Philidor’s owners $100 million for the right to acquire Philidor for $0; (5)

            Valeant was consolidating Philidor’s results as its own, and had obtained explicit

            rights to direct Philidor’s activities; and (6) Valeant materially increased its sales

            volume through Philidor as Philidor expanded its network of pharmacies and began

            selling in states where it did not obtain, or had been denied, a license.

      (c)   Further, Philidor employees, as well as Valeant employees staffed at Philidor, were

            instructed to employ a host of deceptive practices—referred to in manuals

            distributed to employees as “back door approaches” to receiving payment from

            insurance companies—to prevent the substitution of generic equivalents for

            Valeant-branded drugs. Those “approaches” included changing prescription codes

            on claims to require that the prescriptions be filled with Valeant drugs; making

            claims for refills that were never requested by patients; misrepresenting the identity

            of dispensing pharmacies to bypass denials of claims for Valeant drugs; and

            submitting claims that inflated the prices charged by failing to take into account

            Valeant’s waivers of patient copays.

      (d)   Valeant’s reported revenues, EPS and financial forecasts to investors during the

            Class Period depended on the Company’s ability to continue to conceal its



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               deceptive practices and did not accurately portray the Company’s financial

               performance and business prospects. To that end, Valeant improperly recognized

               Philidor-related revenue, in violation of GAAP, causing Valeant’s revenues, net

               income and EPS to be materially misstated during the Class Period.

        (e)    Valeant lacked adequate internal controls, as well as compliance and training

               programs, and contrary to their representations to investors, Defendants were not

               committed to compliance with governing legal, regulatory, or contractual

               obligations.

        (f)    Valeant’s undisclosed practices significantly increased the Company’s exposure to,

               among other things, government investigations, regulatory sanctions, criminal

               charges, reputational harm, violations of contracts, decreased sales, and heightened

               public scrutiny. Valeant thus was not, as Defendants represented to investors,

               employing a “lower risk, output-focused research and development model,” but

               rather a strategy that subjected the Company to enormous risk.

        (g)    The SOX certifications referenced above falsely stated the accompanying SEC

               filings did not contain any untrue statement of material fact or omit to state a

               material fact necessary to make the statements made in those filings not misleading.

        207.   Additionally, SOX required the use of an appropriate framework in making the

 assessments to which Pearson and Schiller attested in their SOX certifications, such as the COSO

 Framework.     During the Class Period, Valeant’s financial statements represented that

 management’s evaluations were based on the COSO Framework.

        208.   According to the COSO Framework, the control environment sets the tone for the

 entire structure of internal control and has a pervasive influence on all business activity. As a



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 result, deficiencies affecting the control environment are strong indicators of a material weakness.

 Circumstances that may indicate that a company’s control environment is ineffective include

 “[i]dentification of fraud of any magnitude on the part of senior management” and “[i]neffective

 oversight of the company’s external financial reporting and [internal controls over financial

 reporting] by the company’s audit committee.” See Exchange Act Release No. 54976 (Dec. 20,

 2006). The concept of “tone at the top” has become widely accepted within the accounting

 profession to describe the attitude and actions of a company’s senior management toward internal

 financial controls and the control environment. Indeed, SEC staff has referred to the tone set by

 top management, i.e., “the corporate environment or culture within which financial reporting

 occurs,” as “the most important factor contributing to the integrity of the financial reporting

 process.” See SEC Staff Accounting Bulletin No. 99.

        209.    Control deficiencies that are determined to constitute a “material weakness” must

 be disclosed in management’s annual report on its assessment of the effectiveness of the

 company’s internal controls over financial reporting. Management may not disclose that it has

 assessed its internal financial controls as effective if there are one or more control deficiencies

 determined to be a material weakness. See Exchange Act Release No. 54976. Indicators of

 material weaknesses in a company’s internal controls over financial reporting include: (1)

 identification of fraud, whether or not material, on the part of senior management; (2) restatement

 of previously issued financial statements to reflect the correction of a material misstatement; (3)

 identification by the auditor of a material misstatement of financial statements in the current period

 in circumstances that indicate that the misstatement would not have been detected by the

 company’s internal control over financial reporting; and (4) ineffective oversight of the company’s




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 external financial reporting and internal control over financial reporting by the company’s audit

 committee. See AS 5.

        210.    The misconduct detailed in this Complaint demonstrates that Valeant’s internal

 controls during the Class Period were woefully inadequate. Indeed, Valeant has admitted that

 material weaknesses in its internal financial controls existed during the Class Period, and that its

 disclosure controls and procedures were not effective. Specifically, on March 21, 2016, the

 Company disclosed:

                As a result of the restatement, management is continuing to assess the
                Company’s disclosure controls and procedures and internal control over
                financial reporting. Management, in consultation with the committee, has
                concluded that one or more material weaknesses exist in the company’s
                internal control over financial reporting and that, as a result, internal
                control over financial reporting and disclosure controls and procedures
                were not effective as of December 31, 2014 and disclosure controls and
                procedures were not effective as of March 31, 2015 and subsequent interim
                periods in 2015 and that internal control over financial reporting and
                disclosure controls and procedures will not be effective at December 31,
                2015.

                                                ***

                [A]s part of this assessment of internal control over financial reporting, the
                company has determined that the tone at the top of the organization and the
                performance-based environment at the company, where challenging targets
                were set and achieving those targets was a key performance expectation,
                may have been contributing factors resulting in the company’s improper
                revenue recognition and the conduct described above.

        211.    Valeant’s 2015 10-K, filed with the SEC on April 29, 2016, confirms the

 Company’s ineffective financial controls, including the existence of two separate material

 weaknesses as of December 31, 2014 (i.e., the improper “tone at the top” and the failure to detect

 the Philidor accounting fraud).




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 IX.    DEFENDANTS FALSELY REASSURED INVESTORS OF THE SOUNDNESS OF
        VALEANT’S BUSINESS PRACTICES AND FINANCIAL RESULTS AMIDST
        QUESTIONS RAISED BY OTHERS

        A.      Defendants Made Numerous Reassurances in Response to Questions or
                Concerns Raised in 2014, Mostly in Connection with Valeant’s Attempted
                Acquisition of Allergan

        212.    On April 22, 2014, Valeant issued a press release stating “it ha[d] submitted a

 merger proposal to the Board of Directors of Allergan under which each Allergan share would be

 exchanged for $48.30 in cash and 0.83 shares of Valeant common stock.” In total, the unsolicited

 offer to acquire Allergan, the maker of Botox (a popular anti-wrinkle treatment), was valued at

 approximately $46 billion. The release disclosed that the proposal was made with the full support

 of investor Bill Ackman (“Ackman”) and Pershing Square, his hedge fund, which had accumulated

 9.7% of Allergan’s outstanding stock leading up to the proposed acquisition, making it Allergan’s

 largest shareholder.

        213.    On May 12, 2014, Allergan issued a press release rejecting Valeant’s unsolicited

 bid, stating its board of directors “believes that the Valeant business model is not sustainable.”

 During a conference call that day, Allergan’s Chairman and CEO referred to “the unsustainability

 of Valeant’s business model,” emphasized Valeant’s lack of organic growth, and cautioned

 investors to “very carefully” check the results “actually achieved” by Valeant’s new product

 launches and “dig in what are the price increases behind those very low [organic growth] numbers

 because there are some eye-popping increases of price.”

        214.    On May 20, 2014, Valeant issued a press release announcing it would be hosting

 an investor meeting and webcast on May 28, 2014 “to respond to assertions Allergan has made

 that the Valeant model is not sustainable.” The release continued: “Our goal for this meeting is

 to provide transparency into Valeant’s historic, current, and future operating performance and

 to refute Allergan’s allegations through a thoughtful and fact-based presentation.”

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        215.   On May 27, 2014, Allergan filed a Form 8-K attaching a slide presentation titled

 “Certain Potential Business Risks and Issues With Valeant Pharmaceuticals International, Inc.,”

 which expressed concern about “Valeant’s low organic sales growth (driven mostly by price

 increases).” It asserted that much of Valeant’s growth was attributable to “unsustainable price

 increases - not volume.” The presentation also noted Valeant’s “depleted R&D engine” and

 questioned its “roll-up” business model and “Significant Management Turnover.”

        216.   On May 28, 2014, Valeant issued a press release announcing it had substantially

 increased its merger proposal for Allergan by raising the cash consideration, bringing the total

 consideration to approximately $49 billion. Also that day, the Company hosted its previously

 announced investor meeting and conference call attended by Pearson, Schiller and Deborah Jorn,

 during which they refuted Allergan’s claims:

        (a)    Pearson said they would provide investors with “a much deeper understanding of

               our operating model and why we believe it is sustainable for many years to come”

               and show that “when we buy a platform asset, we have either maintained the growth

               or in most cases, we have accelerated the growth”;

        (b)    Jorn emphasized the launch of “additional access programs so that patients can get

               the medicines that their physician prescribes for them”;

        (c)    Jorn further represented that “in 2014 we have returned the business to growth” and

               highlighted the growth of dermatology products, including Solodyn and Acanya

               (medications used to treat acne, which were sold through Philidor):

               We have returned many of our core promoted brands to growth. We have
               new managed care capabilities, we have launched additional access
               programs so that patients can get the medicines that their physician
               prescribes for them.

                                                ***


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                So what type of growth are we talking about? It is important that we
                recognize that we have been able in 2014 to turn around our largest
                brand, Solodyn. We entered the year with 49% share, branded share of the
                dermatology space. We are now up at 51% and as you can see, our
                competitors have issues. Doryx [used to treat acne] has been declining and
                Monodox [also used to treat acne] is flat. We are very proud of this
                accomplishment.

                Further, we continue to maintain greater than 80% share of the branded
                Clindamycin/BPO market with our brand, Acanya [also used to treat
                acne]. Despite loss in some major accounts in managed care, we have been
                able to achieve this;

        (d)     Pearson concluded the presentation by claiming Valeant “has delivered strong

                organic growth since I have been here,” further stating “[w]e are very

                transparent” and “our basic underlying growth rate is about 8%”; and

        (e)     During a question-and-answer session, Pearson was asked to reconcile industry

                data showing 15% price increases with slides used during the presentation showing

                a 1% increase. Pearson claimed Valeant was “limited” to “9%” price increases in

                dermatology and denied all of Allergan’s claims, stating: “We are limited. For

                example in the US with our managed care contracts, I think the maximum price

                increase we can take a year is 9% across dermatology, across ophthalmology, etc.

                So that is what limits. It is managed care in the United States.” He continued:

                I think we showed that when we went through the 10 points that Allergan
                asserted which was based on just looking at conventional sources and it is
                just not applicable to the way we run our business. And I would argue it
                would be less and less applicable to most pharma companies because the
                role of specialty pharmacies, the role of managed care is changing the
                landscape in terms of what you can look at.

        217.    Also on May 28, 2014, Pearson participated in the Sanford C. Bernstein Strategic

 Decisions Conference on behalf of the Company, where he responded to several questions about

 price, volume, and the sufficiency of Valeant’s disclosures.

        (a)     With regard to price and volume, Pearson stated:

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               The only country in the world that you can really sustainably increase
               pricing is the United States. And in the United States, you’re governed by
               managed care contracts. And the managed care contract—the highest price
               increase we could take under any managed care contract we have in the US
               is 9% a year.

               So, we have a lot of constraints, just like other pharma companies do, in
               terms of pricing. So, we focus on volume growth, and the vast majority of
               our growth on a global basis—and we went through some of that this
               morning - is volume.

        (b)    Addressing why Valeant did not provide more detailed disclosures on product sales,

               Pearson represented, “We’re more like a generics company in terms of the amount

               of revenue we get per product,” adding “[it] just makes no sense” to make such

               disclosures; and

        (c)    Pearson was also asked if others were copying Valeant’s business model and said

               they were transparent in what they were doing but it was hard to execute, claiming:

               “[A]s Howard [Schiller] always says, it’s not a very easy model to replicate. It’s

               very simple. We tell you exactly what we’re doing. But it’s very hard. It requires

               working really, really hard, sweating the details every day.”

        218.   On June 17, 2014, Pearson and Schiller hosted a conference call “to refute recent

 misleading assertions made by Allergan”:

        219.   During his opening remarks, Pearson represented:

               I am pleased to update all of you that our business is continuing to perform
               well. I find it very odd that Allergan continues to suggest that our Q2 and
               in particular our Q3 results will demonstrate weakness. . . . In short, our
               business is strong and I can assure you our operating model is both
               durable and sustainable.

               In Allergan’s investor presentation dated June 10, 2014, they asserted that
               Valeant has experienced volume decreases in 11 of its top 15 worldwide
               pharmaceutical products.

               First, the products listed in the presentation are not Valeant’s top 15
               products by revenue. Only 6 of the products listed are in Valeant’s top 15

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                products. The presentation also claimed that most of our products are not
                growing, when in fact, 13 of our top 15 products are growing and 9 of the
                top 15 are growing by volume, not just price.

        220.    Pearson continued to respond to assertions regarding Valeant’s organic growth and

 price increases later in the call: “I think the other thing we will probably start doing again is price

 volume. People - a lot of assertions are that it’s all about price, but it’s not.” He further stated:

                So I think what we’re talking about earlier this morning is probably we will
                report what the volume and price parts of our organic growth are. And I
                suspect it will be surprising to people because I think volume is a much
                larger piece of our organic growth than most people would assume it is.

        221.    He also represented that “[o]ur sales force in dermatology now has been stable for

 a few quarters and . . . all our promoted products in dermatology are growing.”

        222.    On July 18, 2014, Valeant issued a press release announcing it had filed an investor

 presentation with the SEC that would be used in meetings with Allergan’s institutional investors

 and proxy advisors. The presentation, titled “Investor Presentation Regarding the Allergan Special

 Meeting Process,” included the following “Valeant Operating Principles”:

                       Put patients and our customers first by maintaining the highest
                        ethical standards in the industry;


                       Select high-growth business segments (therapeutic areas and
                        geographies) where the healthcare professional is still the primary
                        decision maker; [and]
                                                 ***

                       Ensure tight controls and rigorous compliance standards while
                        avoiding overspending.

        223.    On August 19, 2014, the Company filed with the SEC a “[c]larification on

 assertions made about Valeant’s business,” which purported to respond to statements made by

 Allergan in its August 5, 2014 press release and in an August 15, 2014 Financial Times article.

 Among other things, Valeant stated its “Promoted Pharmaceutical brands (i.e., Dermatology,

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 Dental) are growing from a combination of price and volume” and “[w]e have no knowledge of

 any exposures or issues other than those disclosed or for which reserves have been established.”

        224.    On September 11, 2014, Valeant filed with the SEC a letter sent by Pearson to the

 Company’s employees referencing Allergan’s “attack[s] [o]n our business” and “our business

 model and our track record of organic growth.” In the letter, Pearson stated “[h]ighlights across

 Valeant’s businesses” included “return to growth of our U.S. Prescription Dermatology business,

 including the Obagi Medical business, coupled with the early, but exciting launch successes of

 Jublia and Luzu [an antifungal medication]” and “continued tremendous growth in our U.S. Neuro

 & Other and OraPharma businesses.”

        225.    On October 20, 2014, Allergan filed with the SEC a response to Valeant’s 3Q14

 financial results, and Valeant responded by filing a document titled “October 20th rebuttal items.”

 Valeant there rebutted Allergan’s assertion that “price is a large drive[r] of growth for select

 Valeant U.S. pharmaceutical businesses,” stating:

                      Overall price/volume for the Valeant business was ~50% volume and ~50%
                       price.


                      Like all PhRMA [Pharmaceutical Research and Manufacturers of America]
                       companies, including Allergan, our managed care contracts restrict our
                       price increases each year, and many of our managed care contracts restrict
                       price increases to less than 10% net price increase per year.
                      Gross price increases could be seen as higher but do not contribute to our
                       reported net sales growth.

        B.      Defendants’ Reassurances in 2014 Were False or Misleading When Made,
                and Kept Investors in the Dark About the Fraud Pervading Valeant

        226.    The statements identified in above were false or misleading when made. In sum:

                (a)    Valeant’s business strategy, and the key growth driver of dermatology sales,

                       depended to a significant degree on the undisclosed practices of: (1)



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                  dramatic price increases that were unsustainable and far beyond industry

                  norms (including for example, increasing the price of Syprine and

                  Cuprimine by 50% on July 18, 2014); (2) routing patients into Valeant’s

                  network of controlled pharmacies that appeared independent, when in fact

                  they were not; (3) using PAP and PR practices to avoid patient scrutiny; and

                  (4) not disclosing those practices to payors and obtaining reimbursement for

                  drugs that would not otherwise be reimbursed or would not be reimbursed

                  at such rates if those practices were disclosed to private payors, patients,

                  physicians, and PBMs;

            (b)   although not disclosed to private payors, patients, physicians, PBMs, or

                  investors, Valeant employees worked at Philidor, Philidor had been formed

                  with the assistance and for the benefit of Valeant to increase the sale prices

                  of Valeant products, and Valeant was consolidating Philidor’s results as its

                  own;

            (c)   Valeant’s business risks had materially increased as a result of the

                  undisclosed practices discussed in subparagraph (a) above, which exposed

                  the Company to regulatory sanctions, investigations and associated costs,

                  reputational   harm,    contractual   violations,   decreased    sales,   and

                  nonpayment/substitution of Valeant products by PBMs, private payors and

                  physicians;

            (d)   Valeant’s purportedly high-growth businesses, including its dermatology

                  business, had grown through exorbitant price increases dependent on

                  acquiring companies and drug portfolios in which it could engage in the



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                        undisclosed practices in subparagraph (a) above, and any slowdown or

                        cessation of such acquisitions would have a material adverse effect on the

                        Company’s business, cash flows, and results of operations;

                (e)     while Valeant’s branded products were subject to competition with more

                        cost-efficient generics that were preferred by PBMs and could be

                        substituted by pharmacies, the undisclosed practices described in

                        subparagraph (a) above allowed the Company to avoid such substitution;

                (f)     Valeant’s reported revenue, EPS, and profitability, as well as its future

                        business prospects and ability to service its debt, depended on the

                        Company’s ability to continue the undisclosed practices in subparagraph (a)

                        above, and because of the undisclosed risks in subparagraph (c) above did

                        not accurately portray the Company’s financial performance and business

                        prospects;

                (g)     Valeant lacked adequate internal controls, as well as compliance and

                        training programs, to ensure that its SEC filings and other public disclosures

                        were not false or misleading when made;

                (h)     Valeant improperly recognized Philidor revenue, in violation of GAAP,

                        causing Valeant’s revenues, net income, and GAAP EPS to be materially

                        misstated; and

                (i)     in violation of GAAP, Valeant failed to disclose Philidor as a VIE.

        227.    Defendants’ false or misleading reassurances had the intended effect of continuing

 to conceal from investors the true state of Valeant’s business operations and financial results, and




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 thus kept the prices of call options on Valeant common stock artificially inflated and the prices of

 put options on Valeant common stock artificially deflated.


        C.      Defendants Continued to Reassure Investors in Response to Questions or
                Concerns Raised in 2015, Even After Valeant Was Forced to Disclose Certain
                Previously Concealed Facts Regarding Philidor

        228.    On September 28, 2015 Valeant filed a Form 8-K attaching a letter from Pearson

 to the Company’s employees responding to claims that its “business model and strategy is

 dependent upon large price increases in our U.S. pharmaceutical business” and “[c]oncern around

 our exposure to U.S. government drug price reimbursement.” In his letter:

        (a)     Pearson referred to those concerns as a “bear thesis,” claimed they were “incorrect

                on both accounts,” and dismissed the dependency on price increases, stating

                “Valeant is well-positioned for strong organic growth, even assuming little to no

                price increases”;

        (b)     He added, “[a]s we have stated many times, Valeant’s core operating principles

                include a focus on volume growth and a concentration on private and cash pay

                markets that avoid government reimbursement in the U.S.,” and “the majority of

                our portfolio will continue to deliver strong volume-based organic growth and is

                not dependent on price increases”;

        (c)     Pearson went on to “lay out the facts,” noting in part that (i) growth in dermatology,

                ophthalmology, Rx and dentistry was based on having “delivered over 30% script

                growth year to date,” and (ii) Valeant expected “double-digit script growth and

                corresponding revenue growth trends to continue” in the “Salix business”; and

        (d)     He added, “we expect double-digit organic growth in 2016 and beyond as we

                prepare for the launch of Addyi and anticipate other potential product approvals.”


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        229.      On October 14, 2015, Valeant issued a press release noting it received subpoenas

 from the DOJ for documents regarding its patient assistance and distribution practices. The release

 quoted Pearson as stating “[a]ll of us at Valeant firmly believe in maintaining strong regulatory

 and financial controls and believe we have operated our business in a fully compliant manner.”

        230.      On October 19, 2015, Valeant issued a press release announcing its 3Q15 financial

 results. The release stated: “Same store sales organic growth of 13%; 5th consecutive quarter of

 > 10% organic growth, driven by: Continued outperformance of U.S. businesses, particularly

 dermatology and contact lens . . . .”

        (a)       As discussed in below, by that time Valeant’s ties to Philidor were beginning to be

                  uncovered by investigative journalists, which forced Valeant to publicly disclose

                  the relationship. To offset the negative impact on the price of Valeant securities,

                  the Company raised revenue and EPS guidance for 4Q15 and full year 2015,

                  stating:

                  4Q15 Guidance

                 Total Revenue increased to $3.25 - $3.45 billion [midpoint of $3.35 billion]
                  from $3.2 - $3.4 billion [midpoint of $3.3 billion]

                 Cash EPS increased to $4.00 - $4.2 0 [midpoint of $4.10] from $3.98 - $4.18
                  [midpoint of $4.08]

                  Full Year 2015 Guidance

                 Total Revenue increased to $11.0 - $11.2 billion [midpoint of $11.1 billion]
                  from $10.7 - $11.1 billion [midpoint of $10.9 billion]

                                                     ***

                 Cash EPS increased to $11.67 - $11.87 [midpoint of $11.77] from $11.50 -
                  $11.80 [midpoint of $11.65]; and




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         (b)      The press release quoted Pearson as stating, “With our strong product portfolio and

                  growth prospects, we feel very confident in our future outlook and we are

                  reaffirming our $7.5 billion EBITDA floor for 2016.”

         231.     That same day, Pearson, Rosiello, and Kellen hosted a conference call. In an

  accompanying slide presentation, Valeant included a list of anticipated “Questions from

  Investors.” One of the “anticipated” questions was “How does Valeant work with specialty

  pharmacies and what is Valeant’s relationship with Philidor,” to which Valeant responded in the

  presentation:

              We have viewed our relationship with Philidor and our other specialty
               pharmacies as proprietary and as one of our competitive advantages;

              Similar to many pharmaceutical companies in the U.S., an increasing
               percentage of our revenue is coming from products dispensed through
               multiple specialty pharmacies;

              We find specialty pharmacies improve patients’ access to medicines at an
               affordable price and help ensure physicians are able to prescribe the
               medications they believe most appropriate for their patients;

                                                   ***

              We understand that Philidor:

              Provides services under our programs for commercially insured and cash-
               paying claims only. Any claim that would be reimbursed in whole or in part by
               government insurance is not eligible for our co-pay subsidy programs;

              Does not restrict prescriptions it fills to any particular manufacturers (including
               Valeant); and

              Dispenses generic products as specified in patient’s prescription or as requested
               by patient.

         232.     During the call, Pearson repeated some of the same claims:

                  The topic of specialty pharmacies has not been a focus of ours on past calls
                  because we believe this was a competitive advantage that we did not want
                  to disclose to our competitors. But given all the incorrect assertions by
                  some, we will provide an update to this call.

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                 Similar to many pharmaceutical companies in the US, an increasing
                 percentage of our revenue is coming from products dispensed through
                 multiple specialty pharmacies. We find specialty pharmacies improve
                 patients’ access to medicines at an affordable price, and help ensure
                 physicians are able to prescribe the medications they believe most
                 appropriate for their patients. In almost all cases, our inventory with
                 specialty pharmacies in this channel and the title to our medicine only
                 transfers to the pharmacy when the actual prescription is filled.

         233.    Pearson also claimed that “[s]ince we do not recognize the revenue of our products

  [sold through Philidor] until the prescriptions are filled, this consolidation has the impact of

  delaying revenue recognition as compared to products that are sold through traditional distribution

  channels.”

         234.    In reference to media and government scrutiny of Valeant’s pricing practices,

  Pearson represented:

                 [I]t’s clear that the pharmaceutical industry is being aggressively attacked
                 for past pricing actions. And that’s not just Valeant, but I think it’s all
                 companies. I do think given that environment, the pricing that
                 pharmaceutical companies will take in the future will be more modest, and
                 we built that into our forecast for next year.

         235.    Regarding the lawsuit filed by R&O Pharmacy, Pearson reassured investors that

  the business practices of Valeant and Philidor were proper:

                 R&O is one of the specialty pharmacies in our network, and Valeant has
                 shipped approximately $69 million at wholesale prices to them. This
                 represents approximately $25 million at net prices. Any products R&O
                 dispensed to patients were recognized as our revenues, and are reflected in
                 our receivables. Any products still held by R&O are reflected in our
                 inventory. R&O is currently improperly holding significant amounts it
                 receives from payers. We will refrain from comment on active litigation,
                 and look forward to showing in court that we are owed the money.

         236.    Also during the conference call, Rosiello repeated the increased guidance from that

  day’s press release, adding “[w]e expect our gross margins to approach 80% in the fourth quarter,

  driven by continued growth in our dermatology and Salix businesses, the launch of Addyi, and



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  decreased sales of Xenazine.” His statements were accompanied by the following chart in the

  slide presentation:

                           Previous                             Previous Full      New Full Year
                           Q4 2015          New Q4 2015             Year                2015
   Revenues              $3.2 - $3.4B       $3.25 - $3.45B     $10.7 - $11.1B      $11.0 - $11.2B
                         $3.98 - $4.18       $4.00 - $4.20     $11.50 - $11.80     $11.67 - $11.87
   Cash
                           per share           per share          per share           per share
   Adj. Cash Flow
                              N/A                N/A                >$3.2B             >$3.35B
   from Operations

          237.   To further alleviate any investor concerns, the Company also stated in the slide

  presentation that it was “reaffirming our expectations to exceed $7.5 [billion] in EBITDA in 2016.”

  When Pearson was asked during the conference call how the lack of price increases going forward

  might affect the Company’s ability to meet EBITDA guidance in 2016, he responded, in part,

  “today . . . we feel very comfortable with the $7.5 billion and we expect our guidance next year

  will exceed that.”

          238.   On October 21, 2015, Valeant issued a press release responding “to recent

  accusations made regarding its financial reporting and operations” by online investment newsletter

  Citron Research that Valeant was inflating revenues through its secret network of pharmacies. The

  release represented, in part:

             All shipments to Philidor and other pharmacies in the Philidor pharmacy network,
              including R&O, are not recorded in Valeant’s consolidated net revenue. Sales are
              recorded only when the product is dispensed to the patient. All sales to Philidor and
              Philidor network pharmacies are accounted for as intercompany sales and are
              eliminated in consolidation. They are not included in the consolidated financial
              results that Valeant reports externally.

             Any inventory at pharmacies in the Philidor pharmacy network are included in
              Valeant’s consolidated inventory balances – there is no sales benefit from any
              inventory held at these specialty pharmacies and inventory held at the Philidor
              network pharmacies is reflected in Valeant’s reported inventory levels.

                                                ***



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            The timing of our revenue recognition by selling through the Philidor pharmacy
             network is actually delayed when compared to selling through the traditional
             wholesaler channel.

         239.   Additionally, Valeant’s 3Q15 10-Q filed on October 26, 2015 disclosed that the

  Company had the “power to direct Philidor’s activities” and stated Valeant’s entire Board had

  reviewed Valeant’s accounting for Philidor and confirmed its appropriateness: “During the year

  ended December 31, 2014, the Company completed other smaller acquisitions, including the

  consolidation of variable interest entities, which were not material individually or in the

  aggregate.” Valeant further stated:

                On October 26, 2015, the Company also announced that its Audit and
                Risk Committee and the full Board of Directors have reviewed the
                Company’s accounting for its Philidor arrangement and have confirmed
                the appropriateness of the Company’s related revenue recognition and
                accounting treatment.

                As is customary in the pharmaceutical industry, our gross product sales are
                subject to a variety of deductions in arriving at reported net product sales.
                Provisions for these deductions are recorded concurrently with the
                recognition of gross product sales revenue and include cash discounts and
                allowances, chargebacks, and distribution fees, which are paid to direct
                customers, as well as rebates and returns, which can be paid to both direct
                and indirect customers. . . . Gross product sales for products dispensed
                through Philidor Rx Services, LLC (“Philidor”) pharmacy network (which
                is consolidated as a variable interest entity within our consolidated financial
                statements) are recognized when a prescription is dispensed to a patient. Net
                sales recognized through the Philidor pharmacy network represents 7% and
                6% of our total consolidated net revenue for the three months and nine
                months ended September 30, 2015, respectively.

  The Company also touted its financial performance:

                Excluding the items described above, we realized incremental product sales
                revenue from the remainder of the existing business of $236 million and
                $820 million in the third quarter and first nine months of 2015, respectively.
                The growth, which incorporates sales directly to wholesalers and retailers
                as well as use of specialty pharmacies (primarily Philidor), reflected (1)
                higher sales of (i) Jublia® (launched in mid-2014), (ii) the Retin-A®
                franchise (including the launch of RAM 0.08% in mid-2014), (iii)
                Xenazine®, (iv) Arestin®, (v) Solodyn®, and (vi) the Carac® franchise,
                and (2) higher sales from other recent product launches, including the

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                 launches of Biotrue® ONEday, Bausch + Lomb Ultra®, and Onexton®.

  Additionally, Valeant discussed its purportedly “lower risk” business model:

                 The growth of our business is further augmented through our lower risk,
                 output-focused research and development model, which allows us to
                 advance certain development programs to drive future commercial growth,
                 while minimizing our research and development expense.

         240.    On October 26, 2015, Valeant issued a press release designed to alleviate any

  investor concerns, in which the Company:

         (a)     repeated that its “Audit and Risk Committee and the full Board of Directors have

                 reviewed the company’s accounting for its Philidor arrangement and have

                 confirmed the appropriateness of the company’s related revenue recognition and

                 accounting treatment”;

         (b)     quoted Pearson as stating “[a]s we have said previously, our accounting with

                 respect to the Company’s Philidor arrangements is fully compliant with the law,”

                 and “[w]e operate our business based on the highest standard of ethics, and we are

                 committed to transparency”; and

         (c)     quoted director Robert Ingram as stating that the Board “has fully supported the

                 company’s specialty pharmacy strategy,” and that Pearson “operates with the

                 highest degree of ethics.’’

         241.    Also on October 26, 2015, Valeant hosted a conference call with investors, which

  was accompanied by a presentation. Pearson, Schiller, Rosiello, Kellen, Ingram, and Controller

  Tanya Carro, as well as directors Norma Provencio, Theo Melas-Kyriazi, and Katharine Berghuis

  Stevenson, participated in the call on behalf of the Company. Valeant disclosed in the presentation

  that “[o]ur specialty pharmacy strategy originated from the Medicis Alternate Fulfillment

  Program,” and further stated:


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         (a)     “Prescriptions through Philidor are less profitable than traditional channels due to

                 lower copay rates, lower cash pay rates and more cash pay scripts in Philidor than

                 in retail and other channels”;

         (b)     “We do not own or control Philidor . . .” and “Philidor employees do not report

                 to Valeant”;

         (c)     “Philidor is independent”; and

         (d)     “Unless and until Valeant exercises the option to acquire Philidor, Philidor remains

                 independent and Valeant has no rights to remove CEO or management.”

         242.    Pearson also assured investors there was no improper accounting or other improper

  practices involving Philidor, stating:

         (a)     “we stand by our accounting treatment of Philidor completely”;

         (b)     “[w]e follow the law and we comply with accounting and disclosure rules’’;

         (c)     “[T]he sensational claims made by the short seller Andrew Left, through his entity

                 Citron, are completely untrue. His motivation is the same as someone who runs into

                 a crowded theater to falsely yell fire. He wanted people to run”;

         (d)     “after we saw the false report from Citron, we promptly coordinated with our

                 outside regulatory counsel from Cahill [i.e., Cahill Gordon & Reindel LLP] to make

                 a request that the SEC investigate Mr. Left and Citron”;

         (e)     “We still believe that the strategy of working with specialty pharmacies is sound

                 and it’s good for patients and physicians. There have been no issues with regards

                 to the accounting or revenue recognition of the business.’’; and

         (f)     “We have been working with outside counsel and we have found no evidence of

                 illegal activity whatsoever at Philidor.”



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         243.    Ingram, speaking on behalf of the entire Board, reaffirmed those representations:

                 As Mike [Pearson] stated, the Company stands by its accounting
                 completely. The audit committee of the Board and the full Board have
                 reviewed the Company’s accounting, the Philidor relationship, and have
                 confirmed the appropriateness of the Company’s revenue recognition and
                 accounting treatment.

         244.    Rosiello echoed Pearson’s and Ingram’s representations, stating:

         (a)     “Valeant consolidates financials with Philidor and the Philidor network,

                 ensuring that revenue recognition and financial statement presentation is

                 appropriate”;

         (b)     “Valeant recognizes revenue only when products are dispensed to patients, and

                 Valeant records this at net realized price”;

         (c)     “There is simply no way to stuff the channel of consolidated variable interest

                 entities, or VIEs, since all inventory remains on Valeant’s consolidated balance

                 sheet until dispensed to patients”; and

         (d)     “Philidor was considered a VIE prior to the purchase option agreement, but since

                 Valeant was not determined to be the primary beneficiary, consolidation was not

                 appropriate. A purchase option agreement for Philidor was executed in December

                 2014. The finance and transactions committee, audit and risk committee, and full

                 Board, all reviewed the transaction. The appropriate accounting treatment was

                 determined by management and reviewed with the Audit and Risk Committee.”

         245.    Carro also defended Valeant’s accounting and lack of prior disclosure regarding

  Philidor, representing that:

         (a)     as of year-end 2014, “Philidor is not considered to be material to Valeant’s

                 business for reporting purposes” at the end of 2014 because the “GAAP



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                   requirement for disclosing sales to large customers is 10% of revenue” and in

                   December 2014 Philidor’s year-to-date net sales were $111 million; and

         (b)       for the first two quarters of 2015 “Philidor was not specifically mentioned in our

                   disclosures because it had not been material to the consolidated financial

                   statements,” as “[i]t represented 1% or less of total assets and 7% or less of

                   consolidated net revenues since the fourth quarter of 2014.”

         246.      Additionally, Schiller reassured investors that there was no evidence of wrongdoing

  by Pearson:

                   [I]f I had any concerns whatsoever about Valeant or Mike, I would not have
                   stayed on the Board. It’s as simple as that. When we announced that I was
                   leaving, and Mike and I had a bit of our lovefest, I don’t want to repeat all
                   the words but I meant them in terms of Mike is professional, his ethics, his
                   work ethic, his commitment to doing the right thing.

         247.      To mitigate the impact of the negative news disclosed on that call, Pearson

  reaffirmed Valeant’s recently increased 2015 guidance, stating: “Given the continued healthy

  growth in dermatology, Salix, eye health, and the recent Addyi launch, we expect to meet or exceed

  our fourth-quarter projections, excluding the one-time expenses associated with recent events.”

  He added, “we continue to be very comfortable with our 2016 EBITDA expectation of greater than

  $7.5 billion.”

         248.      On November 10, 2015, before the market opened, Pearson, Rosiello, Carro, and

  Kellen hosted a conference call with investors to “update [the market] on our strategy with respect

  to specialty pharmacies, to explain our transition plans for Philidor, to discuss our business

  performance for the first half of the quarter, and perhaps most importantly to take questions from

  all of you.” Pearson stated:

                   We began working with Philidor because we believed a strong relationship
                   with one specialty pharmacy would deliver better, faster customer service
                   for doctors and patients. We were also looking for a pharmacy which would
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                 be willing to process prescriptions before adjudicating the claims, which
                 would allow us rather than the patient, to assume the risk if the commercial
                 payer denied the claim.


         249.    An analyst noted during the call that there were “two kind[s] of major accusations

  aimed at the Company,” one regarding pricing and the other regarding Philidor, and observed that

  Valeant “decided to limit your pricing going forward” and “cut operations with Philidor.” With

  regard to Philidor, Pearson responded, in part:

                 Well Philidor was very specific. First, there was the Citron report which
                 claimed financial fraud and other things. They quickly came out and there
                 was no financial fraud, in terms of Valeant had to do. But then other
                 allegations were made in terms of the practices of Philidor. And we felt,
                 both management and the Board felt that given these allegations, given what
                 was happening to our stock price and given what many of our major
                 shareholders were asking us to do that the best thing to do was to sever.

         250.    On December 16, 2015, Valeant issued a press release formally withdrawing the

  inflated guidance it had issued less than two months earlier, on October 19, 2015. Attempting to

  offset the disappointing revised 2015 guidance and notwithstanding the financial impact of its lost

  sales through Philidor and increased scrutiny by PBMs and private payors, in the release Valeant

  projected robust 2016 growth with revenue of $12.5 billion-$12.7 billion, cash EPS of $13.25-

  $13.75, and EBITDA of $6.9 billion-$7.1 billion.

         251.    The same day, Valeant hosted an “Investor Day” presentation. Pearson, Rosiello,

  Jorn, and Kellen participated on behalf of the Company. During the call:

         (a)     Pearson touted Valeant’s “very strong controls, in the areas of finance, compliance,

                 audit, pharmacovigilance”;

         (b)     He further stated “we’re continuing to grow, grow, grow, generate cash flow”;




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         (c)     Pearson added: “Addyi . . . a lot of people have said, Addyi is a disaster; today

                 you’ll see it’s not a disaster. So we believe we’ll sell between $100 million and

                 $150 million in sales of Addyi next year.”


         (d)     Rosiello repeated Defendants’ 2016 guidance;

         (e)     Pearson stated: “I feel very comfortable with the guidance. But each little pieces

                 [sic], I feel little less comfortable this year just given - so we put an extra dose of

                 conservatism in.”

         252.    Also during that call, Defendants referred to an accompanying presentation titled

  “Valeant: An Enduring Engine for Growth,” which represented, among other things, that the

  “[d]rivers of Valeant’s success” included “[o]ur relentless focus on providing easy and affordable

  access for physicians and patients”; “[o]ur innovative strategies (often disruptive), which have

  challenged industry convention”; and “[o]ur decentralized model and talented people, which give

  us a competitive edge (speed of decision making and in-depth customer knowledge).”


         D.      Defendants’ Reassurances in 2015 Were False or Misleading When Made,
                 Notwithstanding Their Partial Disclosure of Previously Concealed Facts
                 Regarding Philidor

         253.    Despite disclosing some previously concealed information about Philidor,

  Defendants’ representations identified above were false or misleading when made because they

  failed to disclose numerous material facts regarding Valeant’s actual business practices and

  financial results, as detailed above. In sum:

         (a)     Valeant’s business strategy, and the key growth driver of dermatology sales,

                 depended to a significant degree on the undisclosed practices of (1) dramatic price

                 increases that were unsustainable and far beyond industry norms (including for

                 example, increasing the price of Syprine and Cuprimine by 50% on July 18, 2014);

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              (2) routing patients into Valeant’s network of controlled pharmacies that appeared

              independent, when in fact they were not; (3) using PAP and PR practices to avoid

              patient scrutiny; and (4) not disclosing those practices to payors and obtaining

              reimbursement for drugs that would not otherwise be reimbursed or would not be

              reimbursed at such rates if those practices were disclosed to private payors, patients,

              physicians, and PBMs;

        (b)   Notwithstanding Valeant’s partial disclosures regarding Philidor, Defendants

              falsely stated Philidor was independent of Valeant, when in fact, among other

              things, Valeant employees worked at Philidor and Philidor had been formed with

              the assistance and for the benefit of Valeant to increase the sale prices of Valeant

              products—not, as Pearson represented during the Company’s November 10, 2015

              conference call, to “deliver better, faster customer service for doctors and patients”

              or “to process prescriptions before adjudicating the claims, which would allow us

              rather than the patient, to assume the risk if the commercial payer denied the claim”;

        (c)   Valeant’s business risks had materially increased as a result of the undisclosed

              practices discussed in subparagraph (a) above, which exposed the Company to

              regulatory sanctions, investigations and associated costs, reputational harm,

              contractual violations, decreased sales, and nonpayment/substitution of Valeant

              products by PBMs, private payors, and physicians;

        (d)   Valeant’s purportedly high-growth businesses, including its dermatology business,

              had grown through exorbitant price increases dependent on acquiring companies

              and drug portfolios in which it could engage in the undisclosed practices in

              subparagraph (a) above, and any slowdown or cessation of such acquisitions would



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                   have a material adverse effect on the Company’s business, cash flows, and results

                   of operations;

           (e)     while Valeant’s branded products were subject to competition with more cost-

                   efficient generics that were preferred by PBMs and could be substituted by

                   pharmacies, the undisclosed practices described in subparagraph (a) above allowed

                   the Company to avoid such substitution;

           (f)     Valeant’s reported revenue, EPS, and profitability, as well as its future business

                   prospects and ability to service its debt, depended on the Company’s ability to

                   continue the undisclosed practices in subparagraph (a) above, and because of the

                   undisclosed risks in subparagraph (c) above did not accurately portray the

                   Company’s financial performance and business prospects;

           (g)     Valeant lacked adequate internal controls, as well as compliance and training

                   programs, to ensure that its SEC filings and other public disclosures were not false

                   or misleading when made; and

           (h)     Valeant improperly recognized Philidor revenue, in violation of GAAP, causing

                   Valeant’s reported revenues, net income, and GAAP EPS to be materially

                   misstated.

           254.    Defendants’ false or misleading reassurances had the intended effect of continuing

  to conceal from investors the true state of Valeant’s business operations and financial results, and

  thus kept the prices of call options on Valeant common stock artificially inflated and the prices of

  put options on Valeant common stock artificially deflated through the remainder of the Class

  Period.3



  3
      The “safe harbor” afforded by the Private Securities Litigation Reform Act of 1995 to forward-
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  X.     THE TRUTH REGARDING DEFENDANTS’ MISSTATEMENTS AND
         OMISSIONS WAS REVEALED TO INVESTORS THROUGH A SERIES OF
         PARTIAL DISCLOSURES

         255.    Defendants’ misstatements and omissions caused the prices of Valeant call options

  to be artificially inflated and Valeant put options to be artificially deflated throughout the Class

  Period. Consequently, the Class did not have the information required to be disclosed under the

  Exchange Act and therefore engaged in transactions in the subject Valeant derivatives at unfair

  prices. Through a series of partial disclosures commencing in September 2015 and ending in

  August of 2016, the truth emerged regarding Valeant’s business operations, financial condition,

  and prospects. As the truth was revealed to the market, artificial inflation was removed from the

  prices of Valeant call options, and artificial deflation was removed from the prices of Valeant put

  options. Consequently, Plaintiff and other derivatives investors suffered damages on from Class

  Period purchases of call options and sales of put options on Valeant common stock.

         A.      Disclosures in September and October 2015

         256.    On September 28, 2015, Bloomberg reported that all Democratic members of the

  House Oversight Committee had sent a letter to Chairman Jason Chaffetz urging him to subpoena

  Valeant. In the letter, those Congressmen stated:

                 [I]n February, Valeant purchased the rights to sell Nitropress, which is used
                 to treat congestive heart failure and hypertensive episodes, and Isuprel,
                 which is used to treat heart block and abnormal heart rhythm. The same day,

  looking statements under certain circumstances does not apply to any of the false or misleading
  statements identified in this Complaint, because: (i) they were historical statements or statements
  of current facts and conditions at the time the statements were made; and (ii) to the extent any of
  those statements can be construed as forward-looking, they were not accompanied by any
  meaningful cautionary language identifying important facts that could cause actual results to differ
  materially from those in the statements. Alternatively, to the extent the statutory safe harbor
  otherwise would apply to any forward-looking statements pleaded in this Complaint, Defendants
  are nonetheless liable for those statements because at the time each of those statements was made,
  the speaker(s) knew the statement was false or misleading, or the statement was authorized or
  approved by an executive officer of Valeant who knew the statement was false or misleading when
  made.
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                 Valeant increased the prices of these drugs to $805.61 and $1,346.62,
                 respectively (increases of 212% and 525%). When asked about its price
                 increases, a Valeant spokeswoman responded: “Our duty is to our
                 shareholders and to maximize the value” of the drugs.

         257.    The September 28, 2015 letter also revealed that on July 31, 2015, staff members

  from the House Oversight Committee participated in a call in which Valeant representatives “failed

  to adequately answer our questions about the basis for their skyrocketing prices.” The letter also

  revealed that on August 12, 2015, “Ranking Member [Elijah] Cummings sent [a] document request

  to Valeant” and on September 3, 2015, “Valeant rejected Ranking Member Cummings’ request in

  a dismissive two-page letter that refused to provide any of the requested documents.”

         258.    Also on September 28, 2015, The Washington Post disclosed that Senator Claire

  McCaskill “sent a detailed list of 22 questions to [Valeant], probing its simple explanation that it

  increased two heart drug prices because they were ‘significantly underpriced.’” Citron Research

  published a report the same day revealing that Valeant had more than doubled the price of 30 other

  drugs during the Class Period, stating:         “Martin Shkreli [founder and CEO of Turing

  Pharmaceuticals] was created by the system. Shkreli is merely a rogue trying to play the gambit

  that Valeant has perfected.” The report also highlighted that “Valeant has made little to no effort

  to improve these products.”

         259.    On September 28 and 29, 2015, media outlets reported that Valeant was “in [the]

  crosshairs of [the] U.S. Congress” for its practice of “engag[ing] in a business strategy of buying

  old neglected drugs and turning them into high-price specialty drugs,” and noted Valeant was using

  the same business model as Turing. (Shkreli resigned from Turing three months later following

  his indictment by federal authorities on securities fraud charges.)

         260.    In response to those developments, Valeant issued a press release on September 28,

  2015 announcing it had distributed a letter to its employees in which Pearson attempted to address


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  concerns that Valeant’s “business model and strategy is dependent upon large price increases in

  our U.S. pharmaceutical business” and “[c]oncern around our exposure to U.S. government drug

  price reimbursement.”

          261.     In response to the partial disclosures on September 28 and 29, 2015, the price of

  Valeant stock dropped more than 16%, from a close of $199.47 per share on Friday, September

  25, 2015, to a closing price of $166.50 per share on Monday, September 28, 2015, on unusually

  high trading volume. The price of Valeant stock continued falling the following day, dropping an

  additional 5% to close at $158.08 per share on September 29, 2015, also on unusually high trading

  volume. The total stock price decline over that two-day period was over 20%, or approximately

  $41 per share.

          262.     The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          263.     On October 4, 2015, The New York Times questioned Pearson’s September 28, 2015

  letter to Valeant employees. The Times article called into doubt, among other things, Pearson’s

  claim that Valeant was well-positioned for growth even without price increases. The article noted

  that extraordinary price increases on eight Valeant drugs accounted for approximately 7% of the

  Company’s revenue and 13% of its earnings before taxes and interest in the second quarter, and

  provided insight into Valeant’s dependency on price gouging compared to the rest of the

  pharmaceutical industry, citing a Deutsche Bank finding that in 2015, “Valeant raised prices on its

  brand-name drugs an average of 66 percent . . . about five times as much as its closest industry

  peers.” The article cited Mephyton, a drug that helps blood clot, as an example of price gouging,



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  noting the drug had seen eight price increases since July 2014, costing $58.76 a tablet, up from

  $9.37. The article cited additional examples, such as Glumetza, a diabetes pill acquired from Salix,

  whose price was increased over 800% during the year, with a month’s supply rising from

  approximately $500 to $4,600.

          264.    On that news, the price of Valeant stock declined by more than 10%, falling from

  a close of $182.32 per share on Friday, October 2, 2015 to a close of $163.46 per share on Monday,

  October 5, 2015, on unusually high trading volume.

          265.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          266.    On October 14, 2015, Valeant issued a press release disclosing that the Company

  had recently received subpoenas from prosecutors in the U.S. Attorneys’ Offices for the District

  of Massachusetts and the Southern District of New York. The subpoenas did not only relate to

  Valeant’s drug pricing practices, but also sought information about the Company’s PAPs and

  distribution practices. Following disclosure of the subpoenas, Pearson assured investors that the

  Company believed in “maintaining strong regulatory and financial controls” and “believe[d] we

  have operated our business in a fully compliant manner.” Valeant further stated it “responded to

  a letter from Senator Claire McCaskill” regarding the pricing of Nitropress and Isuprel and the

  “reimbursement process for hospital procedures involving Nitropress and Isuprel, the analysis and

  reasons underlying Valeant’s pricing decisions.” The Company noted it was “beginning outreach

  to hospitals where the impact of a price change was significantly greater than average.”




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          267.    On October 15, 2015, news outlets reported that Senator McCaskill condemned

  Valeant’s response to her letter, stating: “It appears obvious to me that Valeant has been anything

  but responsive or transparent—it refused to take any action until served with federal subpoenas,

  and is still refusing to provide answers to many of the questions I’ve asked.”

          268.    In response to the partial disclosures on October 14 and 15, 2015, the price of

  Valeant stock dropped by 4.75%, from a close of $177.29 per share on October 14, 2015, to a close

  of $168.87 per share on October 15, 2015, on elevated trading volume.

          269.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          270.    On October 19, 2015, Valeant’s control over a secret network of pharmacies began

  to come to light. Early that morning, Bill Ackman sent an email to Laurie Little, Valeant’s Senior

  Vice President, Investor Relations, and Pearson regarding a Southern Investigating Reporting

  Foundation report on Valeant describing the connection between Valeant and Philidor. Little

  responded, “We knew it was coming and will address on today’s call.”

          271.    The same day, as discussed above, Valeant issued a press release announcing its

  3Q15 financial results and hosted a conference call. Pearson, Rosiello, and Kellen hosted the call

  using a prepared slide presentation. Pearson said he wanted to address “the turmoil over the past

  few weeks from both governmental and media scrutiny.” The Company made limited disclosures,

  such as confirming its relationship with Philidor, the option to acquire Philidor, and that it had

  been consolidating Philidor’s financial results with its own. Valeant also effectively conceded that

  its business strategy was neither sustainable nor less risky by disclosing it would rely less on



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  acquisitions and more on R&D. Pearson added that Valeant would be “making pricing a smaller

  part of our growth looking forward” and “will pursue fewer, if any, transactions that are focused

  on mispriced products.”

         272.    Valeant further disclosed that it nearly doubled its R&D spending of $56 million in

  1Q15 to $102 million in 3Q15 and that “internal R&D will become more of a focus,” signaling the

  unsustainable nature of its business strategy and its illusory lower costs and higher profits.

         273.    Pearson also disclosed that price accounted for approximately 60% of Valeant’s

  growth in 2014 and 2015. Valeant stated in the accompanying slide presentation that 85 of the

  Company’s 156 U.S.-branded Pharma products had an average price increase of 36%. With respect

  to the “Neuro and Other” portfolio, Valeant further disclosed that the year-to-date volume had

  declined by 7% but the net realized price had increased by 30%. Pearson repeated during the call

  that the Company was “seriously considering spinning off or selling” the “Neuro and Other

  portfolio, which is dependent on price,” and that “internal R&D will become more of a focus.”

         274.    Pearson refused to discuss the subpoenas Valeant had received from federal

  prosecutors, stating “[w]e will not be answering questions.” Regarding the government inquiries

  on price gouging, he stated:

                 As you all know, Valeant has responded to Senator McCaskill, and
                 addressed her questions regarding Nitropress and Isuprel. In a letter to her
                 last Wednesday, we discussed . . . the analysis and reasons underlying
                 Valeant’s pricing decision, and Valeant’s programs designed to improve
                 patient access, among other topics. We also noted that we are beginning an
                 outreach to hospitals where the impact of a price change was significantly
                 greater than average.

         275.    When asked what percentage of U.S.-branded prescription business flowed through

  “alternative fulfillment” and “how much of that is Philidor,” Pearson stated:

                 It’s really primarily our dermatology brands and then some of our specialty
                 products like Ruconest, Arestin, and some of the other orphan drugs. For
                 certain products it’s quite large. For Jublia it’s probably 15%. For a lot of
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                  other dermatologies it’s much less. I’m sorry, I can’t - it’s significant but
                  it’s - I don’t know the precise number but it’s certainly, of our US portfolio,
                  10%, 20%, maybe. Tanya [Carro]’s nodding probably closer to 10%.

          276.    After the market closed on October 19, 2015, The New York Times published an

  article titled “Drug Makers Sidestep Barriers on Pricing,” discussing how Philidor’s application

  for a license in California had been rejected because it had concealed its owners. The Times

  reported that Valeant used Philidor to “keep the health system paying for high-priced drugs” and

  to keep prices high for its dermatology products, quoting a Florida dermatologist as stating that

  Valeant’s program was designed to buffer physicians and insurers from complaints about high

  prices. Discussing Philidor, the article stated, in part:

                  Valeant had said little about Philidor until Monday, when J. Michael
                  Pearson, Valeant’s chief executive, revealed on his company’s quarterly
                  earnings call that Valeant had purchased an option to acquire Philidor late
                  last year. He said that Valeant consolidated Philidor’s results in its own
                  financial reports.

                                                   ***

                  Specialty pharmacies are most known for providing patients with assistance
                  with complex drugs, many of them requiring refrigeration and injections,
                  for diseases like cancer, multiple sclerosis and rare genetic disorders. But
                  the drugs dispensed through the specialty pharmacies used by . . . Valeant
                  are for common ailments like arthritis pain, acne, and toenail fungus. What
                  was started as administering complex, costly drugs has been co-opted as a
                  sales/marketing tool to drive the growth of minor differentiation standard
                  retail drugs.

          277.    In response to the partial disclosures on October 19, 2015, the price of Valeant stock

  declined by nearly 8%, falling from a close of $177.56 per share on Friday, October 16, 2015 to a

  close of $163.83 per share on Monday, October 19, 2015, on elevated trading volume. The

  following day, Valeant shares fell an additional 10% to close at $146.74 per share on October 20,

  2015, also on unusually high trading volume. The total stock price decline over that two-day

  period was over 17%, or approximately $30 per share.


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          278.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          279.    On October 21, 2015, Citron Research published a report titled “Valeant: Could

  this be the Pharmaceutical Enron?,” questioning the propriety of Valeant’s accounting and prior

  disclosures. The report asked “Why would Valeant, a major big cap pharma, a darling of the

  hedge fund crowd . . . be secretly maneuvering to buy a little known pharmacy [Philidor] with a

  dubious ownership structure,” and inquired as to why Philidor was “NEVER disclosed in any prior

  company disclosure?” The report asserted Valeant was using a network of mail-order pharmacies

  under its control to prop up sales and keep patients and their insurance companies from switching

  to less costly generics. Citron also questioned whether Valeant’s revenues were inflated through

  Philidor.

          280.    The Citron report also linked Philidor to other pharmacies through shared phone

  numbers, identical privacy notices, a shared facsimile number, and shared websites. Citron

  claimed “it appears to Citron that Valeant/Philidor have created an entire network of phantom

  captive pharmacies,” which included West Wilshire, SafeRx, and Orbit. The report also provided

  investors with details of the R&O lawsuit, noting Valeant resembled a “house of cards” and could

  be “Enron part Deux.” After Citron’s report was published, trading in Valeant shares was

  temporarily halted because of the rapid decline in their price.

          281.    In response to the partial disclosures on October 21, 2015, the price of Valeant stock

  dropped more than 19%, from a close of $146.74 per share on October 20, 2015 to a close of

  $118.61 per share on October 21, 2015, on extraordinary trading volume.



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          282.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          283.    Philidor then issued a press release after trading closed on October 21, 2015,

  disclosing that it had a contractual relationship with “affiliated pharmacies,” including R&O, and

  that Philidor “does not currently have a direct equity ownership in R&O Pharmacy or the affiliated

  pharmacies, but does have a contractual right to acquire the pharmacies now or in the future subject

  to regulatory approval.”

          284.    The following day, October 22, 2015, BMO Capital Markets Corp. stated it “cannot

  defend the specialty Pharmacy structure” Valeant was using and downgraded the shares to “market

  perform.” BMO added: “We’ve been strong, vocal Valeant bulls,” but “we find Valeant’s

  arrangements with specialty pharmacy Philidor as not just aggressive, but questionable.” The same

  day, a Bloomberg article titled “Valeant Still Has Explaining to Do, Citron Research’s Left Says,”

  reported on Valeant’s option to buy Philidor and noted it was “a relationship other [drug]

  companies don’t appear to have” with pharmacies. The article noted that when manufacturers

  previously owned PBMs in the 1990s they were all spun off because it was “perceived” as a

  conflict of interest.

          285.    Following Philidor’s October 21, 2015 press release and the additional partial

  disclosures on October 22, 2015, as the market continued to digest the negative news regarding

  Valeant, the price of Valeant stock continued to decline on October 22, falling an additional 7%,

  to close at $109.87 per share on unusually high trading volume. The total stock price decline over

  the period October 21-22, 2015 was over 25%, or approximately $36 per share.



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          286.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          287.    Revelations of Valeant’s misconduct continued as Philidor employees came

  forward disclosing the improper practices employed by Philidor. On Sunday, October 25, 2015,

  The Wall Street Journal reported it had interviewed former Philidor employees who revealed that

  Valeant employees worked directly at Philidor and were using fictitious names to “conceal the ties

  so it didn’t appear Valeant was using the pharmacy to steer patients to the drug company’s

  products.” A former employee interviewed by The Wall Street Journal noted the Valeant

  employees’ “real identities were well known to the other Philidor employees.”

          288.    That night, Ackman forwarded a media article to Pearson, Schiller, Rosiello,

  Ingram, and Little reporting that Pearson’s explanation that Valeant did not disclose Philidor

  because it was a competitive advantage “comes up short.” The article noted that “[w]hile Valeant

  may argue it didn’t think the consolidation of Philidor was material, the market’s reaction shows

  investors think otherwise. And since materiality is a qualitative, not a quantitative, concept the

  company shouldn’t try to stonewall.” Ackman suggested the Company admit “some mistakes

  were made.” As an example, Ackman wrote “it a mistake not to disclose Philador [sic]? In

  retrospect, it certainly appears to have been a mistake as the lack of disclosure made the company

  a potential target for a short attack which implied the company was hiding something.” Ackman

  observed that “the lack of disclosure on Philidor was a big surprise and raised concerns among

  shareholders.” He suggested they “explain whether or not the board, audit committee, auditors




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  understood and agreed with the accounting, strategy, and disclosure of this business,” adding

  “[i]nvestors fear fraud.”

         289.    On October 26, 2015, Valeant filed its 3Q15 10-Q, which included disclosures

  relating to Philidor, including that Valeant had the “power to direct Philidor’s activities.” The 10-

  Q also revealed that Valeant established a special “ad hoc” committee of the Board to investigate

  Valeant’s relationship with Philidor, to be led by Ingram, the Company’s lead outside director, and

  to include Provencio, chairman of the Audit and Risk Committee, director Colleen Goggins, and

  Mason Morfit, President of ValueAct Capital (one of Valeant’s largest shareholders), who had

  been added to the Valeant Board that morning and immediately placed on the ad hoc committee.

         290.    Also that day, Valeant hosted a conference call that included a presentation stating,

  among other things:

                 •   “44% of Jublia revenue flowed through Philidor in Q3 2015”;

                 •   “we maintain regular communication, have a joint steering committee, have
                     rights (and have utilized them) to approve key positions (e.g., in-house
                     lawyer, chief compliance officer), included Philidor in Valeant’s SOX 404
                     Internal Control Testing and Internal Audit program for 2015”;

                 •   “Valeant [has] contractual rights [to Philidor] including: Joint Steering
                     Committee, Right to require hires for certain positions, Substantial
                     information rights, Covenants respecting Philidor’s compliance with all
                     applicable laws”; and

                 •   in a section addressing Valeant’s “Management Rights” over Philidor,
                     “Valeant has the right (but not the obligation) to appoint or cause Philidor to
                     hire: Advisor to the CEO, Head Compliance Officer, In-House lawyer, Head
                     IT officer, Other employees as reasonably requested.”

         291.    On the conference call, Rosiello stated: “Philidor was considered a VIE prior to

  the purchase option agreement, but since Valeant was not determined to be the primary beneficiary,

  consolidation was not appropriate. A purchase option agreement for Philidor was executed in




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  December 2014.” And Carro admitted “Valeant reviews the financials of the Philidor network

  pharmacies on a regular basis.”

          292.    Shortly after the call, Bloomberg reported that the remarks on the call “left investors

  skeptical, failing to answer critical questions on Valeant’s continuing relationship with Philidor,

  according to analysts.”

          293.    In response to the partial disclosures on October 25 and 26, 2015, the price of

  Valeant stock dropped more than 5%, from a close of $116.16 per share on Friday, October 23,

  2015 to a close of $110.04 per share on Monday, October 26, 2015, on unusually high trading

  volume.

          294.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          295.    On October 27, 2015, Ackman emailed Pearson and Schiller, stating “I don’t think

  you are handling this correctly and the company is at risk of getting into a death spiral as a result.”

  In another email that day, Ackman wrote to Ingram, Pearson, Schiller, Morfit, and Little regarding

  The New York Times article by Joe Nocera on whether Valeant was the “Next Enron?,” in which

  the reporter wrote “Valeant . . . is a sleazy company.” Ackman stated in his email, “when one of

  the most credible journalists in the world accuses you of being the next Enron, time is short.” He

  warned “[y]our reputation and that of the rest of the board along with the company is at grave risk

  of being destroyed on a permanent basis.” Ackman criticized Pearson for ending the last

  conference call abruptly : “When Mike said that you were running out of time on the call, he was

  right in that the company is running out of time to save itself. When shareholders hear that



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  management doesn’t have time to address their concerns, they assume the worst. There is no

  amount of time that should [be] spared addressing shareholders [sic] concerns.” Ackman noted it

  took a “short seller to bring Philador [sic] to light and that has destroyed managements [sic]

  compact with shareholders.”

         296.   In his October 27, 2015 email to Pearson and Schiller, Ackman advised, “I strongly

  recommend you immediately hold a conference call to address every remaining question from

  shareholders,” of “unlimited duration.” Ackman pleaded with the executives to “answer the

  questions honestly no matter how embarrassing the answers are and no matter what the legal

  implications are.” Ackman noted the business risks, including, “Valeant has become toxic.

  Doctors will stop prescribing your products,” and “[r]egulators around the world will start

  investigating and competing to find problems with every element of your business.” He further

  stated: “The only people that need scripts and limited questions are crooks. Joe Nocera is right.

  You look like Enron.” He added, “You should assume that the truth will come out eventually so

  there is zero downside to having it out now,” and “If mistakes have been made, admit them

  immediately and apologize.” Ackman closed the email by stating:

                You have previously made the mistake of waiting while Rome was
                burning. There is now a conflagration. It takes no time to prepare for a
                conference call to tell the truth. The time to do it is today. We are on the
                brink of tragedy. Please do the right thing.

         297.   Pearson did not follow Ackman’s advice, but the truth nonetheless continued to

  emerge. After the market closed on October 28, 2015, Bloomberg reported that an internal Philidor

  training manual showed that Philidor relied on “back door” tactics to boost payments and

  “instructed employees to submit claims under different pharmacy identification numbers if an

  insurer rejected Philidor’s claim—to essentially shop around for one that would be accepted.”




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          298.    On October 29, 2015, Bloomberg Businessweek reported additional accounts by

  former Philidor employees of the improper tactics by Philidor. The article disclosed that:


                 “to fill more prescriptions with Valeant products instead of generics . . . [w]orkers
                  at . . . Philidor . . . were given written instructions to change codes on prescriptions
                  in some cases so it would appear that physicians required or patients desired
                  Valeant’s brand-name drugs—not less expensive generic versions—be dispensed,
                  the former employees said”;

                 “[a]n undated Philidor document obtained by Bloomberg provides a step-by-step
                  guide on how to proceed when a prescription for Valeant dermatological creams
                  and gels . . . is rejected”; and

                 an October 2014 employee manual noted “[w]e have a couple of different ‘back
                  door’ approaches to receive payment from the insurance company.”

          299.    Later that day, while the market was still open, reports disclosed that CVS

  Caremark (one of the three largest PBMs in the United States) terminated its relationship with

  Philidor after an audit of Philidor’s practices, citing “noncompliance” with its provider agreement.

          300.    In response to the partial disclosures on October 28 and 29, 2015, the price of

  Valeant stock dropped nearly 5%, from a close of $117.00 per share on October 28, 2015 to a close

  of $111.50 per share on October 29, 2015, on unusually high trading volume.

          301.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          302.    After the market closed on October 29, 2015, Express Scripts and UnitedHealth’s

  OptumRx, the other two largest PBMs, similarly announced they had terminated their relationships

  with Philidor. Thus, in the same day, the three largest PBMs in the country announced they would

  no longer pay for medication dispensed by Philidor. And on October 30, 2015, just after



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  underscoring the purported benefits and independence of Philidor, Valeant announced before the

  market opened that Philidor would be shutting down as soon as possible.

          303.    In response to the partial disclosures on October 29 and 30, 2015, Valeant shares

  fell by nearly 16%, from a close of $111.50 per share on October 29, 2015 to a close of $93.77 per

  share on October 30, 2015, on unusually high trading volume.

          304.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.


          B.      Disclosures in November and December 2015

          305.    On November 4, 2015, it was reported that the Senate Aging Committee formally

  launched a probe into Valeant’s price increases for three drugs. On the same day, Bloomberg

  reported further information regarding the financial impact of closing Philidor, disclosing that just

  weeks earlier, Valeant was planning to expand its use of the specialty pharmacy; that revelation

  further called into question the viability of the Company’s recently issued financial guidance. And

  after the market closed that day, The Wall Street Journal reported that Ackman told Valeant’s lead

  director, Ingram, that Pearson might need to leave Valeant and that Ackman was considering

  liquidating his hedge fund’s entire $3.8 billion investment in the Company. The Wall Street

  Journal article further noted that Ackman had pushed Valeant to hold a conference call to “come

  clean” and disclose the full extent of executives’ knowledge regarding Philidor, and that he was

  disappointed the Company did not comply.

          306.    In response to the partial disclosures on November 4, 2015, the price of Valeant

  stock dropped by approximately 6%, from a close of $97.86 per share on November 3, 2015 to a


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  close of $91.98 per share on November 4, 2015, on elevated trading volume. Valeant shares

  continued to decline the following day, falling by more than 14%, to close at $78.77 per share on

  November 5, 2015, on extraordinary trading volume. The total stock price decline over that two-

  day period was 19.5%, or approximately $19 per share.

          307.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          308.    On November 10, 2015, Valeant hosted a conference call with investors to “update

  [the market] on our strategy with respect to specialty pharmacies, to explain our transition plans

  for Philidor, to discuss our business performance for the first half of the quarter, and perhaps most

  importantly to take questions from all of you.” Pearson, Rosiello, Carro, and Kellen participated

  on Valeant’s behalf. Pearson stated, “As of last week, Philidor has stopped adjudicating claims. .

  . . Philidor has committed to cease operations by January 30, 2016 at the latest.”

          309.    Pearson also began to disclose the negative financial impact the closing of Philidor

  and the government inquiries into its practices were having, stating in relevant part:

                  In the very short term, disruption in our dermatology business will be
                  significant. Last week, we asked Philidor to stop adjudicating claims and to
                  fill all prescriptions at no cost for the week.

                  Turning to Neuro, we are also seeing some short-term pressure in our Neuro
                  business, in particular with respect to Nitropress and Isuprel, given all the
                  publicity around those two drugs. We’re working with our large customers
                  and providing direct discounts to protect volume.

          310.    Despite having just raised guidance less than a month before (on October 19, 2015),

  Pearson suggested it would be withdrawn and lowered:

          In terms of guidance, we are working to quantify the potential short-term impact of
          recent events, including the termination of our relationship with Philidor.

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          Specifically, the downsides in Q4 will be primarily in dermatology and to a lesser
          extent, neurology RX. Obviously, what has happened will impact Q4. We are
          working to quantify the impact on Q4 and 2016 and we will provide you with
          updated guidance at our investor day in December.

          311.    Pearson was asked about the impact the Company would see in 4Q15 in the

  dermatology division, and responded:

                  So, again, based on the data we have, we’ve not seen volume declines. It’s
                  largely the value of the average selling price for a script. Now, I would not
                  be shocked to see some volume declines over the next few weeks.

                  In fact, I would expect that. But I don’t think they’re going to be hugely
                  material. The onus is on us to get some sort of a Plan B in place, and we are
                  quite confident that we’ll be able to get that done quite quickly.

          312.    Additionally, in response to an analyst’s question regarding pricing scrutiny,

  Pearson stated “if we’re viewed as aggressive, we’re going to have to listen to that.” He

  acknowledged “the past few weeks have been a painful learning experience for me personally”

  and stated “[t]he other things I’m dedicated to doing going forward is listening more to our

  patients, our partners, and our critics.”

          313.    In response to those partial disclosures on November 10, 2015, the price of Valeant

  stock dropped 2%, from a close of $85.41 per share on November 9, 2015 to a close of $83.68 per

  share on November 10, 2015, on unusually high trading volume.

          314.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          315.    Additionally, after the market closed on November 10, 2015, it was reported that

  the Sequoia Fund, Valeant’s biggest shareholder, had paid and was offering to pay Philidor

  employees in order to obtain information regarding Valeant’s practices. And on November 11,


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  2015, Bloomberg reported that Valeant creditors were “spooked by possibility of revenue squeeze”

  and concern was “growing that disruption to Valeant’s cash flow could heighten the risk of the

  company violating lender limits on its debt burden.” The article reported that according to one

  creditor, “The Big question is: What is the true cash-flow generation nature of the company? Will

  it be materially different?” The report further noted Valeant’s dermatology and neurology business

  accounted for 24 percent of company revenue, which Pearson stated would be “significantly”

  disrupted. Also that day, Nomura analysts cut their Valeant price target. Additionally, on

  November 12, 2015, Bloomberg released another article regarding Valeant’s relationship with

  Philidor and media reports recounted how numerous analysts had lowered their price targets for

  the Company.

          316.    In response to those partial disclosures, Valeant’s stock price dropped an additional

  6.5%, to close at $73.77 per share. The total stock price decline from November 10 through

  November 12, 2015 was over 13%, or approximately $11 per share.

          317.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          318.    On November 16, 2015, Bloomberg reported that Congressman Elijah Cummings

  wrote to Pearson requesting that he make Valeant employees Gary Tanner, Bijal Patel, and Alison

  Pritchett available for interviews based on allegations “that a group of Valeant employees helped

  launch Philidor’s business in 2013 and have remained involved in its daily operations.”

  Congressman Cummings also asked for contact information for Laizer Kornwasser, who had

  recently left the Company. After the market closed that day, The Washington Post published an



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  article titled “House Committee to hold hearing on prescription drug pricing,” reporting that the

  House Oversight Committee would hold a formal hearing in early 2016 focusing on prescription

  drug pricing and that the Committee had reached out to Valeant to gather information. The article

  also stated members of the House Oversight Committee were calling for Valeant executives to

  testify at the hearing.

          319.    In response to the partial disclosures on November 16, 2015, the price of Valeant

  stock dropped by nearly 3%, from a close of $75.41 per share on November 13, 2015 to a close of

  $73.32 per share on November 16, 2015, on unusually high volume, and continued to decline on

  November 17, 2015, dropping an additional 4% to close at $70.32, on high trading volume.

          320.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          321.    On December 15, 2015, Valeant issued a press release announcing it had entered

  into a deal with Walgreens to distribute Valeant products, which included 10% price reductions

  for its branded prescription-based dermatological and ophthalmological products.

          322.    On December 16, 2015, Valeant issued a press release formally withdrawing the

  inflated guidance it had issued on October 19, 2015. Valeant issued new 4Q15 revenue guidance

  of $2.7 billion-$2.8 billion (a reduction of approximately $600 million from $3.25 billion-$3.45

  billion) and Cash EPS guidance of $2.55-$2.65 (a reduction of approximately $1.50 from $4.00-

  $4.20). Valeant also issued new 2015 full year revenue guidance of $10.4 billion-$10.5 billion (a

  reduction of approximately $700 million from $11.0 billion-$11.2 billion) and new 2015 Cash EPS

  guidance of $10.23-$10.33 (an approximately $1.50 reduction from $11.67-$11.87). Finally,



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  Defendants issued new 2016 EBITDA guidance of $6.9 billion-$7.1 billion (a reduction of

  approximately $500 million from $7.5 billion).

          323.   On December 16, 2015, an analyst for Piper Jaffray reported that Valeant was not

  “well positioned for significant [price/earnings] recovery anytime soon given the credibility gap

  associated with senior management.” The next day, Mizuho Securities USA cut its rating on

  Valeant stock to “neutral” from “buy,” pointing to a lack of clarity regarding Valeant’s agreement

  with Walgreens and stating that Valeant management had “not done a good job in articulating the

  details” and that “[w]e still don’t understand how this partnership will improve filled prescriptions

  if payer restrictions persist.” During market hours that day, Bloomberg published an article

  reporting on the Mizuho downgrade. On that news, the price of Valeant stock declined nearly 6%,

  falling $7 from a closing price of $118 on December 16, 2015 to close at $111 on December 17,

  2015.

          C.     Disclosures in February and March 2016

          324.   On February 19, 2016, a Wells Fargo report by analyst David Maris, which

  provided a detailed analysis of Valeant, drew significant media attention. The media noted Maris

  had identified inconsistencies with regard to Defendants’ disclosures concerning Philidor’s impact

  on the business. Specifically, Maris found that Valeant initially claimed Philidor accounted for

  7% of sales, yet lowered 4Q15 revenue guidance by 17%-19% (from $3.25 billion - $3.45 billion

  to $2.7 billion-$2.8 billion) and EPS guidance by nearly 37% (from $4.00-$4.20 to $2.55-$2.65).

  Maris commented “Valeant has not explained how the unwinding of a business that represents

  only approximately 7% of total revenue, and is, according to Valeant, less profitable than

  traditional prescriptions, results in a 36.6% reduction in EPS.” Maris added that at approximately

  7% of revenue, Philidor would have represented approximately $227.8 million in revenue for

  4Q15, yet guidance was lowered by $526.5 million. He concluded “the new guidance is not
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  compatible with the data presented by Valeant” and “the reduction in guidance does not match the

  impact, as described by Valeant.”

         325.    Further, according to media reports, Maris stated “we believe investors are likely

  questioning the judgment and decision making of [the] management team and board,” adding

  “corporate cultures . . . are difficult to change without management and board changes.” Maris

  noted “the slide in Valeant’s shares is directly related to decisions that the board and management

  have made,” including “the board review and approval of a relationship with Philidor, which later

  caused a significant decline in shareholder value and corporate reputation.”

         326.    Media reports also recounted that Maris discussed the reduced financial outlook for

  Valeant, noting “management has said that it is not planning to complete any acquisitions in 2016,

  nor is it planning to raise prices excessively,” and concluding “this will pose significant risk for a

  company that was dependent on both.” He further commented “the model of cutting R&D and

  spending, and dramatically raising prices, in pursuit of higher and higher EPS to fuel a roll-up

  strategy built on earnings accretion for deals is shortsighted, as often the cuts undermine the longer-

  term prospects of the business.”

         327.    Finally, according to media reports, Maris identified how Valeant’s accounting was

  misaligned with Valeant’s purported performance. He said “receivables growth has outstripped

  sales growth over the past several years” and noted that a screening tool it uses “to predict the

  likelihood of accounting misstatements, puts Valeant in the ‘substantial risk’ category,” adding

  that when “receivables are increasing faster than revenue, it can often indicate that customers are

  hesitant to pay for products” and “[a]n alternative explanation for a dramatic rise in receivables is

  a company’s improperly timed recognition of revenue.” Maris further stated that “gross-to-net

  revenue adjustments” in 2012 were 19.1% of gross revenues but had steadily increased to 41.1%



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  of gross revenues by 3Q15, and that “Valeant suggests the reason for the increasing provision is

  growing returns, rebates, and co-pay assistance programs related to select dermatology products.”

          328.    In response to the partial disclosures on February 19, 2016, the price of Valeant

  stock dropped by nearly 10%, falling from a close of $94.11 per share on February 18, 2016 to a

  close of $84.99 per share on February 19, 2016, on elevated trading volume.

          329.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          330.    On February 22, 2016, Maris released an updated note regarding Valeant that

  included two additional valuation models and a $62 price target, and CVS announced it would

  restrict the use of Jublia, one of Philidor’s most heavily distributed drugs, by requiring patients to

  first try a less-expensive generic drug.

          331.    Also on that day, Market Watch reported that Valeant “likely needs to restate some

  of its previous financial results based on the findings of an internal investigation into its business,

  according to people familiar with the matter.” Market Watch noted the “potential revisions concern

  revenue that Valeant booked when its drugs were shipped to a distributor” and involved “late 2014

  and early 2015.”

          332.    That evening, Valeant issued a release confirming its financial restatement. In the

  release, Valeant admitted “the Company has preliminarily identified certain sales to Philidor

  during 2014, prior to Valeant’s entry into an option to acquire Philidor, that should have been

  recognized when product was dispensed to patients rather than on delivery to Philidor.” The release

  stated the Company “currently believes that approximately $58 million of net revenues previously



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  recognized in the second half of 2014 should not have been recognized upon delivery of product

  to Philidor,” and “[c]orrecting the misstatements is expected to reduce reported 2014 GAAP EPS

  by approximately $0.10.”

          333.    Valeant also revealed internal control problems, stating that the Company would

  “delay filing its 2015 10-K pending completion of the review of related accounting matters by the

  Ad Hoc Committee . . . and the Company’s ongoing assessment of the impact on financial

  reporting and internal controls.” Schiller assured investors that the Company was “committed to

  improving reporting procedures, internal controls and transparency for our investors” and “[w]e

  have made mistakes in the past and our focus today is on executing our business plan and

  rebuilding trust.”

          334.    In response to the partial disclosures on February 22, 2016, the price of Valeant

  stock dropped by over 10%, from a close of $84.99 per share on Friday, February 19, 2016 to a

  close of $75.92 per share on Monday, February 22, 2016, on unusually high trading volume.

  Valeant shares continued falling in after-hours trading on February 22, 2016 as news of the

  impending restatement hit the market, dropping as low as $68 per share.

          335.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          336.    On Sunday, February 28, 2016, Valeant issued a press release announcing that

  Pearson was returning from his medical leave but that the Company was separating the role of

  CEO and Chairman of the Board, naming Ingram as Chairman. The release further disclosed that

  “[i]n the interim, the Company is withdrawing its prior financial guidance,” adding that “[a]s



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  previously announced, the Company will delay filing its 2015 10-K pending completion of the

  review of certain accounting matters by the Ad Hoc Committee” and “the Company’s ongoing

  assessment of the impact on financial reporting and internal controls.” Pearson was quoted as

  admitting that “I realize that recent events are disappointing to everyone” and that among his

  priorities would be “improving Valeant’s reporting procedures, internal controls and

  transparency.” Numerous media outlets reported on these disclosures prior to the market’s opening

  on February 29, 2016. Wells Fargo analyst Maris wrote in a research note, for instance, that he

  was “concerned by Pearson’s return” and that “[a]s of this writing, Valeant has lost more market

  value than it has created.” Later that day, Bloomberg reported that Pearson would hold a call with

  sell-side analysts that day, despite canceling the public earnings call scheduled for earlier in the

  day. Additionally, Moody’s placed Valeant ratings on review for potential downgrade, reflecting

  concerns that Valeant’s underlying operating performance was weaker than Moody’s previous

  expectations, potentially impeding the Company’s deleveraging plans. Then, within hours of

  release of the Bloomberg article regarding Valeant’s non-public conference call, reports surfaced

  that Valeant had cancelled its non-public analyst call “due to media interest.” As the day

  progressed, reports surfaced, and Valeant ultimately confirmed, that the Company was under

  investigation by the SEC and had received a subpoena from the SEC during 4Q15.

         337.    In response to the partial disclosures on February 28 and 29, 2016, the price of

  Valeant stock dropped by more than 18%, from a close of $80.65 per share on Friday, February

  26, 2016 to a close of $65.80 per share on Monday, February 29, 2016, on unusually high trading

  volume.

         338.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,



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  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          339.    On March 15, 2016, Valeant reduced its financial guidance for 2016 and provided

  unaudited financial information regarding its 4Q15 performance. With regard to 2016 guidance,

  Valeant lowered revenue guidance to $11 billion-$11.2 billion (a reduction of approximately $1.5

  billion and 12% from the full year 2016 $12.5 billion-$12.7 billion guidance given on December

  16, 2015), Cash EPS guidance to $9.50-$10.50 (a reduction of approximately $3.50 from its prior

  $13.25-$13.75 guidance), and full year 2016 EBITDA guidance to $5.6 billion-$5.8 billion (an

  approximately $1.3 billion reduction from its prior $6.9 billion-$7.1 billion guidance). The

  Company blamed “reduced revenue assumptions for certain businesses, new managed care

  contracts, and increased investment in key functions, such as financial reporting, public and

  government relations and compliance, as well as the impact of the weak first quarter of 2016.”

          340.    The Company hosted a conference call that same day. During the call, Rosiello

  stated Valeant’s first quarter results were below guidance in part due to “realizing a slower- than-

  expected rebound in dermatology,” and Pearson added that “increases in rebates are due to more

  competitive pressure in response to our store price increases for our late life cycle products.” In a

  press release also issued that day, Valeant disclosed $51.3 million in “wind down costs” for

  Philidor, which included writedowns of fixed assets and bad-debt expenses during the “wind down

  period November 1, 2015 through December 31, 2015.” The Company also disclosed a “$79.0

  million impairment charge related to Philidor Rx Services.”

          341.    During the conference call, Pearson explained why the guidance was being

  lowered. In particular, he cited “higher-than-expected inventory reductions that transition from

  Philidor to Walgreens and the cancellation of almost all price increases.” Pearson added that “any



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  future price increases will be more modest and in line with industry practices and managed- care

  contracts,” and noted “[w]e have experienced increased competitive pressure at the payer level,

  resulting in increased rebates for access for our key growth products, like Jublia.” He further

  revealed that the Company had already committed to reducing pricing on certain dermatology

  products “within the Walgreens’ portfolio, on average, 10%” and that the “price reduction is on

  WAC and will impact and will be taken across all channels, not just Walgreens.”

          342.    During the conference call, Defendants further admitted that even the Company’s

  release from that morning was inaccurate in reporting forecasted adjusted EBITDA for the next

  four quarters of $6.2 to $6.6 billion, when the number should have been only $6.0 billion.

          343.    Additionally, during that call, an analyst noted “the fact that management needs to

  rebuild credibility with investors” and that the guidance was “lowered far more than any investor

  anticipated.” The analyst asked “how can we be confident in what you’re saying today about the

  business, given that you were positive in December and January?” Pearson responded, in part, “we

  have to earn back the credibility.”4

          344.    Also on March 15, 2016, Moody’s further downgraded Valeant’s credit ratings, as

  well as those of its subsidiaries.

          345.    In response to the partial disclosures on March 15, 2016, the price of Valeant stock

  fell by more than 50%, from a close of $69.04 per share on March 14, 2016 to a close of $33.51

  per share on March 15, 2016, on extremely high trading volume.

          346.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,




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   In a publicly disclosed message to Valeant employees the next day, Pearson reiterated that “[r]estoring
  the public’s confidence will take time.”
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  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          347.    On March 21, 2016, Valeant filed a Form 8-K announcing the restatement of its

  prior financial statements. The Company disclosed that in light of the ad hoc committee’s review

  of recent allegations and related matters it was determined that “approximately $58 million in net

  revenues relating to sales of Philidor during the second half of 2014 should not have been

  recognized upon delivery of product to Philidor.” Valeant therefore disclosed that the Company’s

  last four financial statements, the 2014 10-K, and the 10-Qs for the first, second and third quarters

  of 2015, along with PricewaterhouseCooper’s audit report on the 2014 10-K, should no longer be

  relied on.

          348.    Specifically, the ad hoc committee determined that the Company’s revenue

  recognition “on a sell-in basis (i.e., recorded when the Company delivered the product to Philidor)”

  before the Company’s purchase option agreement with Philidor was improper. Instead, “revenue

  for certain transactions should have been recognized on a sell-through basis (i.e., record[ed]

  revenue when Philidor dispensed the products to patients) prior to entry into the option agreement.”

  As a result, the Company was no longer able to record revenues for shipments to Philidor and

  could only record revenues upon shipment to the patient. The press release further disclosed:

                  Management, in consultation with the [ad hoc] committee, has concluded
                  that one or more material weaknesses exist in the Company’s internal
                  control over financial reporting and that, as a result, internal control over
                  financial reporting and disclosure controls and procedures were not
                  effective as of December 31, 2014 and disclosure controls and procedures
                  were not effective as of March 31, 2015 and the subsequent interim periods
                  in 2015 and that internal control over financial reporting and disclosure
                  controls and procedures will not be effective at December 31, 2015.

  The Company further admitted:

                  The improper conduct of the company’s former chief financial officer
                  [Schiller] and former corporate controller [Carro], which resulted in the
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                 provision of incorrect information to the committee and the company’s
                 auditors, contributed to the misstatement of results. In addition, as part of
                 this assessment of internal control over financial reporting, the company has
                 determined that the tone at the top of the organization and the performance-
                 based environment at the company, where challenging targets were set and
                 achieving those targets was a key performance expectation, may have been
                 contributing factors resulting in the company’s improper revenue
                 recognition.

         349.    The Company further stated it would begin searching for a new CEO to replace

  Pearson, who would continue to serve as CEO and a director until his replacement was appointed.

         350.    On March 22, 2016, Business Insider, in an article titled “Bill Ackman’s Plan to

  Fix Valeant Is Doomed,” attempted to quantify the impact of the change in business strategy from

  Valeant’s non-traditional approach to that of a traditional pharmaceutical company. The article

  noted that without price hikes, “Valeant would lose 10% of its revenue.” The analysis showed

  that operating margins would decrease from 24% to 7% and with an increase in R&D spending to

  13% instead of 3% that “Valeant would be losing money. A lot of money.” (Emphasis in original.)

  The article further noted that, according to an analysis conducted by Bloomberg, “[i]f Valeant was

  operating more like a traditional specialty pharma company, it could have had a trailing 12-month

  (4Q15) loss of $2.44 rather than an adjusted EPS of $1.53. Ebit could have dropped to $606 million

  from $2.5 billion . . .Valeant could have had an adjusted net loss of $842 million instead of net

  income of $527 million.”


         D.      Disclosures from April to August 2016

         351.    On April 9, 2016, The New York Times published an article titled “The Female

  Viagra, Undone by a Drug Maker’s Dysfunction,” which noted “Valeant dismissed the entire sales

  force behind [Addyi]” and “doctors had prescribed the drug fewer than 4,000 times as of

  February.” Citing interviews with former employees, analysts, investors and doctors, the article

  attributed Addyi’s failure to Valeant’s pricing actions and reliance on Philidor. The article

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  explained that Sprout (the maker of Addyi) had determined that Addyi should be sold at $400 and

  “Anthem, one of the nation’s largest insurers, said it would cover the drug at the $400 price.”

  However, once Valeant acquired the drug, it doubled the price to $800, causing payors to

  reconsider their coverage. Valeant also terminated Sprout’s distribution agreement with Cardinal

  Health, deciding instead to rely on Philidor.

         352.    On April 29, 2016, Valeant released its annual report on Form 10-K for the year

  ended December 31, 2015, which confirmed the financial restatement and the Company’s material

  weaknesses. Additions to the 2015 10-K demonstrated the inadequacy of the disclosures in the

  Company’s prior annual and quarterly reports. On this news, Valeant’s common stock dropped

  $1.89 a share, or 5.36%, to a close of $33.36, on heavy trading volume.

         353.    On May 3, 2016, Valeant announced the appointment of Joseph C. Papa as its CEO

  and Chairman of the Board, reuniting the roles it recently had separated. Three weeks later, on

  May 23, 2016, Papa spoke publicly at the UBS Global Healthcare Conference. While answering

  questions from investors and analysts, Papa described Valeant as “a great turnaround opportunity”

  and discussed a number of the challenges he inherited. Papa acknowledged that with Philidor

  “clearly we had some question marks,” “there were some pricing mistakes that were made” and

  “some transparency things that [could be] improve[d] on at Valeant.” Regarding internal controls,

  Papa recognized “there are some functions that we need to put some additional [] controls” and

  “there is some investment that needs to happen in areas,” such as finance, “where [Valeant] just

  need[s] to bring some additional financial capabilities.” To that end, Papa disclosed that the

  Company “just recently hired a new Controller.”

         354.    On June 7, 2016, Valeant made additional disclosures regarding the financial

  impact of shutting down its captive pharmacy network, restricting the Company’s ability to price



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  gouge and engage in deceptive practices. That day, Valeant filed its 1Q16 10-Q, issued a press

  release and hosted a conference call regarding the Company’s long-awaited 1Q16 financial results,

  which had been delayed by several months. Valeant disclosed a GAAP loss per share of ($1.08)

  for 1Q16 and significantly lowered its 2016 guidance again to total revenue of $9.9 billion-$10.1

  billion (down from $11 billion-$11.2 billion), adjusted EPS (non-GAAP) of $6.60-$7.00 (down

  from $8.50-$9.50), and adjusted EBITDA (non-GAAP) of $4.80 billion-$4.95 billion (down from

  $5.6 billion-$5.8 billion). During Valeant’s conference call that day, Rosiello stated “[t]he base

  business in Q1 declined by $289 million, driven by dermatology . . . and the transition to

  Walgreens.”

         355.    Further revealing the detrimental effect that the loss of Philidor was having on

  Valeant’s pricing, volume and drug refills, Rosiello added that:

                 Following the launch of the Walgreens program in January, we saw volume
                 flattening and ASPs [average selling prices] declining post launch. Overall
                 volume challenges were exacerbated by the loss of refills following the
                 shutdown at the end of January of our previous specialty pharmacy
                 [Philidor] relationship, as well as the negative external narrative and some
                 internal disruptions . . . .

         356.    Papa added that the “vast majority” of Valeant’s “revenue shortfall in dermatology

  in our revised guidance relates to this average selling price shortfall.” During the question-and-

  answer portion of the call, Papa further revealed how much the Company’s drug pricing and

  profitability were suffering as a result its cessation of price gouging and deceptive practices and

  the termination of its relationship with Philidor:

                 The issue is that there is a percentage of the business where the average
                 selling price is significantly below what we had previously expected as we
                 put the program together. And in fact, in some places that average selling
                 price is negative and by that [it] means, every time a prescription goes out
                 the door we’re taping dollar bills to that prescription as it goes out the
                 door. That’s something that we have to get fixed.



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          357.    In response to the partial disclosures on June 7, 2016, which further revealed the

  extent to which Valeant relied on Philidor to boost prescription drug sales, refills and prices during

  much of the Class Period, the price of Valeant stock dropped by nearly 15%, from $28.85 on June

  6, 2016 to close at $24.64 on June 7, 2016, on a reported volume of over 104 million shares. As

  of this date, it was the second most active trading day in Valeant’s history.

          358.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to decrease,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          359.    On July 31, 2016, The New York Times published an article titled “How Valeant

  Cashed In Twice on Higher Drug Prices,” which detailed Valeant’s use of “price appreciation

  credits” to inflate the Company’s revenues. The article explained that the credits, which come

  about when a drug company increases the cost that its wholesalers must pay for a product they

  have contracted to distribute, were “an obscure but vital source of cash to Valeant that is directly

  linked to its pricing practices.” As reported by The New York Times, “[n]ow that those practices

  are under scrutiny, the money Valeant receives from these credits is likely to decline substantially

  or disappear outright,” noting the “unique” and “outsize contributions” of the credits to Valeant’s

  cash flows. “In recent periods, they have equaled one-fifth or more of Valeant’s operating cash

  flow,” the article emphasized, based on the Company’s reported financials.

          360.    On August 9, 2016, Valeant issued a release and hosted a conference call regarding

  the Company’s 2Q16 financial results. In the release, Valeant disclosed a GAAP loss per share of

  ($0.88) for 2Q16 and a drop in revenue of 11.4%, with the Company blaming the slow recovery

  in its dermatology division, which suffered greatly from Philidor’s closing. The release disclosed



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  that Valeant’s dermatology revenue dropped 55% compared to 2Q15, with Solodyn and Jublia

  sales down 74% and 69%, respectively, year-over-year. The two Valeant drugs singled out by

  Congress at the start of its probes, the heart drugs Nitropress and Isuprel, experienced year-over-

  year revenue declines of 46% and 19%, respectively. In Valeant’s conference call that day, Papa

  stated that “I don’t want to suggest for an instant that there [aren’t] challenges” and that it “will

  take time to implement and execute our turnaround plan.” Additionally, the Company cited lower

  price appreciation credits as one of the reasons revenues declined 14% in Developed Markets.

         361.    Also on August 9, 2016, in an article titled “Valeant Begins to Look Like A Normal

  Drug Company, But With Way Too Much Debt,” Forbes reported on analysis by Wells Fargo

  analyst Maris. Further demonstrating the challenges facing the Company following the closure of

  its secret pharmacy network and the cessation of its deceptive practices, Forbes noted that by

  Maris’s calculations, “Papa will have to deliver a 55% sequential increase in adjusted EPS and a

  30% increase in adjusted EBITDA in the second half of 2016 to meet guidance” and that “Xifaxan

  remains off pace to hit $1 billion in 2016 sales, a previous Valeant target.” Quoting Maris, Forbes

  added: “If Papa falls short in coming quarters, it is likely many will see the company’s new reign

  as ‘just new paint on the same old shed’ . . . .”

         362.    After the market closed on August 10, 2016, The Wall Street Journal reported that

  Valeant was under criminal investigation by the DOJ regarding whether it defrauded insurers by

  concealing its relationship to Philidor and for a variety of other deceptive business practices.

  According to the Journal article, which was quickly picked up by a variety of other media outlets,

  federal prosecutors in the U.S. Attorney’s Office in Manhattan were investigating possible mail

  and wire fraud violations based on whether Valeant “defrauded insurers by shrouding its ties to a

  mail-order pharmacy [Philidor] that boosted sales of its drugs,” and for deceptive business



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  practices used to sell Valeant drugs, such as rebates and other compensation provided to patients.

  According to sources interviewed by the Journal familiar with the matter, “[p]rosecutors are

  investigating not only the level of control Valeant exerted over Philidor’s business, but the extent

  of the ties, including Valeant’s role in Philidor’s growth.” The Journal cited those sources as

  stating “the probe is expected to be the most serious Valeant currently faces, and could lead to

  criminal charges against former Philidor executives and Valeant as a company.”          The article

  quoted a statement by Valeant that it “has been cooperating and continues to cooperate with the

  ongoing Southern District of New York investigation.”

          363.    In response to that news, which further revealed the enormous risks presented by

  Valeant’s secret pharmacy network and other undisclosed business practices, the price of Valeant

  stock declined by over 10%, from $27.32 on August 10, 2016 to close at $24.49 on August 11,

  2016, on a reported volume of over 56 million shares.

          364.    The disclosures detailed above revealed the truth regarding Defendants’

  representations to investors, and accordingly caused the prices of Valeant call options to increase,

  removing the artificial inflation, and the prices of Valeant put options to increase, removing the

  artificial deflation.

          365.    Further, the timing and magnitude of the price declines discussed above negate any

  inference that Plaintiffs’ losses were caused by changed market conditions, macroeconomic or

  industry factors, or Company-specific factors unrelated to Defendants’ wrongful conduct.


  XI.     RECENT EVENTS CONTINUE TO EVIDENCE MASSIVE FRAUD AT THE
          COMPANY

          366.    On October 31, 2016, Bloomberg reported that Valeant’s former CEO, Defendant

  Pearson, and the Company’s former CFO, Defendant Schiller, are the focus of a criminal probe by

  prosecutors at the Justice Department concerning accounting fraud related to Valeant’s

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  concealment of its ties to Philidor and the secret pharmacy network. Bloomberg further reported

  that U.S. prosecutors in Boston and Philadelphia are conducting additional, separate inquiries of

  Valeant. The investigation by federal prosecutors in Boston is centered on Valeant’s payments to

  charities that then helped patients make co-payments for the high cost of Valeant drugs. The

  investigation by federal prosecutors in Philadelphia focuses on Valeant’s improper billing of

  government health care programs.

         367.    On November 17, 2016, then-United States Attorney for the Southern District of

  New York, Preet Bharara (“Bharara”), announced the arrests of Tanner and Davenport. The

  Justice Department’s complaint alleges that Tanner and Davenport engaged in a multi-million

  dollar fraud and kickback scheme. The claims for wire fraud, money laundering, and conspiracy

  carry sentences of up to 20 years in prison. In announcing the criminal complaint, Mr. Bharara

  emphasized that the charges were only the first charges brought by the Government in its ongoing

  probe of Valeant. Mr. Bharara rebuked Tanner and Davenport for engaging in a “fraudulent

  scheme to illegally use Philidor as a vehicle for personal profit and self-dealing,” which “illegally

  converted Valeant shareholder money into their own personal nest eggs.”

         368.    On March 13, 2017, Ackman’s Pershing Square withdrew its investment in Valeant

  at a massive loss, estimated by Fortune to be in excess of $4 billion. In Pershing Square’s 2016

  Annual Report, released March 28, 2017, Ackman admitted to investors that investing in Valeant

  was “a huge mistake” and questioned the credibility of Valeant’s former executives,

  acknowledging that he had “misjudged the prior management team.”

         369.    Valeant has also overhauled its Board of Directors since the end of the Relevant

  Period. In addition to removing Defendants Pearson and Schiller from the Board, on June 19,




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  2017, Valeant announced that it had expanded the Board of Directors to a total of eleven members,

  ten of whom are independent.

         370.    On May 22, 2018, following a three-week trial, Tanner and Davenport were found

  guilty on all charges, including wire fraud and conspiracy to commit money laundering.

  Sentencing is set for September 19, 2018.

         371.    Valeant remains under investigation by the United States Attorney for the Southern

  District of New York, the United States Attorney for the District of Massachusetts, the SEC, as

  well as the Autorité des marchés financiers (Canada’s principal securities regulator), for the

  fraudulent practices alleged herein.


  XII.   ADDITIONAL INDICA OF DEFENDANTS’ SCIENTER

         372.    As addressed above, the Defendants operated an elaborate scheme spanning years

  to defraud investors by issuing false and misleading statements about Valeant and its financial and

  operating performance. Valeant defrauded PBMs, physicians and insurers through secret and

  illicit practices intended to boost the sales and prices of Valeant-branded products.          The

  Management Defendants were personally aware of the deceptive and fraudulent practices detailed

  herein, as the Management Defendants designed and implemented those practices. Moreover, due

  to their frequent meetings and their effective control over, and contractual right to review and

  approve, Philidor’s records and policies, the Management Defendants were either personally aware

  of, or were severely reckless in disregarding, the improper and deceptive tactics that Philidor

  employed. The Management Defendants also possessed significant motives to engage in, design

  and implement the aforementioned fraudulent conduct. The facts below further demonstrate the

  Management Defendants’ scienter.




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           A.     Valeant’s Admission of Improper Conduct

           373.   Valeant has already admitted the falsity of several of the Management Defendants’

  statements from the Class Period. For example, on February 3, 2016, Valeant admitted that

  Pearson’s April 29, 2015 claim that “volume was greater than price in terms of our growth” was

  false.

           374.   Similarly, on February 22, 2016, Valeant issued a press release admitting that the

  Company had improperly recognized Philidor-related revenues. One month later, on March 21,

  2016, Valeant issued another press release, this time accompanied by a Form 8-K, to disclose that

  Valeant had material weaknesses in internal controls and that Valeant’s 2014 10-K and 1Q2015,

  2Q15 and 3Q2015 10-Q’s could no longer be relied upon.

           375.   Moreover, Valeant concluded that Schiller had engaged in “improper conduct” and

  “that the tone at the top of the organization and the performance-based environment . . . may have

  been contributing factors resulting in improper revenue recognition.”

           376.   Finally, Valeant asked Schiller to resign from the Board and forced Pearson and

  Carro out of the Company.

           B.     The Management Defendants’ Role in Valeant’s Business Strategy

           377.   The Management Defendants were active and culpable participants in the

  fraudulent scheme alleged herein because they received information reflecting the truth regarding

  Valeant, controlled and received Valeant’s materially misleading misstatements and, by virtue of

  their positions within Valeant, were privy to confidential and proprietary information regarding

  the Company’s unsustainable business model and its reliance on deceptive practices. The fraud

  was pervasive, multi-faceted and carefully designed. Such a sophisticated and wide-ranging

  fraudulent scheme could not have been orchestrated for such a long period without the knowledge

  of or extreme recklessness by the most senior personnel at the Company, including the

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  Management Defendants. This is particularly true where, as here, the Management Defendants

  were actively involved in the day-to-day operations of the Company.

            378.   For example, Pearson’s management style, as reported by Bloomberg

  Businessweek, ensured that he would know of the Company’s fraudulent practices. Pearson “had

  his fingers in everything, from operations to making decisions about the salaries of individual

  employees” and actively “micromanaged things he deemed important.” Further demonstrating his

  involvement in the wrongdoing, Pearson admitted in a written statement to the United States

  Senate that, “as [Valeant’s] leader, [he] was too aggressive in pursuing price increases on certain

  drugs.”

            379.   Pearson also worked closely with the other Management Defendants. For example,

  he held a call each Tuesday at 11:00 a.m. with all the leaders of Valeant’s business, during which

  Valeant’s senior management discussed opportunities, assessed the business, addressed

  developing issues and attempted to ensure that the Company did not face any surprises at the end

  of each quarter.

            380.   Another of the Management Defendants, Schiller, acknowledged his and Pearson’s

  active involvement in and awareness of Valeant’s strategy. For example, on the April 29, 2015

  conference call in which he announced his resignation as CFO, Schiller stated that Pearson “sets

  the tone at Valeant.” Schiller also stated:

            “I’ve completely bought into our unique strategy and culture, the transparency and
            fact-based approach to running our business, and our relentless focus on building a
            great Company and on creating shareholder value . . . . Valeant’s business has never
            been stronger and its prospects have never been brighter. . . .”

            381.   Schiller similarly revealed his and Pearson’s hands-on approach, and therefore

  inference of scienter, when he disclosed on a May 28, 2014 conference call with investors that he

  and Pearson “religiously track each deal on a quarterly basis. Our Board of Directors receives a

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  report every quarter on each deal. We review every quarter and ask ourselves how are we doing.

  We are our own biggest critics.” Later that same day, Pearson bragged to investors and industry

  specialists at the Sanford C. Bernstein Strategic Decisions Conference that Valeant was “tracking

  every product around the world.”

         382.    Valeant documents, interviews with former Valeant/Philidor employees and sworn

  testimony further demonstrate that the Management Defendants were directly engaged in the

  business, including Valeant’s pricing strategies for individual products. For example, when

  Valeant added Isuprel and Nitropress to its orphan drug portfolio, Pearson, Schiller, Kornwasser,

  Davis, Steve Sembler (the Company’s former Senior Vice President of Neurology and Other) and

  Sandeep Lalilt (the Company’s Senior Director of Marketing) all participated in a meeting to

  discuss the pricing of the newly-acquired drugs. Prominent newspapers, including The Wall Street

  Journal, reported that Pearson intended to implement drastic price increases to attain Valeant’s

  profit targets. At his hearing before the United States Senate, Schiller testified that, despite the

  recommendation of the rest of the group, “Pearson made a decision to go with the higher price.”

         383.    The Management Defendants also represented themselves to investors as the

  persons most knowledgeable about Valeant’s business, operating model, strategies (including

  pricing, the AF initiative and specialty pharmacies), acquisitions, organic growth, internal controls,

  ethical standards, compliance programs and the volume, pricing and performance of Valeant’s

  products. The Management Defendants voluntarily and repeatedly chose to speak on these topics,

  so they either knew or recklessly disregarded the fact that their statements were materially

  misleading.

         384.    For example, during a May 21, 2016, RBC Investor Meeting, Pearson discussed

  Valeant’s stock price, stating “[w]e expect our stock to go up 50%, 70% a year, that’s our



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  expectation, that’s what I get paid to do and our long-term investors appreciate it.” He also said

  “I believe that our company is fundamentally undervalued” and that “last year when we were

  trading at 105 it was so obvious to me that we were so undervalued why wouldn’t all you guys

  rush in? Not just you guys but I mean investors clearly we weren’t worth 105.”

         385.    Similarly, when Allergan called into question Valeant’s pricing practices in mid-

  2014, Pearson and Schiller vigorously refuted these allegations and claimed Allergan lacked the

  knowledge about Valeant’s business which both Pearson and Schiller possessed. For example, on

  July 21, 2014, the Company announced it had contacted Quebec and U.S. regulators regarding

  Allergan’s “false and misleading statements regarding Valeant’s business,” including assertions

  by Allergan in “an SEC filing that Bausch + Lomb’s pharmaceutical sales were stagnant or

  declining.” In the same release, Pearson stated:


         We can no longer tolerate unjustified attacks on Valeant’s business and strongly
         believe we are obligated to take action to protect Valeant shareholders from
         Allergan’s apparent attempts to mislead investors and manipulate the market for
         Valeant stock. . . . Allergan’s continued disparagement of Valeant and repeated
         questioning of Bausch + Lomb’s performance demonstrate their fundamental lack
         of knowledge about Valeant’s business. . . .

         Finally, we do not believe that it is productive for either company to conduct due
         diligence in a public forum and although we have consistently offered Allergan the
         opportunity to conduct due diligence on our business, its management and board
         have refused, and have instead chosen to make misrepresentations and false
         statements about our business.

         386.    Additionally, Pearson, Schiller and Rosiello were responsible for obtaining the

  knowledge necessary to ensure the Company’s disclosures to the market were true when executing

  SOX Certifications. Pearson, Schiller and Rosiello either drafted, prepared or approved Valeant’s

  various SEC filings, releases and other public statements, as evidenced by their signatures and

  their managerial control over the information disclosed within those statements.



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           C.     The Management Defendants’ Decision to Close Philidor

           387.   The Management Defendants designed, implemented or possessed knowledge of

  Valeant’s reliance upon Philidor and the related secret network of captive pharmacies to artificially

  inflate Valeant’s growth rates until Philidor’s closure in late 2015. The Management Defendants

  also knew that Valeant was concealing its relationship with Philidor, because the Management

  Defendants were involved in the acquisition of Medicis and developed the “alternative fulfillment”

  strategy initially employed only for Medicis pharmaceuticals that led to the formation of Philidor

  on January 2, 2013.

           388.   Indeed, Valeant announced the hiring of Kornwasser on January 3, 2013, one day

  after the formation of Philidor. Kornwasser and Tanner served as Valeant’s primary points of

  contact at Philidor and reported to Pearson (Kornwasser directly, Tanner through Kornwasser).

  The fact that Kornwasser received $8.8 million in total compensation in his first year of

  employment evidenced the central role that Philidor was intended to serve in Valeant’s business

  model.

           389.   Furthermore, Pearson, Schiller and senior management signed the Philidor

  agreements and frequently discussed the benefits of Valeant’s new “alternative fulfillment

  program” with investors, while misrepresenting the true nature of that program. The Management

  Defendants knew that numerous Valeant employees assisted in the formation of Philidor and

  subsequently worked at Philidor under aliases in order to conceal the connection between Valeant

  and Philidor.

           390.   Prior to purchasing the option to acquire Philidor, Pearson, Schiller and Valeant’s

  Board of Directors performed extensive due diligence of Philidor. Notably, prior to the purchase

  of the option, the entire Audit and Risk Committee of Valeant’s Board personally toured Philidor’s

  facility in Pennsylvania. Valeant thereby gained further additional knowledge about Philidor’s
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  business practices and operation. After Valeant paid $100 million to acquire the option to purchase

  Philidor (for $0), Valeant failed to disclose—and, in fact, actively concealed—its relationship with

  Philidor, including in Valeant’s financial statements. Valeant’s entire Board of Directors also

  reviewed and affirmatively approved the Philidor transaction and Valeant’s accounting treatment

  of that transaction, despite the fact that the accounting practices violated GAAP.

         391.    Because Valeant possessed actual control over Philidor from the day it was created,

  the Management Defendants were at minimum aware of, or they were specifically involved in

  designing, Philidor’s role in facilitating Valeant’s fraudulent revenue-inflating scheme. Valeant

  held a contractual right to inspect Philidor’s books, records and facilities, and to audit Philidor’s

  practices. Valeant either conducted such an audit and knowingly approved of Philidor’s deceptive

  practices so long as they benefited Valeant, or it recklessly failed to conduct such an audit with the

  knowledge that Philidor’s deceptive practices were best ignored as they benefited Valeant’s

  revenue. In fact, Philidor employees have confirmed that the deceptive practices within Philidor

  were widely known (within Philidor), discussed and even documented in Philidor’s training

  manuals, demonstrating that any audit would have revealed the wrongdoing to Valeant. Moreover,

  Valeant’s internal control testing and internal audit program in 2015 included Philidor, and Valeant

  and Philidor created a joint steering committee guiding Philidor’s strategic plan, contractual

  obligations with insurers, and “internal policies, manuals, and processes.”

         392.    Contemporaneous email correspondence confirms that Pearson personally

  monitored or directed Philidor’s business practices. For example, in an email sent by Kellen to

  Pearson on March 9, 2015, Kellen stated “Met with Deb [Jorn]. . . . Suggested we get all the

  [District Managers] in for a day . . . goal to go over the practices in each district where Philidor is

  working well and identify next [approximately] 10 practices where we should push harder to build



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  it out. That will help fuel growth.” Pearson responded, “Good stuff.” Additionally, Valeant’s

  management invited Philidor managers to meet Valeant’s Board of Directors in July 2015.

         393.    Valeant and the Management Defendants also closely monitored the network of

  pharmacies through which Philidor operated. For example, when R&O Pharmacy withheld

  invoices from Valeant because of R&O’s suspicions about fraudulent conduct involving Philidor,

  it was Valeant’s general counsel that sent a letter to R&O’s owner demanding “immediate

  payment.”

         394.    When the details of Philidor’s relationship with Valeant first began to emerge to

  the market, the Management Defendants further revealed their intimate knowledge of Philidor’s

  operations. For example, on October 19, 2015, Pearson, Rosiello and Kellen held a conference

  call with investors in which they defended Philidor (and Valeant’s failure to disclose Philidor) as

  Valeant’s “competitive advantage that we did not want to disclose to our competitors.” On another

  conference call a week later, on October 26, 2015, Pearson stated that Philidor was “independent”

  and sales through it were “less profitable.” Valeant announced four days later that Philidor would

  cease operations due to Philidor’s improper practices. The fact that the Management Defendants

  elected to shut down Philidor only four days after declaring it was in fact “independent” and “less

  profitable” illustrates that the Management Defendants were already well aware of Philidor’s

  deceptive and illegal practices and further investigation was unnecessary.

         395.    The Management Defendants’ knowledge of Philidor’s illicit practices is also

  apparent from Pearson’s repeatedly highlighting the benefits of Valeant’s “alternative fulfillment”

  strategy while simultaneously refusing to provide meaningful details to investors or the public.

  Pearson himself admitted that it was a conscious decision to conceal Valeant’s relationship with

  Philidor for supposed “competitive” reasons.



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         396.    Additionally, Pearson, Ingram and Carro each publicly defended Valeant’s

  accounting in an attempt to refute Citron Research’s report, which suggested that Valeant

  artificially boosted its revenue through Philidor. Ingram represented on an October 26, 2015

  conference call with investors that the entire Valeant Board and Audit Committee had reviewed

  and confirmed as appropriate Valeant’s accounting practices concerning Philidor. However, when

  the SEC opened an investigation into Valeant’s relationship with Philidor, the Board asked Carro

  and Schiller to step down because they had engaged in “improper conduct” concerning Valeant’s

  accounting of Philidor-related sales. Valeant later admitted, as described in ¶ 132, that it needed

  to restate its prior financial statements because, among other things, it improperly inflated revenues

  through Philidor by double-booking revenues—a blatant violation of GAAP.

         397.    Philidor’s efforts to conceal its improper conduct further indicate the Management

  Defendants acted with scienter, given the effective and actual control Valeant exerted over

  Philidor. Reuters reported that, in September 2015, “Philidor began requiring employees to sign

  confidentially agreements” that would enable “the pharmacy to sue workers who divulged

  information about its activities.” The timing of Philidor’s adoption of confidentiality agreements,

  immediately following R&O’s threat to sue, illustrates Philidor’s efforts to conceal wrongdoing.

         D.      Valeant’s Refusal to Pursue Remedies Against Individual Wrongdoers

         398.    The strong inference of scienter is further supported by the fact that Valeant

  declined to pursue remedies (such as incentive pay “clawbacks”) against Pearson, Schiller,

  Philidor and the Philidor executives that engaged in the fraudulent conduct.

         399.    Valeant’s failure to take remedial action was not for lack of options. In fact, in

  2014, Valeant instituted a “clawback” policy that allowed the Company to take back an executive’s

  incentive compensation if a restatement was required within three years of the Class Period and

  the executive was found to have participated in any fraudulent or illegal conduct. Valeant did not
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  pursue that remedy here—after all, the Company had approved of the fraudulent conduct. In fact,

  as Ingram revealed, the Board approved the accounting for Philidor. Thus, notwithstanding the

  clawback right, Valeant only terminated the employment of the wrongdoers and closed Philidor.

         400.    Rather than pursuing a clawback, a month after announcing Pearson would be

  replaced as CEO, Valeant paid Pearson even more money – effectively a multimillion dollar

  gratuity. Valeant retroactively modified Pearson’s employment contract to provide him with a $2

  million salary for 2016, in addition to other financial benefits, despite the fact that Pearson was

  entitled to only a performance bonus, but no salary, in 2016. Valeant has since given Pearson a

  $9 million severance package.

         401.    In addition to failing to enforce the clawback provisions, Valeant also failed to

  enforce broad indemnification rights against Philidor. Specifically, the Philidor Purchase Option

  that Valeant acquired stated that Philidor “shall indemnify, defend, and hold harmless” Valeant

  “from and against all Losses” that Valeant suffered “as a result of the operation of the Pharmacy

  or the performance by the Pharmacy of its duties.” However, the Philidor Purchase Option

  agreement included a provision that any such indemnity liability “shall be reduced to the extent . .

  . that such Losses are caused by or arise out of . . . the negligence or intentional misconduct of

  Manufacturer.” Tellingly, rather than pursue its indemnification claim, Valeant entered into a

  mutual release with Philidor, effective November 1, 2015.

         E.      Congressional Hearings

         402.    Congressional committees started investigating Valeant’s business practices late in

  the summer of 2015, and many of the admissions made during these investigations and hearings

  further support an inference of scienter.

         403.    In connection with a February 4, 2016 House Oversight Committee Hearing,

  Valeant produced 75,000 pages of documents to the House Oversight Committee. A number of
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  these documents confirm the allegations set forth in this Complaint. Specifically, a summary of

  Valeant’s document production affirmed that: (i) “Mr. Pearson purchased Isuprel and Nitropress

  in order to dramatically increase their prices” and “Valeant identified goals for revenues first, and

  then set drug prices to reach those goals;” (ii) “Valeant used its patient assistance programs to

  justify raising prices and to generate increased revenues by driving patients into closed distribution

  systems;” (iii) Valeant “sought to exploit this temporary monopoly by increasing prices

  dramatically to extremely high levels very quickly;” and (iv) “Mr. Pearson utilized this strategy

  with many more drugs than Isuprel and Nitropress,” as Valeant increased by more than 200% the

  prices of a number of prescription drugs in its portfolio from 2014 to 2015.

         404.    Also at the hearing on February 4, 2016, Schiller acknowledged that Valeant

  acquired the Marathon drugs (Nitropress and Isuprel) for the purpose of raising prices, as the two

  drugs accounted for 4% of 2015 revenues despite the fact that they were only two of nearly two

  thousand drugs in Valeant’s portfolio. Schiller also testified at the hearing that risks associated

  with Valeant’s price-gouging strategy included “increased pressure for rebates from the payers,

  decreased sales volumes from hospitals, increased substitution of alternative products, and

  heightened competition from new generic or branded drugs.”

         405.    Pearson, Schiller and Ackman also testified before the Senate Aging Committee,

  which conducted hearings concerning Valeant on April 27, 2016. Pearson submitted a written

  statement prior to the hearing that acknowledged “the company was too aggressive—and I, as its

  leader, was too aggressive—in pursuing price increases on certain drugs.” Pearson and Schiller

  demonstrated throughout the hearing that they were actively involved in directing and

  implementing Valeant’s drug pricing strategy. While Pearson sought to depict the price increases




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  as industry standard, he acknowledged, in direct contravention of his prior statements, that “[o]ur

  pricing has driven more growth than volume. . . .”

         406.    In response to Senator McCaskill’s observation that price had been more

  responsible for growth than volume in all quarters since 2013 bar one, Pearson confirmed that

  Senator McCaskill was correct. This confirmation directly contradicted Pearson’s April 29, 2015

  statement and his October 14, 2015 letter to Senator McCaskill in which he represented that

  “[t]here is a misperception in the media that Valeant’s revenue growth for existing products has

  been driven primarily by price.”

         407.    Finally, the Congressional probes focused on the December 2014 Philidor Purchase

  Option and why the “option” cost $100 million but the potential “acquisition” would be free.

  Philidor’s counsel provided the following written response: “Philidor concluded that Valeant’s

  conduct was consistent with a concern about the economic impacts of any PBM response if Valeant

  had purchased Philidor.” This statement confirms that Philidor and Valeant were aware that the

  disclosure of Valeant’s control over Philidor would result in PBMs refusing to reimburse

  prescriptions filled by Philidor (which would have negative repercussions on Valeant), which

  Valeant failed to disclose even as Philidor’s existence was revealed.

         F.      The Stream of Executive Departures in the Wake of the Fallout from the
                 Fraud Further Indicates Defendants’ Scienter

         408.    The departure of numerous executives and directors, including certain Management

  Defendants, shortly before and after the revelations concerning the deceptive practices by Valeant

  and Philidor, further supports an inference of scienter.

         409.    For example, on April 29, 2015, less than a half year before Philidor’s relationship

  with Valeant was revealed, Valeant announced that Schiller would resign his CFO position upon

  the appointment of a successor.


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         410.    Kornwasser departed Valeant in July 2015—even more proximate to the Philidor

  revelations. Following his departure, Kornwasser declined to speak to the press, and Valeant never

  made him available for an interview with the House Oversight Committee.

         411.    Following the Philidor revelations, numerous senior-level members of management

  departed the Company. For example, on or about March 2, 2016, news outlets reported that Jorn,

  the head of the U.S. Gastrointestinal and Dermatological divisions, was leaving Valeant, effective

  immediately. As explained above, Philidor played a particularly vital role in boosting the sales of

  U.S. dermatology product lines.

         412.    On March 21, 2016, Valeant announced in a press release that Pearson would leave

  the Company. In that same press release, Valeant admitted that Schiller and Carro engaged in

  “improper conduct” while serving in Valeant’s management. Schiller was asked to resign from

  the Board and Carro was replaced as Corporate Controller.

         413.    On April 29, 2016, Valeant announced that seven of its board members would not

  stand for re-election. Pearson and Schiller were among the seven board members who departed.

         414.    On May 20, 2016, Valeant revealed that Stoltz had resigned as Senior Vice

  President of Neurology, Dentistry and Generics.

         G.      Pearson Actively Misled Ackman, a Significant Valeant Investor

         415.    The fact that Pearson actively concealed Valeant’s deceptive and illegal practices

  from Ackman, another large investor with whom Pearson had a continuing business relationship,

  provides further evidence of Pearson’s scienter.

         416.    In 2014, Ackman, who controlled Pershing Square, one of Valeant’s then-largest

  shareholders, met with Pearson to create a partnership between Pershing Square and Valeant with

  the goal of acquiring Allergan. Pursuant to their plan, Pershing Square bought a significant stake



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  in Allergan in order to provide Valeant shareholder support. Pershing Square would also publicly

  vouch for the value of Valeant’s stock (which Valeant was attempting to use to acquire Allergan).

          417.    After Allergan’s resistance and public campaign against Valeant’s takeover

  attempt, in which Allergan challenged the sustainability of Valeant’s business model, Pershing

  Square conducted further due diligence on Valeant. Pershing Square subsequently invested

  another $4 billion in Valeant. Ackman and Pearson had frequent contacts, including phone calls,

  emails, and dinners. Ackman even introduced other investors to Pearson, offered to assist Pearson

  with earnings calls and provided Pearson with advice after earnings calls.

          418.    Despite Ackman’s extensive relationship with Pearson, Pearson concealed the

  extent of Valeant’s price gouging and deceptive and illegal conduct. Ackman, revealing his lack

  of knowledge, frequently defended Valeant against public attacks and even as late as October 6,

  2015, publicly stated that a “[v]ery small part of Valeant’s business is repricing drugs.”

          419.    Eventually, like the rest of the market, Ackman learned the truth. Ackman testified

  before the Senate, under oath, that he was unaware of the “horrible” and “wrong” price increases

  that were later publicly disclosed with regard to Cupromine, Isuprel and Nitropress. He further

  testified that “[c]learly [there] were things I did not understand about the business.”

          H.      Valeant’s Executive Compensation Program

          420.    Valeant had an unusual compensation structure that provided incredibly rich

  compensation packages if increasingly difficult performance goals were met. The incentive to

  meet these goals, coupled with the threat of termination for failing to meet them, created a culture

  that valued fraudulent practices and results above ethics and truthfulness.

          421.    Pearson’s statement at a May 28, 2014 conference is illustrative of the increasingly

  difficult goals. He stated that “[t]here’s no tenure at Valeant. It’s up and out. . . . It’s more like a

  professional services firm than a sort of traditional pharmaceutical company.”              He further
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  explained that Valeant’s compensation system was entirely dependent on an increasing stock price,

  stating:

             So, our Company senior management and the Board—we—there’s only one metric
             that really counts, and it’s total return to shareholders. That’s how we’re paid. We
             have a unique pay model, that at least we—at least—if we don’t at least achieve a
             15% total return to shareholders each year, compounded annual growth rate, that
             basically the equity we receive in terms of our stock grabs is worth nothing.

             422.   Valeant would ultimately admit that the aggressive compensation and performance-

  goal system employed at the Company contributed to the Defendants’ wrongdoing. On March 21,

  2016, the Company stated that it “determined that the tone at the top of the organization and the

  performance-based environment at the Company, where challenging targets were set and

  achieving those targets was a key performance expectation, may have been contributing factors

  resulting in the Company’s improper revenue recognition.”

             423.   Though missing targets was punished with forfeiture of bonuses or worse, meeting

  the aggressive financial targets resulted in multi-million-dollar awards for executives.          For

  example, in 2014, Pearson received an $8 million incentive bonus, which was four times his $2

  million base compensation. Similarly, Schiller received a $2.4 million incentive bonus, which was

  nearly two and half times his base compensation.

             424.   These incentives paled in comparison to the amount Pearson would receive if he

  was able to maintain (or increase) Valeant’s stock price until 2017, when he would be permitted

  to sell his Valeant shares. The value of those shares as of March 31, 2014 was approximately $1.3

  billion. If Pearson could hold steady or raise the stock price through 2017, he could cash out his

  shares for well over $1 billion.        Ackman revealed in April 2014 that much of Pearson’s

  compensation was tied to incredibly aggressive stock price targets requiring compounded returns

  over three years of between 15% and 60%.



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          425.   This unusual package incentivized Pearson to use any means necessary, including

  illegal and deceptive means, to continue to increase the stock price through 2017 even at the

  expense of the Company’s long-term health and financial stability.

          426.   Pearson also took out a $100 million margin loan from Goldman Sachs pledging

  his shares (which he could not sell) as collateral—which was against Company guidelines and

  therefore required board approval. This loan created a further incentive to artificially inflate the

  price of the Valeant shares because if the value of the shares fell, Goldman Sachs could make a

  margin call and force the sale of the shares to repay itself. This, in fact, happened in November

  2015.

          427.   During the Class Period, Schiller also had millions of dollars in incentive

  compensation tied to meeting challenging share price increases.

          428.   Ultimately, on March 21, 2016, Valeant admitted that its overly aggressive

  compensation targets had contributed to the wrongdoing at Valeant, stating: “the Company has

  determined that the tone at the top of the organization and the performance-based environment at

  the Company, where challenging targets were set and achieving those targets was a key

  performance expectation, may have been contributing factors resulting in the Company’s improper

  revenue recognition.”

          429.   Valeant’s admitted issues with the “tone at the top” further supports an inference

  of scienter, since accounting and internal control guidance expressly recognize the importance of

  “top management” setting an appropriate tone, See SEC Staff Accounting Bulletin No. 99 at 16.

  As CEO during the Class Period, Pearson was ultimately responsible for Valeant’s internal

  controls and setting an appropriate “tone at the top” which prioritized ethics and compliance with

  accounting practices over personal financial gain. He failed to do so.



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         I.      The Necessity of Inflating Valeant’s Stock Price to Sustain Valeant’s
                 Acquisition-Centric Business Model

         430.    The Management Defendants also possessed the motive to conceal their fraudulent

  business practices meant to inflate Valeant’s stock price so as to sustain the viability of Valeant’s

  acquisition strategy. Without spending on R&D, Valeant was entirely dependent upon acquiring

  drugs or entire portfolios from other pharmaceutical companies. The price of Valeant’s stock

  played a significant role in either facilitating or impeding these acquisitions.

         431.    In 2014, for example, Valeant issued a cash and shares tender offer for shares of

  Allergan’s stock, meaning that the value of Valeant’s stock determined the value of Valeant’s

  offer. Indeed, Allergan’s shareholders indicated to Ackman that they would support Valeant’s bid

  if Valeant could “deliver $180 a share in Valeant in the value of the bid,” meaning that the higher

  Valeant’s stock price rose, the less cash Valeant would be required to include its offer.

         432.    Similarly, Defendants utilized Valeant’s inflated stock price to raise significant

  sums of capital in debt and stock offerings, which they used to fund Valeant’s acquisition strategy.

  For example, during the Class Period, Valeant conducted a series of massive high-yield debt

  offerings, producing almost $15 billion in cash for the Company from the investing public, which

  Valeant then used to acquire companies such as Salix and Bausch & Lomb. As another example,

  the March 16, 2015 stock offering provided an additional $1.5 billion of capital for Valeant’s

  acquisition of Salix.

  XIII. LOSS CAUSATION

         433.    Defendants’ materially false or misleading statements and omissions of material

  fact, as alleged above, caused Valeant call options to trade at artificially inflated prices and put

  options to trade at artificially deflated prices during the Class Period and operated as a fraud or

  deceit upon Class Period purchasers of Valeant call options and sellers of Valeant put options.


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         434.    When the false and misleading nature of Defendants’ statements became apparent

  to the market, commencing in the third quarter of 2015 and continuing through August 11, 2016,

  Valeant’s stock price plummeted, closing at $24.49 on August 11, 2016, removing the artificial

  inflation of Valeant call options and artificial deflation of Valeant put options, causing substantial

  damage to Plaintiff and other members of the Class.

         435.    The corrective disclosures, revealing the artificially inflated prices of Valeant

  shares and call options (and artificially deflated prices of put options), were disseminated gradually

  through a number of disclosures, discussed above, revealing the truth and gradually undermining

  the market’s willingness to accept the Defendants’ misrepresentations and material omissions.

  These disclosures caused economic injury to Plaintiff and other Class members. No single

  disclosure was sufficient to fully negate the: (i) artificial inflation present in call options on

  Valeant common stock; or (ii) artificial deflation present in put options on Valeant common stock,

  because each single disclosure only partially revealed the concealed risks in Valeant’s business.

         436.    Moreover, Defendants’ repeated misstatements and omissions after or even in

  direct response to a corrective revelation further mitigated the corrective impact of any particular

  disclosure. The continued obfuscation not only functioned to mitigate the impact of full disclosure

  on the price of Valeant call and put options, so as to artificially preserve some degree of inflation

  (or in the case of put options, deflation), but also directly induced Plaintiff to continue to trade in

  Valeant derivative securities even after certain corrective information had entered the market.


  XIV. PLAINTIFF’S RELIANCE

         437.    During the Class Period, Plaintiff relied upon the materially false and misleading

  statements alleged herein when purchasing Valeant call options and selling Valeant put options.




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           438.   In this case, there is a presumption of reliance established by fraud-on-the-market

  doctrine because: (i) the Defendants made public misrepresentations or failed to disclose material

  facts during the Class Period; (ii) the misrepresentations and omissions were material; (iii) the

  Company’s common stock, call options and put options traded in efficient markets; (iv) the

  misrepresentations and omissions alleged would tend to induce a reasonable investor to misjudge

  the value of the Company’s common stock; and (v) Plaintiff purchased Valeant call options and

  sold Valeant put options between the time Defendants misrepresented or failed to disclose material

  facts and the time the true facts were disclosed without knowledge of the misrepresented or omitted

  facts.

           439.   Further, to the extent that Defendants concealed or improperly failed to disclose

  material facts with regard to the Company, Plaintiff is entitled to a presumption of reliance in

  accordance with Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 153 (1972).

  XV.      THE EFFICIENCY OF THE MARKET FOR THE SUBJECT DERIVATIVES

           440.   At all relevant times, the market for the subject Valeant derivatives was efficient.

  Plaintiff’s demonstration of the market efficiency of the underlying security – Valeant common

  stock – is sufficient to entitle it to rely on the fraud-on-the market theory here. The market for the

  underlying security was efficient for the following reasons, among others:

              a. Valeant’s common stock met the requirements for listing, and was listed and

                  actively traded on the NYSE (symbol VRX), a highly efficient and automated

                  market;

              b. as a regulated issuer, Valeant filed regular reports with the SEC;

              c. during the Class Period, thousands of shares of Valeant common stock were traded

                  on a daily basis, demonstrating a very active and broad market for Valeant

                  permitting a strong presumption of an efficient market;



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             d. Valeant regularly communicated with public investors via established market

                 communication mechanisms, including through regular disseminations of press

                 releases on the national circuits of major newswire services and through other wide-

                 ranging public disclosures, such as communications with the financial press and

                 other similar reporting services;

             e. Valeant was regularly followed by several securities analysts employed by major

                 brokerage firms who wrote reports that were distributed to the sales force and

                 certain customers of their respective brokerage firms during the Class Period. Each

                 of these reports was publicly available and entered the public marketplace; and

             f. unexpected material news about Valeant was rapidly reflected and incorporated

                 into the Company’s stock price during the Class Period.

         441.    As a result of the foregoing, the market for Valeant’s securities promptly reacted to

  current information regarding Valeant from all publicly available sources and reflected such

  information in the trading prices of Valeant securities, including common stock. Under these

  circumstances, all purchasers of common stock call options and sellers of common stock put

  options suffered similar injury through their trades in these securities. Because those option prices

  were derivative of Valeant common stock, those option prices did not reflect their true value.

  Plaintiff is thus entitled to a presumption of reliance.

  XVI. NO SAFE HARBOR

         442.    The statutory safe harbor applicable to forward-looking statements under certain

  circumstances does not apply to any of the false or misleading statements pleaded in this

  Complaint. The statements complained of herein were historical statements or statements of

  current facts and conditions at the time the statements were made. Further, to the extent that any

  of the false or misleading statements alleged herein can be construed as forward-looking, the




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  statements were not accompanied by any meaningful cautionary language identifying important

  facts that could cause actual results to differ materially from those in the statements.

          443.   Alternatively, to the extent the statutory safe harbor otherwise would apply to any

  forward-looking statements pleaded herein, Defendants are liable for those false and misleading

  forward-looking statements because at the time each of those statements was made, the speakers

  knew the statement was false or misleading, or the statement was authorized or approved by an

  executive officer of Valeant who knew that the statement was materially false or misleading when

  made.

  XVII. CLASS ACTION ALLEGATIONS

          444.   Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

  of Civil Procedure on behalf of itself and all other persons or entities that purchased call options

  on Valeant common stock and/or sold put options on Valeant common stock during the Class

  Period, and were damaged thereby. Excluded from the Class are Defendants herein; members of

  the immediate families of each of the Defendants; any person, firm, trust, corporation, officer,

  director or other individual or entity in which any of the Defendants has a controlling interest or

  which is related to or affiliated with any the Defendants; and the legal representatives, agents,

  affiliates, heirs, successors-in-interest or assigns of any such excluded party.

          445.   The members of the Class are so numerous that joinder of all members is

  impracticable. While the exact number of Class members can only be determined by appropriate

  discovery, Plaintiff believes that Class members number at least in the hundreds, if not the

  thousands, and that they are geographically dispersed.

          446.   Plaintiff’s claims are typical of the claims of the other members of the Class

  because Plaintiff’s and all the Class members’ damages arise from and were caused by the same



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  representations and omissions made by or chargeable to Defendants. Plaintiff does not have any

  interests antagonistic to, or in conflict with, the Class.

          447.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:

              a. whether Defendants violated federal securities laws;

              b. whether statements made by or chargeable to Defendants during the Class Period

                  omitted and/or misrepresented material facts;

              c. whether the prices of Valeant call options were artificially inflated during the Class

                  Period;

              d. whether the prices of Valeant put options were artificially deflated during the Class

                  Period; and

              e. the extent of damages sustained by members of the Class and the appropriate

                  measure of damages.

          448.    Plaintiff will fairly and adequately protect the interests of the members of the Class.

  Plaintiff has retained competent counsel experienced in class action litigation under the federal

  securities laws to further ensure such protection and intend to prosecute this action vigorously. A

  class action is superior to other available methods for the fair and efficient adjudication of this

  controversy. Because the damages suffered by individual Class members may be relatively small,

  the expense and burden of individual litigation make it impracticable for Class members to

  individually seek redress for the conduct alleged herein. Plaintiff knows of no difficulty that will

  be encountered in this litigation that would preclude its maintenance as a class action.




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  XVIII. COUNTS

                                          COUNT I
                           VIOLATIONS OF SECTION 10(b) OF THE
                      SECURITIES EXCHANGE ACT OF 1934 AND RULE 10(b)
                                   (Against All Defendants)

          449.    Plaintiff repeats and realleges each and every allegation contained above as if fully

  set forth herein.

          450.    This claim is brought by Plaintiff against Valeant and the Management Defendants

  for violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

  promulgated thereunder.

          451.    During the Class Period, Defendants disseminated or approved the materially false

  and misleading statements specified above, which they knew or recklessly disregarded were

  misleading in that they misrepresented or omitted material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not misleading.

          452.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that they:

  (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of material

  facts or omitted to state material facts necessary in order to make the statements made, in light of

  the circumstances under which they were made, not misleading; or (c) engaged in acts, practices,

  and a course of business that operated as a fraud or deceit upon Plaintiff and other Class members

  related to the purchase and/or acquisition and sale of Valeant derivatives.

          453.    In addition to the duties of full disclosure imposed on the Defendants attendant to

  their affirmative false and misleading statements to the public, Defendants had a duty under SEC

  Regulations S-X (17 C.F.R. §210.01, et seq.) and S-K (17 C.F.R. §229.10, et seq.) to promptly

  disseminate truthful information with respect to Valeant’s operations and performance that would

  be material to investors in compliance with the integrated disclosure provisions of the SEC,


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  including with respect to the Company’s revenue and earnings trends, so that the market prices of

  the Company’s securities would be based on truthful, complete, and accurate information.

          454.    As a direct and proximate cause of Defendants’ wrongful conduct, Plaintiff and

  other members of the proposed Class suffered damages in connection with their purchases and

  acquisitions of Valeant call options and sales of Valeant put options during the Class Period. In

  reliance on the integrity of the market, Plaintiff traded in Valeant derivative securities and

  experienced losses when the artificial inflation was removed from the common stock as a result of

  the revelations and the price of Valeant call options declined and the price of Valeant put options

  rose as discussed herein. Plaintiff would not have purchased or acquired Valeant call options or

  sold Valeant put options at the prices it paid, or at all, if it had been aware of Defendants’ false

  and misleading statements and omissions.

          455.    By virtue of the conduct alleged herein, Defendants named in this Count have each

  violated 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) and SEC Rule 10b-5 (17 C.F.R. § 240.10b-

  5), and are liable to Plaintiff and other members of the proposed Class.

                                       COUNT II
            VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT OF 1934
                (Against Defendants Valeant, Pearson, Schiller and Rosiello)

          456.    Plaintiff repeats and realleges each and every allegation contained above as if fully

  set forth herein.

          457.    This claim is brought by Plaintiff against Defendants Valeant, Pearson, Schiller and

  Rosiello for violations of Section 20(a) of the Exchange Act, 15 U.S.C. § 78(a).

          458.    During their tenures as officers and/or directors of Valeant, Pearson, Schiller and

  Rosiello were controlling persons of Valeant within the meaning of Section 20(a) of the Exchange

  Act. By reason of their positions of control and authority as officers and/or directors of Valeant,



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  these Defendants had the power and authority to cause Valeant to engage in the conduct

  complained of herein. These Defendants were able to, and did, control, directly and indirectly, the

  decision making of Valeant, including the content and dissemination of Valeant’s public

  statements and filings described herein, thereby causing the dissemination of the materially false

  and misleading statements and omissions as alleged herein. Valeant exercised control over and

  directed the actions of its senior managers, directors and agents, including the Management

  Defendants. Valeant controlled Pearson, Schiller, Rosiello and all of its employees and

  subsidiaries.

         459.     In their capacities as senior officers and/or directors of Valeant, and as more fully

  described herein, Pearson, Schiller and Rosiello participated in the misstatements and omissions

  set forth above. These Defendants had direct and supervisory involvement in the day-to-day

  operations of the Company, and had access to non-public information regarding Valeant’s

  deceptive and risky business practices. Valeant, Pearson, Schiller and Rosiello had the ability to

  influence and direct and did so influence and direct the activities of each of the Defendants in their

  violations of Section 10(b) of the Exchange Act and Rule 10b-5.

         460.     As a result, Valeant, Pearson, Schiller and Rosiello, individually and as a group,

  were control persons within the meaning of Section 20(a) of the Exchange Act.

         461.     As set forth above, Valeant violated Section 10(b) of the Exchange Act. By virtue

  of their positions as controlling persons, and as a result of their aforesaid conduct and culpable

  participation, Pearson, Schiller and Rosiello are liable pursuant to Section 20(a) of the Exchange

  Act, jointly and severally with, and to the same extent as Valeant is liable to Plaintiff and other

  members of the proposed Class. Valeant exercised control over the Management Defendants and

  all of its employees and subsidiaries and, as a result of its aforesaid conduct and culpable



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  participation, is liable pursuant to Section 20(a) of the Exchange Act, jointly and severally with,

  and to the same extent as the Management Defendants are liable to Plaintiffs and other Class

  members.

          462.    By reason of the foregoing, Valeant, Pearson, Schiller and Rosiello violated Section

  20(a) of the Exchange Act, 15 U.S.C. § 78t(a), and are liable to Plaintiff and other members of the

  proposed Class.


  XIX. PRAYER FOR RELIEF


          WHEREFORE, Plaintiff prays for relief and judgment as follows:

          A.      Declaring this action to be a class action properly maintained pursuant to Rule 23(a)

                  and b(3) of the Federal Rules of Civil Procedure;

          B.      Awarding Plaintiff and other members of the proposed Class compensatory

                  damages in an amount to be proven at trial for all injuries sustained as a result of

                  Defendants’ wrongdoing, including pre-judgment and post-judgment interest as

                  allowed by law;

          C.      Awarding Plaintiff and other members of the proposed Class their reasonable costs

                  and expenses incurred in this action, including counsel fees and expert fees; and

          D.      Awarding such other relief as this Court may deem just and proper.


  XX.     JURY DEMAND

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury in this action on all

  issues so triable.




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  Dated: June 6, 2018                       Respectfully submitted,

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